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                                       No. 23-7090

                     UNITED STATES COURT OF APPEALS
                         FOR THE TENTH CIRCUIT
                                 ________________

          PERRY CLINE, on behalf of himself and all others similarly situated,
                                                          Plaintiff-Appellee,
                                           v.

       SUNOCO, INC. (R&M); SUNOCO PARTNERS MARKETING & TERMINALS L.P.,
                                                          Defendants-Appellants.
                                 ________________
                On Appeal from the United States District Court for the
                            Eastern District of Oklahoma,
                                  No. 17-cv-00313
                                 ________________

                            BRIEF FOR APPELLANTS
                               ________________

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  March 14, 2024
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                                   GLOSSARY

   PRSA          Production Revenue Standards Act, 52 Okla. Stat. §§570.1-15

   Reform Act    Energy Litigation Reform Act, 52 Okla. Stat. §§901-903




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                                  INTRODUCTION

         It is bedrock law that a court must hold each class member to her burden of

  proof on each element of every claim and ensure that the defendant has a meaningful

  opportunity to present all of its defenses as to all class members. The district court

  failed to abide by those rules here, instead short-circuiting the proceedings at every

  turn to try to make a sprawling case involving individualized issues and unidentified

  plaintiffs work as a class action when it plainly could not. The result was a

  $180 million judgment—most of which will escheat to various states (and class-

  action lawyers) rather than being distributed to class members—that violates Rule

  23, the Rules Enabling Act, Article III, the Due Process Clause, and Oklahoma law.

         Sunoco 1 purchases crude oil from wells in Oklahoma and pays proceeds to

  the wells’ various interest owners. That is more difficult than it sounds because

  ownership interests are highly fractionalized, and some are unidentifiable. Despite

  those difficulties, Sunoco paid on time in an industry-leading percentage of cases.

  But in the less than 1% of cases in which Sunoco could not make timely payment,

  the Production Revenue Standards Act entitles rightful owners to interest at a rate

  set by the statute. Whether Sunoco is liable for interest and, if so, in what amount,

  depends on highly individualized factors, including whether and when the owner



     1
      “Sunoco” refers collectively to Defendants-Appellants Sunoco Partners
  Marketing & Terminals L.P. and Sunoco, Inc. (R&M).
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  had marketable title during the delay, whether oil from the well had previously been

  sold to another purchaser, whether the sale agreement at issue indemnified the

  purchaser, and more.

        The district court nonetheless certified a class of 53,000 “oil-well interest

  owners” who were not paid interest on a late proceeds payment without even

  requiring the class representative to identify who all those owners purportedly are.

  The court instead proceeded on the assumption that an expert could sort it all out and

  resolve any potential individualized issues at trial. And when that assumption

  inevitably proved false, the court faulted Sunoco for not having at the ready records

  sufficient to prove the plaintiffs’ case for them, held all possible defenses invalid or

  unproven after a four-day trial, and awarded a judgment at the maximum statutory

  12% interest rate for every class member despite the complete absence of evidence

  that the individualized and specific prerequisites for that maximum rate were met

  for any (let alone every) class member—which, of course, would have been

  impossible to determine given that no one is sure to this day who many of the class

  members are. The very factors that prevented timely proceeds payment in the first

  place—namely, the difficulty of identifying and locating the actual owner legally

  entitled to some of the fractional interests—thus mean that roughly two-thirds of the

  judgment amount will likely never be seen by actual oil-well interest owners, but

  instead will end up in state-run unclaimed-property funds.


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        Given that this case is at bottom about payments that were not made because

  it was often difficult (if not impossible) to ascertain who is legally entitled to each

  fractional interest, the district court should have been especially skeptical of any

  claim that the case could be tried on a classwide basis without even knowing who

  the class members are. After all, every plaintiff—whether in an individual or class

  action—has a non-negotiable obligation to establish that they suffered a redressable

  injury-in-fact traceable to the defendant, and that cannot be assessed without

  knowing who it is that claims to have been injured. But rather than grapple with

  those difficulties, the district court made the classic mistake of certifying first and

  confronting obstacles later (or not at all). Making matters worse, the court propelled

  the case forward at breakneck speed shortly after inheriting it, allowing just 15 days

  between certification of a 53,000-member class and the close of discovery, and

  setting trial a mere two months later. The court thus set a schedule that assumed that

  the highly individualized liability and damages issues at the heart of this case would

  not be presented—and, in so doing, ensured that none could.

        Not content to order Sunoco to pay all class members interest at the statutory

  maximum, the court added to the $48.7 million in unpaid-interest damages another

  $55 million in extra-statutory prejudgment interest at the PRSA’s maximum rate for

  measuring damages, plus $75 million more in punitive damages. Those awards are

  plainly verboten under Oklahoma law and due process; indeed, the Oklahoma


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  legislature enacted reforms a decade ago precisely to prevent freewheeling awards

  like this one.

          Class actions do not license rough justice. “Tempting as it is to alter doctrine

  in order to facilitate class treatment, judges must resist so that all parties’ legal rights

  may be respected.” In re Bridgestone/Firestone, Inc., 288 F.3d 1012, 1020 (7th Cir.

  2002). A court cannot assume away any plaintiff’s burden, or preclude a defendant

  from litigating defenses, just because that is the only way to make a class action

  work.    The judgment should be vacated, and this Court should remand with

  instructions to decertify the class, or at least throw out the great majority of the

  damages.

                           JURISDICTIONAL STATEMENT
          The district court had jurisdiction under 28 U.S.C. §1332(d)(2). It entered

  final judgment on October 19, 2023. App.489. Sunoco timely moved to alter or

  amend the judgment and for a new trial on November 15, 2023; the district court

  denied Sunoco’s post-trial motions on November 20, 2023. App.550; see App.490-

  549. Sunoco filed a timely notice of appeal on December 15, 2023. App.551-52.

  This Court has jurisdiction under 28 U.S.C. §1291.

                             STATEMENT OF THE ISSUES

          1. Whether the classwide adjudication and the judgment it produced violated

  Rule 23 and the Rules Enabling Act.



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        2. Whether the district court violated Article III and Rule 23 by awarding

  $120 million to unidentified class members whose standing was never proven.

        3. Whether the district court violated Oklahoma law and/or due process in

  awarding extra-statutory prejudgment interest and punitive damages.

                             STATEMENT OF THE CASE

        A.     Factual and Legal Background

        1. Sunoco is a “first purchaser” of crude oil. While some well operators sell

  oil and remit the proceeds directly to the owners in their wells, others (especially

  small operators) sell to first purchasers like Sunoco, which then pay the proceeds to

  the well’s owners. That process is more challenging than it sounds. Oil and gas

  ownership interests are varied, fractured, and frequently changing hands—so much

  so that literally thousands of people can own shares of the proceeds generated by the

  sale of oil from a single well or unit.

        First, there are the owners of the mineral rights, typically royalty owners, who

  enter leases with producer-operators and keep a percentage of the proceeds derived

  from oil produced from the land. App.343. That share is often spread among

  multiple people. Since mineral rights were first granted in Oklahoma in the late 19th

  century, they have been subdivided among multiple heirs across multiple

  generations, App.342, and various entities across the country have bought (and sold)

  these interests from fourth- and fifth-generation owners, App.347-48. Next, there



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  are the exploration and production companies—well operators who lease mineral

  rights from owners and do the drilling—along with non-operating “working interest”

  owners who invest capital and pay expenses in return for a share of the proceeds.

  App.343-44. Finally, there are assignees, to whom working-interest owners may

  have assigned all or part of their interests. App.359-60; see App.387-90. In all, “it

  is not unusual for Sunoco to pay anywhere from tens to thousands of interest owners

  for oil produced” from one well. App.412 n.6.

        While those payment obligations are contractually grounded, see Purcell v.

  Santa Fe Minerals, Inc., 961 P.2d 188, 191-92 (Okla. 1998), eventually the

  Oklahoma legislature “codified” them in the PRSA, providing that “[p]roceeds from

  the sale of oil or gas production from an oil or gas well shall be paid to persons

  legally entitled thereto” within certain deadlines that vary by sale type. 52 Okla.

  Stat. §570.10(B). For a “first sale” from a well, proceeds must be paid within six

  months. Id. §570.10(B)(1). For subsequent sales, proceeds must be paid before “the

  last day of the second succeeding month after the end of the month within which

  such production is sold.” Id. §570.10(B)(1)(b). There are multiple exceptions,

  including for payments under $100. See id. §570.10(B)(3). The PRSA also provides

  for interest as a form of damages when someone breaches the obligation to pay

  proceeds to someone legally entitled to them in whole and on time. See id.

  §570.10(E)(1) (“a first purchaser … who fails to remit proceeds” on time “to owners


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  legally entitled thereto … shall be liable to such owners for interest as provided in

  subsection D … on that portion of the proceeds not timely paid); Purcell, 961 P.2d

  at 191-92.

        Unsurprisingly, it is not always clear who the rightful owner of a well interest

  is. To account for the risk of confusion on that score, a person is not legally entitled

  to proceeds under the PRSA unless she has “marketable title,” In re Tulsa Energy,

  Inc., 111 F.3d 88, 90 (10th Cir. 1997), a concept Oklahoma courts define as “perfect

  title or clear title of record … free from apparent defects, grave doubts and litigious

  uncertainty,” Hull v. Sun Refining & Mktg. Co., 789 P.2d 1272, 1277 (Okla. 1989).

  Given the inherent information asymmetry (owners tend to know best about what

  they own) and the difficulty of determining title, Oklahoma assigns to each owner

  the burden to “establish marketable title so that he can receive proceeds.” Tulsa

  Energy, 111 F.3d at 90. The PRSA also accounts for the possibility that a first

  purchaser may be unable to timely pay because it cannot determine who has

  marketable title. To that end, while the statute provides a rate of 12% interest for

  other kinds of untimely payments, it reduces the rate to 6% “[w]here such proceeds

  are not paid because the title thereto is not marketable.”             52 Okla. Stat.

  §570.10(D)(1)-(2). If title was not marketable when proceeds came due, then

  whoever is legally entitled to proceeds may claim them once she has cured whatever




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  defect or cloud on her title existed, but she is entitled to only 6% interest for the

  period during which payment was delayed because she lacked marketable title.

        In effect, then, the PRSA not only acknowledges the practical challenges

  facing first purchasers, but “recognizes the operator’s right to withhold proceeds in

  the absence of marketable title,” Tulsa Energy, 111 F.3d at 90, rather than pay

  proceeds to what could end being the wrong person. And it compensates the ultimate

  rightful owner for delay attributable to a cloud on title, but at a much lower rate than

  if the delay was not attributable to such uncertainty. All of that creates a scheme in

  which first purchasers are strongly incentivized to promptly determine who has

  marketable title (lest they be saddled with 12% interest for untimely proceeds

  payments), but are not penalized for the relatively rare instances when they cannot.

        2. Between 2007 and 2019, Sunoco purchased oil from 23,172 wells in

  Oklahoma. App.216. To facilitate on-time payments to the many fractional owners,

  Sunoco worked hard to ascertain who held marketable title to which interests.

  Because Sunoco is not an exploration and production company with personal

  relationships with royalty owners, it generally relied on information provided by

  well operators regarding the many interests down the chain. App.346-47, 360, 398-

  99. Well operators typically provided Sunoco with title opinions demarcating

  royalty-interest owners, working-interest owners, and other payees on each well and

  identifying how much each owns. See App.341. These opinions were often more


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  than 100 pages long, App.389-90, as title over fractional interests is often muddied

  by decades’ worth of poorly recorded transactions, stray deeds, deaths without a

  probated estate, unrecorded lease terminations, and more, App.351-58.

         Most of the time, these efforts succeeded in identifying and locating the

  rightful owner with marketable title, enabling Sunoco to make timely proceeds

  payments. In fact, Sunoco almost always paid on time and in full; over the relevant

  period, it had an industry-leading 98.7% 60-day payment rate. 2 App.362. While

  Sunoco occasionally simply made a mistake, most of the time, payments were late

  for one (or more) of three reasons: (1) Sunoco was awaiting further information,

  without which the title attorneys could not confirm who had marketable title,

  App.361; (2) Sunoco received inaccurate or incomplete information from a well

  operator about the location or identity of an owner, App.372; or (3) Sunoco simply

  had no idea who was legally entitled to proceeds, App.373. See App.400 (late

  payment absent a title defect “doesn’t occur very often”).

         Starting with the first category, sometimes a title examination revealed who

  likely owned a well interest, but more information was needed to confirm that they

  held marketable title. In that case, a title attorney would issue an opinion noting




     2
       That is not to say that the remaining 1.3% of payments were all late. As
  discussed, the PRSA contains several exceptions—for example, the less-than-$100-
  payment exception, 52 Okla. Stat. §570.10(B)(3). See App.362.

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  what additional documents (“title requirements”) were needed. App.360. Second,

  sometimes Sunoco thought it knew who the owner was but got no response to

  correspondence, including requests for confirmation. E.g., App.338-40. Sunoco

  sometimes ran into this problem even when there were (at least thought to be) no

  issues with marketable title; occasionally it would send letters and proceeds checks

  to what it believed was the owner’s address only to have them go unanswered and

  uncashed. App.365-66. Finally, sometimes a title examination was so inconclusive

  that Sunoco could not identify any owner at all. App.373.

        When it ran into these complications, Sunoco did not just keep the proceeds

  for itself; it segregated them for the presumed rightful owner. And if the difficulties

  locating or identifying that person persisted long enough for the proceeds to be

  deemed “presumed abandoned” under the law of the state where the presumed owner

  appeared to live, Sunoco would escheat them to that state’s unclaimed-property fund,

  listing the name of any “apparent owner.” App.368; e.g., 60 Okla. Stat. §658 (five

  years); Unif. Unclaimed Prop. Act §102(2). When Sunoco had no idea who the

  owner might be, it would escheat the proceeds into “undivided” accounts with no

  associated name(s) or address(es) in the unclaimed-property fund in Texas, where

  Sunoco is headquartered. App.368, 369, 373.

        The situation was even more complicated when it came to calculating interest.

  As explained, the PRSA sets two different interest rates as compensation for delayed


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  proceeds payments: 12% for periods during which the owner had marketable title,

  and 6% for periods when the owner did not. 52 Okla. Stat. §570.10(D)(1)-(2).

  Sunoco thus could not accurately determine the applicable interest rate without first

  ascertaining both the actual owner and when their title became marketable. Yet when

  Sunoco failed to make timely proceeds payments, it was often due to uncertainty

  about one or both of those things. Accordingly, rather than guess what interest may

  be owed, Sunoco typically waited to pay interest until someone came forward and

  asked for it. App.337. Sunoco was not alone in this practice; that was how the entire

  industry operated. 3 App.400.

         B.    Procedural Background
         1. In 2017, Perry Cline filed a putative class-action lawsuit against Sunoco

  under the PRSA, which Sunoco timely removed to federal court. App.65-112. Cline

  sought to represent a class of virtually anyone who had “received” a late proceeds

  payment from Sunoco and had not been paid interest. App.83. Thus, the only

  compensatory damages Cline sought was interest that had not been paid on late



     3
       In the aftermath of the district court’s ruling, Sunoco made the difficult decision
  to exit the proceeds-payment business in Oklahoma. App.371. Unfortunately, losing
  Sunoco’s payment infrastructure—which led the industry with on-time payments
  nearly 99% of the time—will disproportionately burden “small oil and gas operators
  who do not have the ability to manage the payments on their own.” Katherine
  Crowley Jimenez, Note, Class-Actions Threaten the Energy Industry: Class-Action
  Lawsuits and Royalty Litigation in Light of Cline v. Sunoco, 46 Okla. City U. L. Rev.
  87, 103 (2021).

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  proceeds payments, as the class was confined to people who had already received

  proceeds.

        The case was initially assigned to Judge James H. Payne, who set deadlines

  for class-certification discovery to conclude in late 2018 and class-certification

  briefing to be completed by March 2019. App.113-14. Judge Payne’s scheduling

  order sensibly specified that “[a] deadline for all merits discovery” would be set

  later, after a “decision on class certification.” App.113. Cline filed four extension

  requests, App.115-34, 137-42, 145-50, 153-59, which pushed the class-certification-

  briefing deadline to October 7, 2019, App.135-36, 143-44, 151-52, 160-61.

        2. While class-certification briefing was underway, the case was reassigned to

  Judge John A. Gibney of the Eastern District of Virginia under 28 U.S.C. §292(d)

  (allowing out-of-circuits judges to be “assign[ed] temporarily” to a district “wherein

  the need arises”). App.18-19. Judge Gibney quickly brought the Rocket Docket to

  the Sooner State.        On August 5, 2019, he sua sponte pushed up the class-

  certification-briefing    deadline;   ordered   “all   discovery”—including     merits

  discovery—to conclude by October 18, 2019 (even though no class had yet been

  certified); and set a bench trial to begin on December 16, 2019. App.162.

        Sunoco vigorously resisted certification, explaining (among other things) that

  individualized issues would overwhelm common ones at trial. See App.168-212.

  Chief among those individualized issues was whether a putative class member had


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  marketable title for none, all, or some of the period during which payment was

  delayed, as how much interest a rightful owner is entitled to (6% versus 12%)

  depends on whether they had marketable title when payment was withheld. That

  question, moreover, may not have a binary answer for each owner. It could be 6%

  for part of the delay but 12% for the remainder if, e.g., a cloud on title cleared up

  midway through. See, e.g., App.337; Maxwell v. Samson Res. Co., 848 P.2d 1166,

  1169 (Okla. 1993). Yet determining marketable tile consistent with the “current title

  examination standards,” 52 Okla. Stat. §570.10, would require individually

  examining—and applying a set of book-length title rules to—mineral-rights records,

  leases, assignments, and more for every putative owner. App.367, 385-86, 401-03.

         Notwithstanding those central individualized issues, the district court granted

  class certification on October 3, 2019, a mere two weeks before it had set “all

  discovery” to close. 4 Sunoco strenuously objected to that absurdly compressed

  schedule, explaining that it would be impossible to complete merits discovery—let

  alone develop a full defense—for tens of thousands of class members in such a short

  time, but the court would not budge. App.318-19.

         Making matters worse, the court accepted Cline’s invitation to vastly expand

  the class.   While the definition Cline proposed covered only those who had



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      This Court denied leave to immediately appeal the class-certification decision.
  Order, Sunoco, Inc. (R&M) v. Cline, No. 19-608 (10th Cir. Nov. 13, 2019).

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  “received” untimely proceeds payments (thus limiting the class to those eventually

  identified as rightful owners), Cline insisted that it also included well interests for

  whom no owner had ever received or even claimed any proceeds payments, leaving

  those payments sitting in unclaimed-property funds in the name of an “apparent

  owner” who may not be the real one. Sunoco sought clarification that the class could

  not possibly include tens of thousands of abstract “interest owners” whose identities

  Cline had not sought to ascertain or supply. App.274-305. But 20 days before trial,

  the district court agreed with Cline. App.306-11. Indeed, the court even included

  well interests as to whom there is not even any “apparent owner,” effectively

  certifying a class of account numbers associated with well interests rather than actual

  people claiming entitlement to the money sitting in them.

         Two weeks later, the court granted summary judgment to the class on whether

  the PRSA required Sunoco to pay interest immediately along with a late principal

  payment, holding that it did. 5 App.321-33. The case then proceeded to a bench trial

  “on the remaining issues.” App.406.

         3. The most obvious “remaining issue” was whether each class member had

  marketable title and, if so, as of when. But as Sunoco had explained in opposing




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      That question is irrelevant to liability. The class sued for unpaid interest on late-
  paid proceeds, and Sunoco agrees that any liability for interest is not extinguished
  because an owner failed to demand it. See App.263-64.

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  certification, there was no way to make that determination on a classwide basis. In

  point of fact, the district court never even tried. On August 17, 2020, it issued an

  opinion holding Sunoco liable to all class members, without making any findings

  about who actually owns any of the well interests at issue, let alone whether or when

  that owner had marketable title. App.405-52.

        The court accomplished that remarkable feat in three steps. First, it shifted

  the burden from the plaintiffs to prove that each class member had marketable title,

  instead holding that Sunoco must disprove that fact for each member—itself an

  impossible task when the class consists of account numbers instead of actual

  plaintiffs. App.432-35. Next, it refused to give Sunoco a meaningful opportunity to

  try to carry that misplaced and impossible burden on a classwide basis, striking

  Sunoco’s damages expert because he could not produce full results regarding

  Sunoco’s beliefs about the ownership of all 53,000 well interests within the

  extraordinarily truncated discovery window.       App.423-29.     Finally, the court

  accepted all the calculations of Cline’s damages expert, who simply assigned a 12%

  rate to every late proceeds payment for the entire period of delayed payment, without

  regard to whether anyone ever established the marketable title necessary to claim

  that payment, let alone did so in time to claim 12% interest. App.421-22, 443-44.

        The result was a nearly $75 million damages award—nearly two-thirds of

  which is attributable not to actual people or entities who have collected proceeds


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  payments, but simply to accounts sitting in state unclaimed-property funds. See

  App.377-78, 452. Indeed, the award even included the maximum 12% interest on

  proceeds from well interests so far removed from marketable title that no one has

  even a guess as to ownership; those proceeds sit in undivided unclaimed-property

  funds associated with no one. App.443 n.27. The court then added another

  $75 million in punitive damages, rejecting Sunoco’s argument that they are

  unavailable under Oklahoma law. App.446-51.

        4. Difficulties over how to distribute that windfall to as-yet-unidentified

  owners engendered years of litigation over finality. On August 27, 2020, the district

  court issued an order that was designated a Rule 58 judgment but did not allocate

  damages among class members or provide a plan to dispose of damages that go

  unclaimed (as most here likely will). App.453. The court subsequently entered an

  allocation plan, but it provided no plan for unclaimed funds and failed to address

  how to distribute proceeds owed to class members represented by the undivided

  accounts should anyone ever figure out who they are. App.454-58. Although that

  was insufficient under this Court’s cases, see Cook v. Rockwell Int’l Corp., 618 F.3d

  1127, 1137-38 (10th Cir. 2010); Strey v. Hunt Int’l Res. Corp., 696 F.2d 87, 88 (10th

  Cir. 1982), the district court believed its work was done, so Sunoco filed a notice of

  appeal. App.459-62. The court rejected Sunoco’s post-trial arguments as to finality

  in a subsequent order, App.475 n.10, so Sunoco filed another protective notice of


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  appeal, App.477-80. This Court dismissed both appeals on the ground that Sunoco

  itself maintained there was no final judgment. Cline v. Sunoco Partners Mktg. &

  Terminals L.P., 2021 WL 5858399 (10th Cir. Nov. 1, 2021).

        “Undeterred, Sunoco returned to the district court and filed [a Rule] 60(b)(6)

  motion” asking for minor modifications that would render the allocation plan final;

  when the court refused, Sunoco again appealed, and this time this Court reversed.

  Cline v. Sunoco, Inc. (R&M), 2023 WL 4946312, at *3 (10th Cir. Aug. 3, 2023). The

  Court agreed with Sunoco that “the allocation plan fails both requirements for a final

  and appealable class-action judgment under Strey and Cook” and “urge[d] the district

  court to promptly take whatever steps it deems necessary to cure the allocation plan’s

  defects and produce a final judgment.” Id. at *7.

        5. On remand, the district court entered a revised allocation plan that finally

  created a final judgment. App.481-86, 489. This time, the court directed that all

  unclaimed funds “be sent to the appropriate state account for unclaimed property”

  (including the undivided accounts).      App.484-86.     It also revised its interest

  calculation upward, adding $23 million more in prejudgment interest at the PRSA’s

  12% damages rate to cover the time it took Sunoco to get the court to issue a final

  judgment (on top of $6 million added before the earlier purported judgment). That

  brought the total compensatory-damages award to $104 million, plus $75 million in

  punitive damages. App.489. Sunoco now appeals that final judgment.


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                             SUMMARY OF ARGUMENT
        This $180 million judgment is the product of a class action proceeding that

  violated Rule 23, the Rules Enabling Act, Article III, the Due Process Clause, and

  Oklahoma law. At its core, the claim Cline sought to press on behalf of a 53,000-

  member class turns on an inherently individualized issue: whether each class

  member had the marketable title necessary to make them legally entitled to proceeds

  for all, part, or none of the period when proceeds were not timely paid. That alone

  should have precluded class certification, as marketable title cannot be determined

  in gross; it requires close examination of each purported owner’s title documents.

  But the problem with certification here was even more fundamental, as Cline sought

  to press that highly individualized claim on behalf of 53,000 class members without

  even identifying who they are. He essentially sought to represent a class of “whoever

  is entitled to interest,” and insisted that a judgment administrator could sort out later

  who (if anyone) that is. That novel approach would not satisfy the strictures of Rule

  23 in any context, but its impracticability leaps off the page here. After all, it is

  literally impossible to determine whether or when someone obtained marketable title

  when that “someone” has not been identified.

        This class thus never should have been certified at all, but it certainly should

  not have been expanded to include tens of thousands of unidentified “owners”

  represented by only the number on an account sitting in an unclaimed-property fund.



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  After all, wholly apart from where the PRSA places the burden of proof (and the

  district court got that wrong too), Article III demands proof that a plaintiff actually

  suffered the injury a defendant is accused of having caused before that plaintiff can

  be awarded money damages. Yet in its haste to punish Sunoco for failing to pay

  interest to somebody, the district court awarded damages without determining to

  whom, if anyone, it was awarding them. That runs afoul of first principles. Simply

  put, Article III courts cannot award damages first and decide whether anyone is

  entitled to them later.

        At a bare minimum, this Court should vacate the prejudgment interest and

  punitive-damages awards. Because the “interest” a defendant owes under the PRSA

  is a measure of damages for “proceeds not timely paid,” it sensibly stops accruing

  on “the day” late “proceeds” are “paid.” 52 Okla. Stat. §570.10(D)(1), (E)(1). Yet

  the district court converted that measure of damages into a misplaced measure of

  prejudgment interest, awarding 12% PSRA interest that kept accruing (and

  compounding) all the way until the court issued a final judgment (which took years

  longer than it should have), accounting for an additional $55 million. Worse still,

  the court awarded $75 million in punitive damages in violation of Oklahoma law and

  due process. Thus, the $180 million judgment should be vacated in its entirety or at

  the very least massively reduced.




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                              STANDARD OF REVIEW
        This Court reviews legal questions de novo and factual findings for clear error.

  Liberty Mut. Fire Ins. Co. v. Woolman, 913 F.3d 977, 994 (10th Cir. 2019). Class

  certification is reviewed for abuse of discretion, which includes “[m]aterial

  misapplication of the Rule 23 factors”; the “standard the district court used in making

  its Rule 23 determination” is reviewed de novo. Wallace B. Roderick Revocable

  Living Tr. v. XTO Energy, Inc., 725 F.3d 1213, 1217 (10th Cir. 2013).

                                      ARGUMENT
  I.    The Classwide Judgment Violates Rule 23 And The Rules Enabling Act.
        Those seeking to certify a damages class face a “demanding” burden.

  AmChem Prods. v. Windsor, 521 U.S. 591, 623-24 (1997). They must show, inter

  alia, that their own claims or defenses are “typical of the claims or defenses of the

  class,” that they “will fairly and adequately protect the interests of the class,” “that

  the questions of law or fact common to class members predominate over any

  questions affecting only individual members, and that a class action is superior to

  other available methods for fairly and efficiently adjudicating the controversy.” Fed.

  R. Civ. P. 23(a)-(b). “Predominance regularly presents the greatest obstacle to class

  certification[.]” CGC Holding Co. v. Broad & Cassel, 773 F.3d 1076, 1087 (10th

  Cir. 2014). Cline failed to overcome that (and many other obstacles to certification)

  here, as his class was riddled with individualized issues that could not practically be

  resolved on a classwide basis—especially when Cline never even identified many of

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  the persons or entities whose claims he sought to press. Simply put, this class should

  never have been certified, and the district court’s efforts to make this case “work” as

  a class action only made matters worse.

        A.     Cline Came Nowhere Close to Satisfying Rule 23.
        Cline sought to represent a class consisting of anyone who received a late

  proceeds payment from Sunoco and was not paid interest. App.83. He claimed that

  he could adjudicate on a classwide basis whether every one of his fellow class

  members was entitled to interest and, if so, how much. But litigating that claim on

  a classwide basis suffered from an insurmountable threshold obstacle: The PRSA

  does not entitle every late-paid well-interest owner to the same uniform measure of

  interest. If the reason for delay was “because the title thereto is not marketable,”

  then a 6% rate applies; otherwise, a 12% rate applies. 52 Okla. Stat. §570.10(D)(1)-

  (2). Resolving Cline’s claim—for example, that he had marketable title at all times

  and was thus entitled to the maximum 12% interest rate throughout—does nothing

  to resolve any other class member’s claim, as there is no way to determine whether

  and when other class members had marketable title without examining their own

  unique circumstances.

        Answering that individualized question is no mean feat. “Marketability of

  title shall be determined in accordance with the then current title examination

  standards of the Oklahoma Bar Association,” id. §570.10(D)(2)(a), under which



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  examiners must presume unmarketability and examine hundred-page title opinions,

  complicated deeds, death records, and more before they may conclude otherwise.

  App.391; see App.351-58, 360, 389-90. Adding to the complexity, the applicable

  rate is not necessarily uniform for each owner; it can be 6% for some of the delay

  but 12% for the rest, depending on when the owner had marketable title. App.337;

  Maxwell, 848 P.2d at 1169. Determining the applicable rate(s) thus requires a fact-

  intensive inquiry into the integrity of each owner’s claim to title during each owner’s

  period of delay—which means going not just “well by well,” but “month by month,”

  as to each owner. McKnight v. Linn Operating, Inc., 2016 WL 756541, at *8 (W.D.

  Okla. Feb. 25, 2016).

        Trying to answer that fact-intensive question for 53,000 distinct owners would

  “inevitably overwhelm questions common to the class.” Comcast Corp. v. Behrend,

  569 U.S. 27, 34 (2013). Indeed, other courts have recognized that problem as

  inherent in trying just this sort of case on a classwide basis. See, e.g., EQT Prod.

  Co. v. Adair, 764 F.3d 347, 359-60, 366-70 (4th Cir. 2014) (abuse of discretion to

  certify class alleging royalty underpayment where “verifying ownership will be

  necessary for the class members to receive royalties” because “resolving ownership

  based on land records can be a complicated and individualized process”). And this

  Court has recognized the same problem even in circumstances less complicated than

  these. See Chieftain Royalty Co. v. XTO Energy, Inc., 528 F.App’x 938, 942-44 (10th


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  Cir. 2013) (vacating certification of royalty-owners class where claims depended on

  terms of each member’s lease). There is simply no way to adjudicate on a classwide

  basis claims dependent on the individualized land-ownership details of each

  plaintiff.

         That alone should have sufficed to foreclose certification. But the nature of

  the class Cline ultimately represented compounded the problems. Cline originally

  proposed a class of all owners who “received” a late proceeds payment. App.83.

  Such owners were actually identifiable, and by virtue of having “received” a late

  proceeds payment, were at least people who Sunoco at some point determined

  possessed the marketable title that rendered them legally entitled to proceeds

  payments. Even so, individualized issues would have pervaded as to that group, as

  the fact that Sunoco satisfied itself at some point that it had identified a rightful

  owner does not mean that the owner necessarily had marketable title during the

  period of delay. In many of those cases, Sunoco likely withheld proceeds payments

  because it was not confident that the apparent owner had marketable title, and

  tendered payment only once the apparent owner either confirmed that it did or

  cleared whatever cloud Sunoco brought to its attention. And, again, whether the

  former or the latter ultimately triggered payment makes all the difference when

  determining the applicable interest rate. See 52 Okla. Stat. §570.10(D)(1)-(2).




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        But the district court vastly expanded the class, and in doing vastly magnified

  the predominance difficulties. Rather than limiting the class to actual identified

  individuals who received a late-proceeds check, it expanded the class to include

  every well interest for which proceeds were not timely paid to an owner—even if

  proceeds were never paid to an owner, but were instead escheated to a state

  unclaimed-property fund because the owner could not be located, confirmed, or

  identified. In effect, the court certified a class of account numbers associated with

  well interests, deeming it sufficient that someone out there must be entitled to the

  proceeds escheated by Sunoco to the 50 states and any interest on them. These

  unidentified (and perhaps unidentifiable) “class members” were not some rounding

  error or miniscule tail on a large dog; roughly two-thirds of the damages award is

  attributable to well interests for which no one has claimed, let alone received, a

  proceeds payment.

        That vast expansion multiplied the problems with certification. For one thing,

  it created an insurmountable ascertainability obstacle. As this Court has recognized,

  it is exceedingly difficult to determine whether the prerequisites of Rule 23 are

  satisfied without knowing who is in the proposed class. See Evans v. Brigham Young

  Univ., 2023 WL 3262012 (10th Cir. May 5, 2023). Moreover, “insisting on the easy

  identification of class members” serves both to “eliminate[] ‘serious administrative

  burdens that are incongruous with the efficiencies expected in a class action’” and


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  to “protect defendants[’]” substantive rights. Abraham v. WPX Prods., LLC, 317

  F.R.D. 169, 254 (D.N.M. 2016) (quoting Marcus v. BMW of N. Am., LLC, 687 F.3d

  583, 593 (3d Cir. 2012)). After all, a defendant cannot meaningfully defend itself if

  it is left with the conundrum of trying to “identify class members consisting of

  persons not identified.” Adashunas v. Negley, 626 F.2d 600, 603 (7th Cir. 1980).

        Circuits across the country have held that the proponent of class certification

  must show that membership in the proposed class is, or will be, ascertainable by

  objective criteria. See Smith v. LifeVantage Corp., 341 F.R.D. 82, 91-93 (D. Utah

  2022) (collecting cases); see also, e.g., Brecher v. Republic of Argentina, 802 F.3d

  303, 304-06 (2d Cir. 2015); Carrera v. Bayer Corp., 727 F.3d 300, 307-08 (3d Cir.

  2013); EQT Prod. Co., 764 F.3d at 358-60; Karhu v. Vital Pharm., Inc., 2015 WL

  3560722, at *2-4 (11th Cir. June 9, 2015). And many district courts within the Tenth

  Circuit have refused to certify classes where even the process of ascertaining class

  membership would necessitate delving into individualized or subjective

  determinations. See, e.g., Martinez v. FedEx Ground Package Sys., Inc., 2023 WL

  7114678, at *1 (D.N.M. Oct. 27, 2023); Thornton v. Kroger Co., 2023 WL 6378417,

  at *43 (D.N.M. Sept. 29, 2023); Faulhaber v. Petzl Am., Inc., 656 F.Supp.3d 1257,

  1272 (D. Colo. 2023).

        This case proves the wisdom of demanding ascertainability. By effectively

  certifying a class of “well-interest owners” without requiring Cline to identify who


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  they are, the district court deprived Sunoco of any ability to litigate an issue that was

  “central to the validity of each one of the claims,” let alone to do so “in one stroke.”

  Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). After all, it is impossible

  to determine whether or when someone had marketable title without knowing who

  that someone is. It is difficult to imagine a more fundamental ascertainability (and

  Rule 23(b)(3)) problem than forcing a defendant to defend itself against highly

  individualized damages claims brought on behalf of claimants whose identity is

  literally unknown. Indeed, this defect goes beyond ascertainability to standing, as

  Article III courts do not exist to determine whether the defendant violated some duty

  in the abstract; they exist to adjudicate whether the defendant violated the legal rights

  of an actual injured plaintiff. See infra Part II.

        And marketable title was not even the only individualized issue. For example,

  Sunoco entered into indemnity agreements with many class members (generally the

  very well operators who gave Sunoco faulty information in the first place) that

  should have foreclosed any PRSA claim. See App.349, 404. In fact, one putative

  class member whose representative testified at trial opted out because the company

  believed it had no right to payment in light of an indemnity agreement. App.392-

  97. But Sunoco could not even try to determine whether such agreements might

  exist without knowing who purported to be entitled to interest.




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        The individualized issues do not end there. The PRSA also sets a longer (six-

  month) deadline for payments for the first sale from a well, so whether a payment

  was late depends on whether it was for a first sale. See 52 Okla. Stat. §570.10(B)(1);

  p.6, supra. While that question could be answered for Cline’s specific wells, it could

  not be answered on a classwide basis for a class covering all 23,172 wells from

  which Sunoco purchased.

        That not only illustrated that Cline’s claims (and Sunoco’s defenses) were not

  “typical … of the class,” but also raised grave doubts that Cline could “fairly and

  adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(3)-(4). In fact,

  on at least the first-sale issue, he plainly did not. Cline’s expert could not always

  determine whether a payment was for a first sale, so she simply assumed that the

  date of first purchase by Sunoco was the date of first sale of the well. App.375-76.

  That necessarily prejudiced owners who received late payments that were falsely

  deemed timely on that assumption, as they fall within the terms of the class but have

  now had their claims extinguished by its representative. See Albertson’s, Inc. v.

  Amalgamated Sugar Co., 503 F.2d 459, 463 (10th Cir. 1974) (“It is axiomatic that a

  plaintiff cannot maintain a class action when his interests are antagonistic to, or in

  conflict with, the interests of the persons he would seek to represent.”). In short, this

  class should never have been certified, and this case falls far short of the demanding

  requirements of Rule 23.


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        B.     The District Court’s Efforts to Wish Away the Glaring Rule 23
               Problems Only Created Additional Reversible Errors.

        Rather than confront these glaring problems, the district court tried to wish

  them away. The court did not purport to identify how marketable title (or any other

  individualized issues) could be proven on a classwide basis before granting

  certification—let alone be proven without even knowing who purports to own each

  of the 53,000 well interests at stake. It just certified on the assumption that all these

  problems would work themselves out.             App.247-48.    But subsequent events

  underscored the impossibility of trying individualized issues on a classwide basis for

  a class whose members remain unidentified. Cline declined to present any evidence

  about who his fellow class members are, let alone whether any of them ever had

  marketable title. Yet rather than treat that omission as fatal, the court faulted Sunoco

  for failing to prove Cline’s case for him—even as it refused to consider the only

  evidence Sunoco could muster in the two-and-a-half months it was given between

  certification and trial, on the incredulous reasoning that it would be unfair to “allow

  [Sunoco] to undercut [plaintiffs’] theory of the case with information [it] produced

  six weeks before trial.” App.384. The factual question that should have been central

  to every class member’s claim thus remains unanswered.

        The district court tried to excuse that omission by declaring in its post-trial

  opinion that “[u]nmarketability” was actually “an affirmative defense” on which

  Sunoco had unwittingly borne the burden of proof in the four-day trial that had


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  concluded many months ago. App.434. It then faulted Sunoco for not keeping

  sufficient internal records to be able to satisfy that belatedly imposed burden for all

  53,000 well interests (without knowing who purports to have marketable title, no

  less) in a matter of weeks. App.467. The court thus simply awarded every class

  member 12% interest across the board, without regard to whether whoever may own

  each well interest ever had marketable title at all, let alone had it during the period

  when a proceeds payment was delayed. That effort to paper over the Rule 23

  problems was flawed at every turn.

        At the outset, the burden to prove marketable title rests firmly with the

  plaintiff. The Oklahoma Supreme Court “has repeatedly imposed the burden of

  proof on the party who asserts an entitlement to the judicial relief sought,” Parsons

  v. Dist. Ct., 408 P.3d 586, 596 (Okla. 2017), and Oklahoma law allows “any owner

  in a well” to sue to have a court “determine the[ir] entitlement” to, inter alia,

  “proceeds from production” and “interest,” 52 Okla. Stat. §570.14(A). A PRSA

  plaintiff therefore bears the burden to prove entitlement to both. Id. §570.10(E)(1).

  To be sure, a plaintiff who proves marketable title is entitled to be compensated for

  any delay in proceeds payments by the appropriate measure of interest, which creates

  a strong incentive to pay promptly when title does not appear to be in dispute. But

  it still remains the plaintiff’s burden to prove that it is the rightful owner. Any other

  conclusion would make nonsense of the Oklahoma Supreme Court’s consistent


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  holding—including as recently as this past month—that an owner’s “‘right to

  payment’ under the PRSA ‘rests upon a showing of marketable title.’” Base v. Devon

  Energy Prod. Co., L.P., 2024 WL 445613, at *16 (Okla. Feb. 6, 2024) (quoting Hull,

  789 P.2d at 1279); see also Tulsa Energy, 111 F.3d at 90 (“[T]he party responsible

  for payment … is not[] required to pay until the other party has cleared up his title.”).

        The district court read this Court’s decision in Quinlan v. Koch Oil Co., 25

  F.3d 936 (10th Cir. 1994), to compel the opposite result. App.434-35. But Quinlan

  did not purport to alter the black-letter state-law rule that, like all other elements of

  a claim, entitlement to payment is the plaintiff’s burden to prove in court. See

  McCook v. Bryan, 46 P. 506, 508 (Okla. 1896) (“[C]onditions precedent … must be

  pleaded and proven affirmatively by the plaintiff.”). Quinlan simply held that an

  undisputed owner does not need to “make an affirmative showing of marketable

  title” to the first purchaser when payment is due “to be deemed ‘legally entitled to

  the proceeds’ from his oil lease.” 25 F.3d at 940. In other words, a first purchaser

  cannot justify withholding payment to an owner whose title was never in “legitimate

  question” by faulting the owner for failing to proactively supply proof of title outside

  of court before demanding payment. Id. That has nothing to do with what a plaintiff

  must prove in court to succeed on a claim for payment under the PRSA.

        In all events, for purposes of class certification, it does not matter whether

  marketable title is the plaintiff’s burden to prove or the defendant’s burden to


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  disprove. All that matters is that it is an inherently individualized question—and one

  that is impossible to answer without knowing who the plaintiff is. That alone should

  have foreclosed certification, as “Rule 23(b)(3) predominance … analysis applies

  not only to the elements that plaintiffs must prove but also to affirmative defenses.”

  Gorss Motels, Inc. v. Brigadoon Fitness, Inc., 29 F.4th 839, 845 (7th Cir. 2022); see

  also 2 Newberg & Rubenstein on Class Actions §4:55 (6th ed. Nov. 2023 Update).

  Here, marketable-title issues were pervasive—which is unsurprising, as Sunoco

  generally paid on time unless it could not locate or determine who had marketable

  title, so the class consisted almost entirely of well interests with some uncertainties

  about ownership. 6      Thus, even assuming marketable title were an affirmative

  defense, the district court still could not deprive Sunoco of the ability to contest it as

  to every class member without enlarging their substantive rights and diminishing

  Sunoco’s, in violation of the Rules Enabling Act’s “instruct[ion] that rules of




     6
       At one point, the district court suggested that because “Sunoco has already paid
  owners their proceeds” (which is not even true as to the two-thirds), marketable title
  must not have been in doubt. App.434.                  That reflects a fundamental
  misunderstanding of how PRSA interest works. Of course Sunoco sent checks once
  it thought it had identified someone with marketable title (though that belief
  sometimes proved mistaken, see pp.9-10, supra). But the appropriate interest rate
  turns not just on whether an owner eventually had marketable title, but when
  marketable title was obtained during the period when payment was delayed.

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  procedure ‘shall not abridge, enlarge or modify any substantive right.’” AmChem,

  521 U.S. at 612-13 (quoting 28 U.S.C. §2072(b)).7

         That the court faulted Sunoco for being unable to disprove marketable title on

  a classwide basis (for class members whose identity it did not even know) added

  insult to injury. After all, Sunoco opposed class certification on the ground that it

  would be impossible to do so. It was then given just 15 days after its certification

  arguments were rejected to conduct merits discovery and less than three months

  before it was forced to go to trial against tens of thousands of unidentified class

  members. That was nowhere near enough. The court never even purported to

  explain how Sunoco was supposed to disprove marketable title without knowing

  who claimed to have it. But that aside, it took a team of three analysts three weeks

  to determine what caused payment delay for fewer than 60 identified owners.

  App.363-64. Even if Sunoco had a team of 300 experts working round the clock on

  just this issue, reaching marketable-title determinations for 53,000 distinct owners

  would have taken more than ten times as long as the court’s breakneck pace

  demanded.




     7
       Nor could Cline concede away the problem by accepting a 6% interest for any
  class member whose marketable title was in doubt; that would have created an
  adequacy problem since those class members would each have every right to try to
  prove entitlement to 12%. See Fed. R. Civ. P. 23(a)(4); Gen. Tel. Co. of N.W. v.
  EEOC, 446 U.S. 318, 331 (1980).

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        The court insisted that Sunoco should not have needed any discovery or time

  to disprove marketable title because it should already have had all the information

  necessary to do so in its own “records.” App.467. But “the nature or thoroughness

  of a defendant’s recordkeeping does not alter the plaintiff’s burden to fulfill Rule

  23’s requirements.” Hayes v. Wal-Mart Stores, Inc., 725 F.3d 349, 356 (3d Cir.

  2013). And nothing in the PRSA renders liability for 6% versus 12% interest

  dependent on whether a defendant keeps adequate records of why it believed title to

  be in dispute, let alone entitles someone who has not even proven that they are

  legally entitled to proceeds to demand 12% interest on an uncollected proceeds

  payment just because a defendant does not have documentation on hand disproving

  the plaintiff’s ownership claim.

        The district court’s effort to eliminate the individualized issue of indemnity

  agreements fared no better. Class members with such agreements plainly would be

  barred from suing had they filed individually. Indeed, not even the district court

  denied that indemnity agreements would require individualized adjudication. See

  Chieftain Royalty, 528 F.App’x at 942-44. But rather than follow that conclusion to

  its logical end and decline to certify, see Wal-Mart, 564 U.S. at 367 (a class-action

  defendant is “entitled to litigate its statutory defenses to individual claims”), the

  court disposed of the indemnity agreements in a footnote deeming all of them invalid

  because 12% interest is a non-waivable “penalty.” App.444 n.28. That conclusion


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  was both entirely dependent on the court’s independently flawed decision to impose

  12% interest across the board and entirely wrong on its own. The court purported to

  derive it from language in Tulsa Energy, see 111 F.3d at 90-91, but the Oklahoma

  legislature abrogated that language by removing the phrase “as a penalty” from the

  statute, see Purcell, 961 P.2d at 193. Once again, then, the court’s effort to excise

  individual issues in its post-trial rulings failed as a matter of law.

        In short, this case never should have been litigated on a classwide basis, as the

  trial and post-trial proceedings made all too clear. The district court’s desire to do

  rough justice on the fast-track is no match for Rule 23 and the Rules Enabling Act.

  This Court should vacate and remand with instructions to decertify.

  II.   At A Minimum, The Class Could Not Include, And No Damages Could
        Be Awarded To, The Unidentified Class Members.

        “Every class member must have Article III standing in order to recover

  individual damages,” and standing is always “the plaintiff[’]s … burden” to prove.

  TransUnion LLC v. Ramirez, 594 U.S. 413, 430-31 (2021). That bedrock principle

  likewise should have doomed any effort to certify this class. But at the very least, it

  compels a massive reduction in the $180 million judgment, as fully two-thirds of

  that award is attributable to unidentified class members associated with accounts in

  unclaimed-property funds whose standing was never proven.

        To satisfy Article III, a plaintiff must have suffered an injury-in-fact that is

  “fairly traceable to the [defendant’s] challenged conduct” and “likely to be redressed


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  by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

  In this context, that means pleading and ultimately proving that each class member

  had marketable title, which is the sine qua non of legal entitlement to both proceeds

  and interest. Thus, even a true owner without marketable title was not injured by

  Sunoco’s failure to make PRSA payments. After all, a plaintiff cannot be injured by

  the failure to pay interest on proceeds to which it has no legal entitlement.

        Yet for tens of thousands of class members, Cline never proved the basic

  prerequisite for Article III standing.         The majority of the damages award

  ($120 million) is attributable to well interests whose purported owner Cline has

  never identified; the “class member” is essentially just a well interest standing in for

  whoever may be entitled to the proceeds sitting in state unclaimed-property funds (if

  anyone). App.377-78. Those funds may have ended up there because Sunoco could

  not locate that person, or because someone Sunoco thought was the owner did not

  respond to Sunoco’s correspondence, or because associating the well interest with a

  living person has become impossible. App.338-40, 372. But whatever the reason,

  Cline never established that any actual, identifiable person or entity ever had

  marketable title to those well interests, which (as explained) is essential to

  establishing that they were injured by the failure to pay interest. Indeed, Cline never

  even identified who those purported class members are, so he could not have proven

  that they had standing even if he had tried.


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        In rejecting Sunoco’s Article III objections, the court fixated on the notion that

  “Sunoco has kept someone else’s money,” i.e., interest that has not been paid on

  proceeds no one has claimed. App.436. But Article III is not satisfied by pointing

  out that the defendant injured someone. To the contrary, plaintiffs must show that

  the defendant injured them in particular. While a government enforcement agency

  may take action against a defendant who injured others without identifying the

  specific individuals injured, plaintiffs do not have that luxury. Each and every

  plaintiff—whether in an individual or a class action—must allege that they suffered

  a concrete and particularized injury traceable to the defendant and redressable by the

  court. Simply asserting—or even proving—that the defendant injured well-interest

  owners, or shareholders, or users of national parks, without alleging and then

  proving that the plaintiffs are in fact the well-interest owners, shareholders, or actual

  users of the national parks, does not cut it. It was Cline’s burden to prove that all of

  his class members met that Article III requirement. See TransUnion, 594 U.S. at

  430-31, 439. He could not just claim that the defendants violated a duty and demand

  damages, while leaving it to be sorted out later who, if anyone, is entitled to them.

        Cline likewise failed to prove that any harm the unidentified class members

  may have suffered is redressable. To satisfy Article III’s redressability requirement,

  it must be “likely, as opposed to merely speculative, that the injury will be redressed

  by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). Yet


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  it is sheer speculation that anyone will ever come forward and try to claim the funds

  Sunoco has been ordered to pay into state unclaimed-property funds, let alone that

  anyone would succeed.       Only 4% of unclaimed property nationwide is ever

  successfully claimed. See Ellen P. Aprill, Inadvertence and the Internal Revenue

  Code: Federal Tax Consequences of State Unclaimed Property Laws, 62 U. Pitt. L.

  Rev. 123, 148 (2000). And the rate would almost certainly be lower here. After all,

  the proceeds at issue have sat unclaimed for years throughout the whole of this very

  public litigation. Even if someone were to come forward now, moreover, an

  “apparent owner” of abandoned oil-sale proceeds (or true owner not listed as the

  apparent one) typically cannot just show up with identification and walk out with

  the money. One must supply things like land records, leases, etc., see, e.g., Okla.

  Admin. Code §735:80-7-2(8)—i.e., the very things Sunoco was unable to obtain for

  some well interests and the very things Cline never tried to prove anyone has.

  Whether anyone (beyond class counsel) will ever benefit from the district court’s

  award of damages to tens of thousands of unidentified class members thus remains

  utterly “conjectural” and “hypothetical.” Lujan, 504 U.S. at 560. The most likely

  beneficiaries are the state governments, who are decidedly not class members. The

  fact that the remedy here will end looking more like civil penalties “payable to” a

  state just underscores that, while proving that a defendant violated a legal duty may

  be enough for government enforcement actions, it is not enough for a plaintiff in an


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  Article III court. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 106

  (1998).8

         That this is a class action changes nothing. “Rule 23’s requirements must be

  interpreted in keeping with Article III constraints,” AmChem, 521 U.S. at 613, and

  the Federal Rules themselves declare that they “shall not be construed to extend …

  the jurisdiction of the district courts,” Fed. R. Civ. P. 82. Relieving plaintiffs of their

  obligation to prove standing just because they are part of a class action would plainly

  violate Article III and extend the jurisdiction of the district court. It would also

  enlarge class members’ (and abridge defendants’) substantive rights in violation of

  the Rules Enabling Act. To comply with the Rules Enabling Act, Rule 23 must do

  no more than “merely enable[] a federal court to adjudicate claims of multiple parties

  at once, instead of in separate suits.” Shady Grove Orthopedic Assocs., P.A. v.

  Allstate Ins. Co., 559 U.S. 393, 408 (2010); see 28 U.S.C. §5072(b). To be sure, that

  may leave room for a court to certify a class when peculiar standing concerns arise




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        For similar reasons, any claim to interest on proceeds sitting in unclaimed-
  property funds is not prudentially ripe. Whether anyone is entitled to interest (and,
  if so, how much) cannot be determined when no one has claimed entitlement to the
  proceeds. And no hardship would result from holding off on adjudicating those
  claims until someone does, as a plaintiff cannot complain about losing out on the use
  of funds that she has not tried to claim. See Rural Water Dist. No. 2 v. City of
  Glenpool, 698 F.3d 1270, 1275 (10th Cir. 2012) (prudential ripeness focuses on “the
  fitness of the issue for judicial resolution” and “the hardship to the parties of
  withholding judicial consideration”).

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  only at the margins and easily can be resolved on the back end. But it does not begin

  to justify certifying a class full of members who have not even been identified when

  the identity of the claimant is central to determining liability and entitlement to

  damages, let alone ordering a defendant to pay $120 million in damages without first

  determining whether any real, live plaintiff is entitled them.

  III.   The Damages Awards Far Exceed What Oklahoma Law Permits.
         Even assuming Cline had identified a viable class with identifiable members

  who all had standing, the damages award would still be unsustainable, as it included

  both prejudgment interest and punitive damages that Oklahoma law (and the Due

  Process Clause) forecloses.

         A.    PRSA Interest Stops Accruing When Proceeds Are Paid.
         1. The PRSA sets forth a measure of damages for untimely proceeds

  payments: “[A] first purchaser … who fails to remit proceeds” on time “shall be

  liable to [late-paid] owners for interest as provided in [§570.10(D)] on that portion

  of the proceeds not timely paid.” 52 Okla. Stat. §570.10(E)(1). Section 570.10(D)

  in turn provides that the “portion of such proceeds … not paid [on time] … shall

  earn interest at the [applicable rate] compounded annually, calculated from the end

  of the month in which such production is sold until the day paid.” Id. §570.10(D)(1)

  (emphasis added). So, under the plain text of the statute, the only thing a defendant

  may owe PRSA “interest” on is “proceeds not timely paid.” And while there is a



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  statutory formula for compounding PRSA interest until the proceeds are paid, that

  calculation definitively ends “the day” those “proceeds” are “paid.” In short,

  whatever prejudgment interest may apply in litigated cases, the accrual of PRSA

  interest ends once the proceeds are paid.

        Despite this clear statutory direction, the district court awarded 12% PRSA

  interest as a form of prejudgment interest long after the proceeds were paid—indeed,

  all the way up until it issued final judgment—without regard to when Sunoco

  satisfied its obligation to pay proceeds. App.440-41. The court even ordered Sunoco

  to continue paying 12% PRSA interest for all the time Sunoco spent trying to fix the

  court’s own mistake in failing to enter a final, appealable judgment, all of which

  followed the payment of proceeds by years. App.487-89. That was error, and an

  enormously costly one. Even assuming arguendo that there is some actual class

  member who is entitled to 12% interest for every period during which each proceeds

  payment was not timely made, that would total (at most) $48.7 million. App.377-

  78. The court nonetheless ballooned that (already-inflated) figure three times, first

  to $75 million, App.452, then to $81 million, App.453, and then finally to a

  whopping $104 million, App.487.

        The court tried to justify its atextual approach based on a further misreading

  of the statute. According to the court, if the phrase “‘until the day paid’” in

  §570.10(D) really “mean[s] ‘until the day [a defendant] pa[ys] the proceeds,” then


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  defendants would never “owe compound interest.” App.440. That is wrong and

  conflates compounding and accrual. The PRSA specifically provides for compound

  interest, based on a specific statutory formula, on unpaid proceeds that go unpaid for

  significant periods of time. 52 Okla. Stat. §570.10(D)(1). But the PRSA just as

  plainly provides that interest-damages cease accruing (and hence cease

  compounding) the day proceeds are paid. Id.

        That conclusion is not just textually compelled, but reinforced by the PRSA’s

  purpose and structure. “The obvious overriding purpose of the Act is to ensure that

  royalty owners are timely paid their share of the proceeds.” H.B. Krug v. Helmerich

  & Payne, Inc., 362 P.3d 205, 214 (Okla. 2015) (emphasis added). The PRSA

  accordingly compensates owners for delays in receiving the proceeds to which they

  are entitled (12% or 6% depending on the cause for the delay). But the statute does

  not show any specific concern about the timing of interest payments; their role, after

  all, is to incentivize the payment of proceeds. Once those proceeds are paid, there

  is no further role for PRSA interest to play.

        Text, structure, and purpose thus all refute the district court’s approach.

  History does too. In 2005, an amendment was proposed that would have required

  “[i]nterest” to “be paid … at the time the production proceeds are paid” and would

  have allowed interest to continue to accrue “from the date the production payment

  was made until the date the interest is paid.” Okla. H.B. 1759 (2005) sec. 3,


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  §570.4(B),     (D)(5),     sec.     5,    §570.10(D)(1)       (emphasis       added),

  http://tinyurl.com/3ybyamn4. But that amendment failed. It is little wonder, then,

  that the evidence at trial showed that the Oklahoma Commissioners of the Land

  Office—the agency charged with managing royalties on state-owned mineral

  interests—sought PRSA interest only for delays in paying proceeds, not for

  subsequent delays in paying interest. App.380-83. In short, the PRSA is clear that

  PRSA interest stops accruing once proceeds are paid.

        2. While PRSA interest stops with the payment of proceeds, the normal default

  rules providing for prejudgment interest (at a rate well below 12%) would apply

  absent specific legislation to the contrary. But here, there is such legislation: the

  Energy Litigation Reform Act, 52 Okla. Stat. §§901-903.

        Oklahoma enacted the Reform Act in 2012 “in response to an increase in

  lawsuits filed against Oklahoma energy companies and a perceived threat to drilling

  operations and the jobs they offer within the state.” Jonathan D. Baughman, The

  Prudent Operator Standard in the 21st Century, 58 Rocky Mountain Mineral Law

  Inst. 12-1, 12-34 (2012). As relevant here, the Reform Act declares that the PRSA

  “shall provide the exclusive remedy to a person entitled to proceeds from production

  for failure of a holder to pay the proceeds [on] time.” 52 Okla. Stat. §903. That

  explicit language bars the recovery of remedies predicated upon some other

  Oklahoma statute—including prejudgment interest under 23 Okla. Stat. §6. See


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  Krug, 362 P.3d at 214-15 (it is “well settled that … recovery of prejudgment interest

  must be predicated on statute”).

        The Reform Act also “limit[s]” the scope of “‘actual damages’” available in

  PRSA actions “to the proceeds due and the interest as provided [§570.10(D)]” and

  explicitly “deem[s]” that sum (proceeds plus PRSA interest) “to be adequate

  remedies for failure to pay proceeds within the time periods required for payment.”

  52 Okla. Stat. §903. That further confirms that extra-statutory prejudgment interest

  is off the table. Under Oklahoma law, a plaintiff’s “recovery is whole and complete

  with actual damages.” Slocum v. Phillips Petroleum Co., 678 P.2d 716, 719 (Okla.

  1983). And while that often includes prejudgment interest, which serves to provide

  “complete compensation for a loss,” In re Assessments for Tax Year 2012, 481 P.3d

  883, 896 (Okla. 2021), the Reform Act declares the PRSA’s compensation scheme

  to be “adequate,” 52 Okla. Stat. §903. So no interest beyond what the PRSA awards

  as damages—which stops accruing once proceeds are paid—may be awarded. The

  district court thus awarded $55 million more in interest-damages than Oklahoma law

  allows.   But at the very least, the class should not have been awarded 12%

  prejudgment interest, as PRSA interest stops upon the payment of proceeds, and the




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  default standard rate of prejudgment interest is a healthy 6%, see 15 Okla. Stat. §266,

  but still only half the PRSA maximum rate applied by the district court.9

          B.    The Punitive-Damages Award Violates Oklahoma Law Many
                Times Over.

                1.    Under Oklahoma law, punitive damages are not available in
                      actions for late-payment interest under the PRSA.

          At a bare minimum, the $75 million punitive-damages award cannot stand.

  Under Oklahoma law, no punitive damages may be awarded in “an action for the

  breach of an obligation … arising from contract.” 23 Okla. Stat. §9.1(A). 10 The

  Oklahoma Supreme Court has repeatedly held that the obligation to pay interest

  under the PRSA “is based upon a breach of the obligation to pay the royalty arising

  ex contractu.” Purcell, 961 P.2d at 193; see Ex Contractu, Black’s Law Dictionary

  (11th ed. 2019) (“Arising from a contract”). In other words, “a PRSA claim is a

  contractual claim” as a matter of Oklahoma law. Base, 2024 WL 445613, at *15.

          While it might seem counterintuitive to characterize an action grounded in a

  state statute as “a contractual cause of action,” the PRSA “did not create” either the

  “duty on the part of [purchasers] to pay [owners] a royalty upon production” or “the

  duty to pay interest on production payments” in certain circumstances. Purcell, 961


     9
      Of course, that default rate can be altered by contract. Whether any class
  members agreed to a different rate is another individualized issue—and one on
  which Cline may not have been an adequate representative of all members’ interests.
     10
       Although §9.1 by its terms applies to “awards by jury,” it applies equally in
  bench trials too. Sides v. John Cordes, Inc., 981 P.2d 301, 305 n.7 (Okla. 1999).

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  P.2d at 192-93. Long before the PRSA, Oklahoma courts recognized “interest” as a

  form of contract damages for late or “underpayment” of oil-sale proceeds. Id. The

  statute “provides a measure of damages in the form of 12% interest for when the

  contract is breached,” but those interest-damages remain a “contractual liability.”

  Id. at 193. Thus, an action to recover them (like this one) depends upon “the breach

  of an obligation … arising from contract”—making punitive damages categorically

  unavailable as a matter of Oklahoma law. 23 Okla. Stat. §9.1(A).

        The district court rejected this argument in a cursory footnote, casting

  Oklahoma law aside because no opinion says in haec verba that “punitive damages

  are [un]available for the type of claim at issue here.” App.448 n.31. But federal

  courts “are bound by a state’s highest court’s interpretations of state law.” Wagner

  v. Case Corp., 33 F.3d 1253, 1256 (10th Cir. 1994). That means they must apply not

  just those courts’ explicit “holding[s],” but their necessary “logic” as well. Id. The

  Oklahoma Supreme Court not only has explicitly “disagree[d]” with the argument

  that a “contractual cause of action and a statutory liability both arise separately, one

  from the breach of a contract and the other from non-payment in accordance with

  [the PRSA],” but has explicitly held that “12% interest” under the PRSA is “part of

  the contractual claim.” Purcell, 961 P.2d at 193. Indeed, the court reiterated just a

  few weeks ago that its “holding [in Purcell] confirmed that a PRSA claim is a

  contractual claim.” Base, 2024 WL 445613, at *15.


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        Because punitive damages are categorically unavailable in “an action for the

  breach of an obligation … arising from contract,” 23 Okla. Stat. §9.1(A), and any

  action a class member may have here arises from contract as a matter of settled

  Oklahoma law, the $75 million punitive-damages award cannot stand.

              2.     The Reform Act confirms that punitive damages are
                     unavailable.

        The district court seemed to think the Reform Act compels a different

  conclusion. App.448 n.31. In reality, the Reform Act’s text and history reinforce

  that punitive damages are not available here.

        The last time a rogue court tried to award punitive damages in a PRSA case,

  the response was swift and decisive. In 2009, an intermediate appellate court held

  that well operators may sometimes owe a “fiduciary duty” to royalty owners, and

  that, if they do, an action to recover interest under the PRSA sounds in tort, not

  contract. Hebble v. Shell Western E & P, Inc., 238 P.3d 939 (Okla. Civ. App. 2009).

  Hebble was quite the cause célèbre in Oklahoma; based on $750,000 in unpaid

  principal, the court approved a jaw-dropping judgment of more than $13.2 million

  in “actual damages,” plus $53.6 million more in punitive damages. Id. at 942. But

  Hebble was not long for this world. The Oklahoma legislature overruled it via the

  Reform Act, which not only “expressly rejected the decision of the Hebble court”

  and any notion that operators may owe a “fiduciary duty” above and beyond their

  contractual obligations, Baughman, supra, at 12-34; see 52 Okla. Stat. §902(2), but


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  also narrowed the scope of remedies available in PRSA cases, see id. §903. In

  particular, the Reform Act “deem[s]” “the proceeds due and the interest … provided

  in [§570.10(D)] … to be adequate … for failure to pay proceeds” on time and

  declares that “no other penalty or damages shall be recoverable in any litigation

  involving a claim for unpaid or underpaid proceeds,” “including, without limitation,

  punitive or exemplary damages.” Id.

        To be sure, the Reform Act contains an exception for cases in which there is

  “a determination by the finder of fact upon clear and convincing evidence that the

  holder who failed to pay such proceeds did so with the actual, knowing and willful

  intent: (a) to deceive the person to whom the proceeds were due, or (b) to deprive

  proceeds from the person the holder knows, or is aware, is legally entitled thereto.”

  Id. But that narrow exception does not abrogate Purcell or all the other cases holding

  that PRSA claims are contract claims in which punitive damages are unavailable as

  a matter of Oklahoma law. See pp.44-46, supra. It simply recognizes that “litigation

  involving a claim for unpaid or underpaid proceeds from production,” 52 Okla. Stat.

  §903 (emphasis added), may include something other than a PRSA claim, such as a

  claim for fraud, which the Reform Act does not eliminate. See, e.g., McClintock v.

  ExxonMobil Oil Corp., 2018 WL 1547373 (E.D. Okla. Mar. 29, 2018); see also

  Okland Oil Co. v. Conoco, Inc., 144 F.3d 1308, 1314 (10th Cir. 1998) (“[T]he torts

  of fraud and deceit … may support an award of punitive damages under Oklahoma


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  law … [even] where the parties’ relationship basically is contractual.”). In other

  words, the exception ensures that punitive damages will remain available for claims

  on which they were always available (but only upon the “clear and convincing”

  showing that the Reform Act newly requires), even if those claims are brought in

  “litigation involving a [PRSA] claim.” 52 Okla. Stat. §903. It does not create a

  punitive-damages remedy for PRSA claims that was never before available. Any

  other reading would make nonsense of a statute that was patently designed to limit

  the remedies in this context, not expand them.

        In all events, even if the Reform Act somehow allowed for punitive damages

  on PRSA claims, they still would not be available for these claims. Punitive damages

  are available under the Reform Act only if the defendant “failed to pay … proceeds”

  on time with the requisite intent. Id. (emphasis added). The claim here, however, is

  that Sunoco failed to pay interest on proceeds, not that Sunoco deceptively or

  knowingly withheld proceeds. The district court brushed that critical distinction

  aside, observing that “it is the failure to timely pay ‘proceeds’ that leads to the

  recovery of ‘interest.’” App.447. That is undoubtedly true; no one denies that there

  is a relationship between proceeds and interest. But that hardly makes those related

  terms mean the same thing. There is a critical difference between proceeds and

  interest, and the legislature consciously chose to confine punitive damages to

  instances in which “proceeds” were deceptively or knowingly withheld from their


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  rightful owner. That cannot be chalked up to an accident; the PRSA repeatedly

  distinguishes “proceeds” from “interest,”11 and so does the Reform Act, see 52 Okla.

  Stat. §903. Cf. Cowart v. Piper Aircraft Corp., 665 P.2d 315, 317 (Okla. 1983)

  (statutes “should be construed together with other statutes on the same subject”).

          In short, Oklahoma “wrote the statute it wrote—meaning, a statute going so

  far and no further.” Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 794 (2014).

  And that statute does not allow for the punitive damages sought here.12

                3.    The punitive-damages award fails on its own terms.
          Even putting the state-law bar on punitive damages aside, the grossly

  excessive $75 million punitive-damages award was factually unfounded, an abuse

  of discretion, see Green v. Johnson, 977 F.2d 1383, 1389 (10th Cir. 1992), and a

  violation of due process, see BMW of N.A., Inc. v. Gore, 517 U.S. 559, 568 (1996).




     11
        See, e.g., 52 Okla. Stat. §570.10(D)(1) (“proceeds … shall earn interest”); id.
  §570.10(D)(2) (same); id. §570.10(D)(2)(b) (“interplead the proceeds and all
  accrued interest” to relieve liability for “payment of such proceeds and interest
  thereon”); id. §570.10(E)(1) (“fail[ure] to remit proceeds” makes one “liable to such
  owners for interest”); id. §570.10(E)(2)(a), (b), (c) (if “causes such proceeds to be
  received” then “not liable for interest on such proceeds”); id. §570.10(F) (“proceeds
  to be paid … shall not commence to earn interest”).
     12
       While the text speaks for itself, to the extent the Court has any doubt about the
  correct interpretation of the PRSA or the Reform Act, it can and should certify those
  questions to the Oklahoma Supreme Court. See 10th Cir. R. 27.4; 20 Okla. Stat.
  §1602.

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        Punitive damages are available under the Reform Act only if a plaintiff shows

  by “clear and convincing evidence” that the defendant “failed to pay … proceeds”

  on time “with the actual, knowing and willful intent … to deprive proceeds from the

  person the holder knows, or is aware, is legally entitled thereto.” 52 Okla. Stat. §903.

  Setting aside the district court’s proceeds/interest conflation, the court did not even

  purport to explain how Cline could have made that mens rea showing for every class

  member. Nor could he have, as it is literally impossible for Sunoco to have willfully

  withheld payments from “the person” it knew was “legally entitled” to them when

  no one has determined who that “person” is for a vast portion of the class. Even for

  class members whose identities are known, moreover, that is an inherently

  individualized issue that the court never purported to resolve.

        Instead, the court deemed it sufficient that “Sunoco knew it owed interest

  payments and intentionally withheld that interest until—and unless—the owner

  finally asked for the interest.” App.447. But the Reform Act does not permit

  punitive damages simply because a first purchaser knowingly and intentionally

  withholds payments owed to someone. Nor could it, as the PRSA “recognizes the

  operator’s right to withhold proceeds in the absence of marketable title.” Tulsa

  Energy, 111 F.3d at 90. Yet by the district court’s logic, every first purchaser who

  did so would subject itself not only to interest-damages, but to punitive damages.

  That is plainly not what the Reform Act meant by demanding “clear and convincing”


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  evidence of failure to timely pay proceeds “with the actual, knowing and willful

  intent … to deprive proceeds from the person the holder knows, or is aware, is

  legally entitled thereto.” 52 Okla. Stat. §903 (emphasis added).

        On top of that, the court awarded what it believed to be the maximum punitive

  damages allowed by state law:         $75 million, roughly equal to its original

  compensatory-damages award. See 23 Okla. Stat. §9.1(B). That means the court

  effectively balanced all the state-law statutory factors 100% against Sunoco. See id.

  §9.1(A). But the evidence came nowhere near justifying such a radically one-sided

  judgment. See Slocum, 678 P.2d at 719 (“Exemplary damages are highly penal and

  punishment thereof should not be lightly imposed.”).

        The award violates due process for similar reasons. The test set forth in State

  Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S. 408 (2003), looks to:

  “(1) the degree of reprehensibility of the defendant’s misconduct; (2) the disparity

  between the actual or potential harm suffered by the plaintiff and the punitive

  damages award; and (3) the difference between the punitive damages awarded by

  the jury and the civil penalties authorized or imposed in comparable cases.” Id. at

  418. All three factors point in the same direction here. First, purely “economic”

  injuries are low on the reprehensibility totem pole, and there is no evidence that

  Sunoco’s adherence to an industry-wide practice was “intentional malice, trickery,

  or deceit.” Id. at 419. Indeed, even the district court rejected Cline’s fraud claim.


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  App.441-42. Second, although the court nominally adhered to a 1:1 ratio of punitive

  to compensatory damages, the “actual damages” figure turned on an elevated

  statutory interest rate that far exceeded actual economic harm. See App.331. Third,

  no comparable civil penalties exist for a PRSA action—which makes sense since it

  is a remedy for breach of contract. See Purcell, 961 P.2d at 193. Thus, while there

  should not have been any punitive-damages award at all, the $75 million award is

  grossly and unconstitutionally excessive.13

                                     CONCLUSION
          For the reasons above, this Court should vacate and remand with instructions

  to decertify the class. If any portion of the class-certification ruling survives, at the

  very least the Court should vacate the judgment as to class members who were never

  identified, and as to post-payment interest and punitive damages.

              STATEMENT OF COUNSEL AS TO ORAL ARGUMENT

          Counsel believes that oral argument may be helpful to the Court in light of the

  importance and complexity of the issues this class-action case presents.




     13
       If this Court does not vacate the punitive-damages award in total, but does
  vacate some part of the compensatory-damages award, it should reduce the punitive-
  damages award commensurately or remand with instructions to do so.

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                                             Respectfully submitted,

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  exempted by Fed. R. App. P. 32(f) and 10th Cir. R. 32(B).

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        I hereby certify that on March 14, 2024, I electronically filed the foregoing

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                                                     s/Paul D. Clement
                                                     Paul D. Clement
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                                  ADDENDUM
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF OKLAHOMA

 PERRY CLINE, on behalf of himself
 and all others similarly situated,
                         Plaintiff,

 V.                                                   Civil Action No. 6: 17-cv-313-JAG

 SUNOCO, INC. (R&M), and,
 SUNOCO PARTNERS MARKETING
 & TERMINALS, L.P.,
                   Defendants.

                                              OPINION

        Perry Cline owns a royalty interest in one or more oil wells in Oklahoma. Sunoco, Inc.

 (R&M), and Sunoco Partners Marketing & Terminals, L.P. ("Sunoco"), purchase and resell oil

 from Cline's wells. Oklahoma law requires Sunoco to pay proceeds from the oil to Cline. If

 Sunoco pays the proceeds late, it must pay Cline interest on the payment at a rate set forth in

 Oklahoma's Production Revenue Standards Act ("PRSA"). See Okla. Stat. tit. 52, § 570, et seq.

        Cline has sued Sunoco for paying his production proceeds late without paying the

 required interest.   Cline seeks to maintain a class action on behalf of other owners 1 whom

 Sunoco paid late and did not pay interest.

        Because Cline meets the requirements for class certification under Federal Rule of Civil

 Procedure 23, the Court will grant the motion and certify the class.




 1
  The PRSA defines an "owner" as a "person or governmental entity with a legal interest in the
 mineral acreage under a well which entitles that person or entity to oil or gas production or the
 proceeds or revenues" from that production. Okla. Stat. tit. 52, § 570.2. Sunoco's argument
 distinguishes between owners who have a "royalty interest" in a well, which means an interest in
 a percentage of the production or the proceeds from the production, and those who have a
 "working interest," which "entitle[s] the owner ... to drill for and produce oil and gas." Id.



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                                       I. BACKGROUND

        The PRSA governs the payment of proceeds for oil and gas production from Oklahoma

 wells. See Okla. Stat. tit. 52, § 570, et seq. The PRSA requires the first person who buys oil or

 gas from an interest owner ("first purchaser") or the person holding the proceeds from the sale of

 the oil and gas ("holder of proceeds") to pay the wells' interest owners their proceeds within

 specific times. The first purchaser or holder of proceeds must keep the funds "separate and

 distinct from all other funds." Id. § 570.1 0(A). With some exceptions, the first purchaser or

 holder of proceeds must pay statutory interest if it does not pay the proceeds on time. The payor

 must pay 6 percent or 12 percent interest, depending on the cause of the delay in payment.

        Sunoco buys crude oil from oil and gas producers, collects and transports the oil, and

 resells the oil. It contracts with thousands of oil and gas producers in Oklahoma to purchase

 their oil. Sunoco has paid over 100,000 well owners royalty proceeds for oil and gas production

 from over 20,000 properties since 2006.      It maintains a division order2 for each property.

 Sunoco sends division orders to owners and suspends payment until the owner returns a signed

 and completed division order. If an owner does not want to sign a division order, Sunoco says

 that it will remove the account from suspension and pay the owner, but that the owner must first

 tell Sunoco that he or she refuses to sign the division order. When Sunoco pays proceeds late, it

 often waits until an owner makes a request for interest before investigating the request and

 paying any necessary interest.

         Cline contends that Sunoco has engaged in an ongoing scheme to avoid making the

 required interest payments.



 2
  A "division order" documents the division of each owner's interest in the well and the owner's
 name, address, and tax identification number. Okla. Stat. tit. 52, § 570.11. The division order
 helps the first purchaser or holder of proceeds pay the proceeds directly to the owner. Id.
                                                 2

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         The proposed class comprises owners of wells in Oklahoma who allege that Sunoco paid

 them oil proceeds late and without the statutory interest. 3 Specifically, Cline seeks to represent

 the following class4 :

         All non-excluded persons or entities who: (1) received Untimely Payments from
         Defendants (or Defendants' designees) for oil proceeds from Oklahoma wells and
         (2) who have not already been paid statutory interest on the Untimely Payments.
         An "Untimely Payment" for purposes of this class definition means payment of
         proceeds from the sale of oil production from an oil and gas well after the
         statutory periods identified in O[kla]. S[tat]. tit 52, §570.1 0(B)(l) (i.e.,
         commencing not later than six (6) months after the date of first sale, and thereafter
         not later than the last day of the second succeeding month after the end of the
         month within which such production is sold). Untimely Payments do not include:
         (a) payments of proceeds to an owner under O[kla]. S[tat]. tit 52, §570.10(B)(3)
         (minimum pay); (b) prior period adjustments; or (c) pass-through payments.

         The persons or entities excluded from the Class are: ( 1) agencies, departments, or
         instrumentalities of the United States of America or the State of Oklahoma; (2)
         publicly traded oil and gas companies and their affiliates; (3) persons or entities
         that Plaintiffs counsel may be prohibited from representing under Rule 1. 7 of the
         Oklahoma Rules of Professional Conduct; and (4) officers of the court.

 (Dk. No. 91, at 30; Dk. No. 114, at 13.)




 3 Cline relies on the expert reports of Barbara Ley, a certified public accountant, to establish that

 Cline can identify the putative class members and calculate damages class-wide with common
 proof. For the reasons stated in a separate opinion, the Court will deny Sunoco's motion to
 exclude Ley' s expert report and testimony (Dk. No. 107) and has considered her conclusions to
 decide the instant motion.
 4 This includes the revised definition proposed in Cline's reply. The revisions provide a more

 narrow and manageable definition, and the Court analyzes whether Cline satisfies the Rule 23
 requirements accordingly. The Court will, however, grant Sunoco's motion for leave to file a
 sur-reply (Dk. No. 119), and it will direct the Clerk to docket the sur-reply.
                                                  3

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                                        II. DISCUSSION5

        Federal Rule of Civil Procedure 23 governs class actions, including class certification.

 The party seeking certification must first satisfy the requirements of Rule 23(a): (1) numerosity,

 (2) commonality, (3) typicality, and (4) adequacy. Fed. R. Civ. P. 23(a). In addition to the

 requirements of Rule 23(a), the proposed class must fall within at least one of the three types of

 class actions listed in Rule 23(b). Rule 23(b)(3), the relevant type of class action in this case,

 requires (5) predominance and (6) superiority. Fed. R. Civ. P. 23(b)(3). Although the Tenth

 Circuit does not require a separate ascertainability analysis, the Court will consider (7)

 ascertainability as a separate factor. The Court addresses each requirement in turn.

                                          A. Numerosity

        The proposed class representative must demonstrate that "the class is so numerous that

 joinder of all members is impracticable." Fed. R. Civ. P. 23(a)(l). The plaintiff must present

 "some evidence of established, ascertainable numbers constituting the class in order to satisfy

 even the most liberal interpretation of the numerosity requirements. There is, however, no set



 5 The party seeking class certification bears the burden of proof.      See Wal-Mart Stores, Inc. v.
 Dukes, 564 U.S. 338 (2011); Soseeah v. Sentry Ins., 808 F.3d 800, 808 (10th Cir. 2015). "[A]t
 the class certification stage a district court must generally accept the substantive, non-conclusory
 allegations of the complaint as true." Vallario v. Vandehey, 554 F.3d 1259, 1265 (10th Cir.
 2009). Additionally, "'the trial court [must be] satisfied, after a rigorous analysis, that the
 prerequisites of Rule 23(a) have been satisfied.' Frequently, that 'rigorous analysis' will entail
 some overlap with the merits of the plaintiffs underlying claim." Wal-Mart, 564 U.S. at 350-51
 (internal citations omitted) (quoting Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 161
 (1982)). "[A] district court 'may not evaluate the strength of a cause of action at the class
 certification stage,' but it must determine, 'without passing judgment on whether plaintiffs will
 prevail on the merits,' whether a plaintiff has satisfied the provisions of Rule 23." Vallario v.
 Vandehey, 554 F.3d 1259, 1267 (10th Cir. 2009) (quoting Shook, et al. v. Bd. ofCty. Comm 'rs, et
 al., 543 F.3d 597, 612 (10th Cir. 2008)); see also Amgen Inc., et al. v. Conn. Ret. Plans & Tr.
 Funds, 568 U.S. 455, 466 (2013) ("Rule 23 grants courts no license to engage in free-ranging
 merits inquires at the certification stage. Merits questions may be considered to the extent-but
 only to the extent-that they are relevant to determining whether the Rule 23 prerequisites for
 class certification are satisfied.").
                                                  4

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 formula to determine if the class is so numerous that it should be so certified." Rex v. Owens ex

 rel. State of Okla., 585 F.2d 432, 436 (10th Cir. 1978). The Court must consider "the particular

 circumstances of the case." Id.; see also Gen. Tel. Co. of the Nw. v. EEOC, 446 U.S. 318, 330

 ( 1980) ("The numerosity requirement requires examination of the specific facts of each case and

 imposes no absolute limitations.").

        Here, the proposed class encompasses thousands of interest owners, which easily satisfies

 the numerosity requirement under Rule 23(a)(l). See Rex, 585 F.2d at 436 (citing certified

 classes comprising 17 to 358 members).

                                          B. Commonality

        The proposed class meets the commonality requirement because it presents "questions of

 law or fact common to the class." Fed. R. Civ. P. 23(a)(2). "Even a single [common] question"

 satisfies this requirement. Wal-Mart, 564 U.S. at 359. Cline must show that "the class members

 have suffered the same injury," and that the "common contention ... is capable of classwide

 resolution ... [and] will resolve an issue that is central to the validity of each ... claim[] in one

 stroke." Id. at 350; see also Wallace B. Roderick Revocable Living Tr. v. XTO Energy, Inc., 725

 F.3d 1213, 1218 (10th Cir. 2013). Furthermore, "every member of the class need not be in a

 situation identical to that of the named plaintiff," and "[t]actual differences in the claims of the

 class members should not result in a denial of class certification where common questions of law

 exist." Milonas v. Williams, 691 F.2d 931,938 (10th Cir. 1982). A common question of law

 requires the putative class to "share a discrete legal question of some kind." J.B. ex rel. Hart v.

 Valdez, 186 F.3d 1280, 1289 (10th Cir. 1999)

        Cline sets forth four questions of law and fact that he argues satisfy the commonality

 requirement:



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        (1) whether, under Oklahoma law, Sunoco owed interest to Plaintiff and the Class
        on any and all Untimely Payments;
        (2) whether owners must make a demand prior to being entitled to receive
        statutory interest;
        (3) whether Sunoco's failure to pay interest to Plaintiff and the putative class on
        any Untimely Payments constitutes a violation of the PRSA; and
        (4) whether Sunoco defrauded Plaintiff and the putative class by knowingly
        withholding statutory interest [as applied to Count II (fraud) of the original
        petition].

 (Dk. No. 91, at 22-23.) Cline argues that Sunoco's business records and employee testimony

 will confirm its "uniform policy of not paying statutory interest unless requested by an owner."

 (Id. at 23.) Cline says that the proposed class will use common evidence of Sunoco's unlawful

 actions, and that if the Court finds Sunoco had a duty to pay that interest without a request and

 Sunoco breached that duty, every class member will prevail.

        The case presents common questions of law and fact "capable of classwide resolution."

 Wal-Mart, 564 U.S. at 350. Sunoco relies on "myriad individualized factors" to argue that the

 '"common' questions at the center of this case ... cannot be resolved on a class-wide basis

 through common proof."      (Dk. No. 105, at 31, 41.)      Sunoco's challenge to commonality,

 however, reads more like a challenge to predominance. While factual differences may exist

 between the individual class members, these differences do not defeat the commonality prong

 under Rule 23(a)(2).     Rather than "broadly conflat[ing] a variety of claims to establish

 commonality via an allegation of 'systematic failures,'" Cline alleges that Sunoco did not pay

 statutory interest on late payments to the proposed class members based on Sunoco' s single,

 uniform practice. J.B., 186 F.3d at 1289. Essentially, Cline presents discrete legal questions

 both about whether Sunoco violated the PRSA pursuant to its policy and about the injuries the

 proposed class members suffered as a result. Id. If the Court holds Sunoco liable, all the class

 members prevail. Cline has satisfied the Rule 23(a)(2) commonality requirement.


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                                            C. Typicality

        In this case, "the claims or defenses of [Cline] are typical of the claims or defenses of the

 class." Fed. R. Civ. P. 23(a)(3). This requirement "limit[s] the class claims to those fairly

 encompassed by the named plaintiffs claims." Gen. Tel. Co. of the Nw., 446 U.S. at 330.

 "[D]iffering fact situations of class members do not defeat typicality under Rule 23(a)(3) so long

 as the claims of the class representative and class members are based on the same legal or

 remedial theory." Adamson v. Bowen, 855 F.2d 668, 676 (I 0th Cir. 1988); see also DG ex rel.

 Stricklin, et al. v. Devaughn, et al., 594 F.3d 1188, 1198-99 (10th Cir. 2010).

        To succeed on his PRSA claims, Cline must show that Sunoco (I) owed Cline payments;

 (2) made the payments to Cline late; and (3) did not pay the interest on the late payments. See

 Chieftain Royalty Co. v. Marathon Oil Co., No. Civ-17-334-SPS, 2018 WL 2745906, at *2 (E.D.

 Okla. June 7, 2018). To succeed on his fraud claim, Cline must show that Sunoco made "l) a

 material misrepresentation, 2) knowingly or recklessly ... , 3) with intent that it be relied upon,

 and 4) the party relying on the false statement suffer[ed] damages." Silver v. Slusher, 770 P.2d

 878, 881 n.8 (Okla. 1988).6

        Cline plans to rely on facts related to Sunoco's process for paying statutory interest to

 prove his PRSA claim. Cline also plans to rely on facts related to Sunoco's check stubs to show

 that Sunoco concealed the interest it owed to him. Those same facts would also prove-or

 disprove-the PRSA and fraud claims of the absent class members. Sunoco admits to using the

 same process for remitting most payments during the class period, and Sunoco used the same

 check stub format across the class.



 6
  The accounting, disgorgement, and injunctive relief claims "necessarily flow out of the base
 claims." Chieftain Royalty Co., 2018 WL 2745906, at *4; see also Hitch Enters., Inc. v. Cimarex
 Energy Co., 859 F. Supp. 2d 1249, 1258 (W.D. Okla. 2012).
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         Sunoco tries to defeat the typicality prong by arguing that Cline ( 1) does not have

 standing to bring claims on behalf of either himself or the class, and (2) has interests adverse to

 the other putative class members. Sunoco fails on both arguments.

                                              i. Standing

        In the midst of briefing this motion, Sunoco filed a motion to dismiss for lack of subject

 matter jurisdiction, alleging that it paid Cline the amount he seeks in interest. Sunoco thus

 challenges Cline's standing to bring this action individually or on behalf of the class. The Court

 will issue a separate opinion and order denying the motion to dismiss and explaining its

 reasoning. That ruling renders Sunoco's standing argument moot.

                                             ii. Adversity

         Sunoco argues that "deep and significant adversity" exists between Cline, a royalty

 owner, and the working interest owners also included in the class because the class claims "could

 trigger an obligation on behalf of many of those same working interest owners to indemnify

 Sunoco." (Dk. No. 105, at 42.) Cline responds that the PRSA only contemplates claims against

 the entities who paid the proceeds late, not third parties.

         To support its argument on adversity, Sunoco relies on Cherokee Nation of Oklahoma v.

 United States, 199 F.R.D. 357 (E.D. Okla. 2001). Cherokee, however, differs in important ways

 from this case. In Cherokee, the plaintiffs, "two Indian tribes that operate various Indian Health

 Services programs pursuant to contracts entered into under the Indian Self-Determination Act,"

 received project support costs from the federal government. Id. at 359. They performed their

 contracts separately, and the contracts did not have standard language or specify a particular "full

 funding" amount. Every year, the Indian Health Services calculated the full contract amount for

 each contract according to various government circulars. The plaintiffs sued because they had



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 not received full payment and sought class certification for 329 tribes in 35 states, of which 296

 had experienced contract payment shortfalls.

        The court declined to certify the class partly because the named plaintiffs were not

 "typical" of the class. Id at 364. It concluded that each tribe's contract "is individual and

 specific to it, ... [and] negotiated separately from the other tribes," resulting in different

 definitions of "full funding." Id Additionally, the court held that "the plaintiffs' interests are

 antagonistic to those of the members of the proposed class" because the Indian Health Services

 had a finite budget. Id at 364-65. The damage payments would come from the Indian Health

 Services' budget, meaning one plaintiffs claim would decrease the funds available to pay the

 remaining plaintiffs.

        In Cherokee, the central, substantive issue related to separately-negotiated contract rights

 that pulled from a common, finite budget. In contrast, this Court need only decide whether

 Sunoco violated its statutory obligations under the PRSA. 7 The PRSA clearly states that "a first

 purchaser or holder of proceeds who fails to remit proceeds from the sale of oil or gas

 production to owners legally entitled thereto within the time limitations . . . of this section shall

 be liable to such owners for interest ... on that portion of the proceeds not timely paid." Okla.

 Stat. tit. 52, § 570.1 0(E)(l) (emphasis added).

        Sunoco has not demonstrated that the putative class members do not have the same

 statutory rights as Cline, or that the putative class does not have sufficiently similar financial

 interests in pursuing these claims against Sunoco. The contracts between Sunoco and working

 interest owners, or between Cline and his lessees, do not affect Sunoco' s obligations under the



 7
   Sunoco says that working interest owners receive 90 percent of all money paid but has not
 addressed Ley' s observation that Sunoco owes the majority of damages in this action to royalty
 owners.
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 PRSA. (Dk. No. 105, at 42); see 7A Charles Alan Wright & Arthur R. Miller, Federal Practice

 and Procedure § 1768 (3d ed. 2019) ("[O]nly a conflict that goes to the very subject matter of

 the litigation will defeat a party's claim of representative status."). 8 Further, the class members

 do not seek to tap a designated and limited fund, but rather simply seek damages (and equitable

 relief) against Sunoco.

        Simply put, this is not a case in which "[t]he court cannot be assured that the plaintiff[],

 as [the] representative class member[], will aggressively pursue the claims of all proposed class

 members because of [his] own possible financial interest." Cherokee, 199 F.R.D. at 365.

        Accordingly, Cline's claims satisfy the typicality requirement under Rule 23(a)(3). Fed.

 R. Civ. P. 23(a)(3).

                                            D. Adequacy

        Turning to adequacy, Cline must prove that both the representative parties and class

 counsel will fairly and adequately protect the interests of the class. Fed. R. Civ. P. 23(a)(4),

 (g)(4). "It is axiomatic that a plaintiff cannot maintain a class action when his interests are

 antagonistic to, or in conflict with, the interests of the persons he would seek to represent."

 Albertson's, Inc. v. Amalgamated Sugar Co., 503 F.2d 459, 463 (10th Cir. 1974). The Court

 must "stringently appl[y ]" this requirement. Id.

         Sunoco repeats its argument regarding Cline's intra-class conflict in an effort to defeat

 the adequacy prong. As already explained, Cline has suffered the same injuries and has the same

 interests and incentives as the putative class to "fairly and adequately" protect the class'



 8
   Cf Pueblo of Zuni v. United States, 243 F.R.D. 436, 449 (D.N.M. 2007) ("Plaintiff challenges
 th[e] conclusion [that the plaintiffs' interest are antagonistic for the reasons in Cherokee Nation]
 by noting that IHS has never reimbursed the Judgment Fund. Whether or not the IHS has ever
 actually reimbursed the Fund ... does not vitiate the mandate that reimbursement is required [by
 statute].")


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 interests. Fed. R. Civ. P. 23(a)(4); cf Rhea v. Apache Corp., No. CIV-14-0433-JH, 2019 WL

 1548909, at *6 (E.D. Okla. Feb. 15, 2019) ("Given the nature of plaintiffs claim, coupled with

 the evidence of the uniform process being employed by defendant in how it paid royalties, the

 court concludes the theoretical potential for conflict, without more, is insufficient to disqualify

 plaintiff as an adequate class representative."). The Court also finds that class counsel qualifies

 as experienced in class actions and other complex civil litigation, and Sunoco does not argue

 otherwise. Thus, Cline and class counsel meets Rule 23 's adequacy requirement.

                                             E. Predominance

        Next, Sunoco's challenge to the predominance requirement fails because "the questions

 of law or fact common to class members predominate over any questions affecting only

 individual members." Fed. R. Civ. P. 23(b)(3). While similar to the commonality inquiry, "the

 predominance criterion is far more demanding." Amchen Prods., Inc. v. Windsor, 521 U.S. 591,

 624 (1997). It "tests whether proposed classes are sufficiently cohesive to warrant adjudication

 by representation." Id at 623. "It is not necessary that all of the elements of the claim entail

 questions of fact and law that are common to the class, nor that the answers to those common

 questions be dispositive." CGC Holding Co., et al. v. Broad & Cassell, et al., 773 F.3d 1076,

 1087 (10th Cir. 2014). Instead, a court must first "characterize the issues in the case as common

 or not, and then weigh which issues predominate." Naylor Farms, Inc., et al. v. Chaparral

 Energy, LLC, 923 F.3d 779, 789 (10th Cir. 2019).

        A court "should consider the extent to which material differences in damages

 determinations will require individualized inquiries."       Roderick, 725 F.3d at 1220.        An

 "individualized monetary claim[]" may not defeat a finding that common questions exist, but

 "predominance may be destroyed if individualized issues will overwhelm those questions



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 commons to the class." Id. Even so, "there are ways to preserve the class action model in the

 face of individualized damages." Id. (citing Comcast Corp. v. Behrend, 569 U.S. 27, 41 n.*

 (2013) (Ginsburg, J., and Breyer, J., dissenting) ("A class may be divided into subclasses for

 adjudication of damages. . . . Or, at the outset, a class may be certified for liability purposes

 only, leaving individual damages calculations to subsequent proceedings.")). As long as "at least

 one common issue predominates, a plaintiff can satisfy Rule 23(b)(3)-even if there remain

 individual issues, such as damages, that must be tried separately." Naylor Farms, 923 F.3d at

 789.

        Common questions of law and fact predominate. The Court must evaluate Sunoco's

 practice for paying interest and determine ( 1) whether Sunoco owed interest to the class for

 making late payments, (2) whether Sunoco could wait for owners to make a demand before

 paying that interest, (3) whether Sunoco's failure to pay the interest or delays in paying interest

 pursuant to its practice violates the PRSA, and (4) whether Sunoco defrauded the class by

 knowingly withholding that interest. The claims will rise or fall on common evidence. See CGC

 Holding, 773 F.3d at 1088 (explaining that the predominance analysis requires a court to

 evaluate the elements of the underlying causes of action). If the Court finds liability, it must

 fashion an appropriate remedy, guided by the objective criteria set forth in the PRSA.

        Sunoco points to a number of individual questions that the Court must consider to decide

 liability and to calculate damages, but the Court does not find them persuasive. For example,

 Sunoco's argument that "myriad individualized factors" predominate falls short because the

 Court adopts Cline's modified class definition and accepts Ley's methodology for identifying the

 class members and calculating damages. Sunoco may vigorously contest Ley's conclusions, but

 Ley's model can determine damages on a class-wide basis sufficient for this stage of the


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 proceedings. 9 The revised definition excludes payments falling into four categories (the six

 month grace period, minimum suspense payments, pass-through payments, and prior period

 adjustments). Ley has said that she can exclude those payments from her model. Ley has also

 explained the method by which she intends to identify marketable title issues using Sunoco's

 codes, even if Sunoco contends its own coding system is unreliable for these purposes.

        Sunoco also challenges Cline's fraud claim as too individualized. Fraud claims do not

 always warrant class treatment, particularly "if there was material variation in the representation

 made or in the kinds or degrees of reliance by the persons to whom they were addressed." Fed.

 R. Civ. P. 23 advisory committee notes to 1966 amendment. Courts will certify fraud claims,

 though, when the law of one state applies to the majority of the claims and the check stubs sent

 to royalty owners "presented . . . a 'standardized, written representation."' Rhea, 2019 WL

 1548909, at *9.     Cline intends to establish fraud through the check stubs Sunoco issued

 uniformly to the putative class members. Cline has adequately refuted Sunoco's challenge to the

 fraud claim and established that the fraud claim "is 'susceptible to general and classwide proof."

 Naylor Farms, Inc., et al. v. Chaparral Energy, LLC, No. Civ-11-0634-HE, 2017 WL 187542, at

 *8 (W.D. Okla. Jan. 17, 2017) (quoting CGC Holding, 773 F.3d at 1089).

        Sunoco points to various other individual questions as well, including questions regarding

 contracts between Sunoco and various well owners, the marketability of title, indemnification

 agreements, waivers, potential third-party litigation, Sunoco's proposed defenses, and equitable

 remedies.   Notwithstanding those individual inquiries, the class is "sufficiently cohesive to



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   The Court can later divide the class into subclasses to determine damages, or amend or alter its
 class certification order, if necessary. See Naylor Farms, 923 F.3d at 798 ("[T]he district court
 correctly noted that if necessary, it can later divide the class into subclasses for purposes of
 determining damages."); Fed. R. Civ. P. 23(c)(l)(C) ("An order that grants or denies class
 certification may be altered or amended before final judgment.").
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 warrant adjudication by representation." Amchen, 521 U.S. at 623. Moreover, many of these

 challenges to class certification are overexaggerated and largely incredible.

           Finally, Sunoco asks the Court to apply the five-year statute of limitations and limit the

 class period to claims arising after July, 2012. 10 See Okla. Stat. tit. 52, § 570.14(D). Cline has

 not adequately rebutted Sunoco's statute of limitations argument.             "Oklahoma follows the

 discovery rule allowing limitations in tort cases to be tolled until the injured party knows or, in

 the exercise of reasonable diligence, should have known of the injury." Resolution Tr. Corp. v.

 Grant, et al., 901 P.2d 807, 813. To toll the statute of limitations, the Court would need to

 perform individual inquiries into the reasonable diligence of each class member that would

 defeat the predominance requirement under Rule 23(b)(3). Because Cline has not adequately

 rebutted that conclusion and has not defined the class period, the Court will limit the class claims

 to those arising on or after July 7, 2012.

           Accordingly, Cline meets the predominance requirement, but the Court limits the class to

 claims arising on or after July 7, 2012.

                                              F. Superiority

           Cline must also show "that a class action is superior to other available methods for fairly

 and efficiently adjudicating the controversy."           Fed. R. Civ. P. 23(b)(3).    To evaluate this

 requirement, a court should consider

           (A) the class members' interests in individually controlling the prosecution or
           defense of separate actions;
           (B) the extent and nature of any litigation concerning the controversy already
           begun by or against class members;
           (C) the desirability or undesirability of concentrating the litigation of the claims in
           the particular forum; and
           (D) the likely difficulties in managing a class action.



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      Notably, Cline's class definition does not specify a time period.
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 Fed. R. Civ. P. 23(b)(3)(A)-(D); see also Amchen, 521 U.S. at 615-16 (describing the factors as

 "nonexhaustive").   "It is enough that class treatment is superior because it will 'achieve

 economies of time, effort, and expense, and promote uniformity of decision as to persons

 similarly situated, without sacrificing procedural fairness or bringing about other undesirable

 results."' CGC Holding, 773 F.3d at 1096 (quotingAmchen, 521 U.S. at 615).

        A class action is superior in this case. This case involves proceeds from Oklahoma wells

 paid pursuant to the requirements of an Oklahoma statute, and it centers on issues that the Court

 can resolve class wide. The parties have engaged in extensive discovery and have been litigating

 the case for over two years. No other litigation is currently pending, and the Court does not

 foresee any difficulty in managing this case as a class action.       Sunoco speculates that the

 attorneys' fee award will be unduly burdensome but presents no evidence to support that claim.

 Sunoco also argues that some interest owners "are capable of representing their own interests and

 resolving any claims they have directly with Sunoco." (Dk. No. 105, at 40.) Sunoco's emphasis

 on the class members' options to recoup money owed ignores the putative class' interest in a

 uniform judgment about whether Sunoco' s business practice violates the PRSA. Litigating the

 claims together serves the interests of economy, efficiency, and uniformity of decisions, so Cline

 meets the superiority requirement.

                                        E. Ascertainability

        Although the Tenth Circuit does not enumerate ascertainability as a separate factor in the

 class certification analysis, class actions must present "some evidence of established,

 ascertainable numbers constituting the class in order to satisfy even the most liberal

 interpretation of the numerosity requirement." Rex, 585 F.2d at 436; Shook, et al. v. El Paso

 County, et al., 386 F.3d 963, 972 (10th Cir. 2004) ("[T]he lack of identifiability is a factor that


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 may defeat Rule 23(b)(3) class certification."). The plaintiff does not need to identify every

 potential class member at the outset of the litigation, but "the class description [must be]

 sufficiently definite so that it is administratively feasible for the court to determine whether a

 particular individual is a member." 7A Charles Alan Wright & Arthur R. Miller, Federal

 Practice and Procedure§ 1760 (3d ed. 2019); see also Carrera v. Bayer Corp., 727 F.3d 300,

 306-07 (3d Cir. 2013).

        To determine ascertainability, courts within the Tenth Circuit require "first, that the class

 be defined with reference to objective criteria; and second, a reliable and administratively

 feasible mechanism for determining whether putative class members fall within the class

 definition." Braver v. Northstar Alarm Servs. LLC., et al., 329 F.R.D. 320, 334 (W.D. Okla.

 2018). Cline's class definition aligns with the exceptions outlined in the PRSA, establishing that

 "the class [can] be defined with reference to objective criteria." Id.      Ley's proposed model

 provides a reliable and administratively feasible mechanism for determining class membership.

 Id. The Court can therefore ascertain the proposed class.

        Curiously, Sunoco simultaneously touts the interest owners' sophistication and

 understanding of the PRSA with regard to some factors, and argues that the class members,

 Sunoco, and this Court cannot reasonably determine who fits into exceptions to a class definition

 that tracks the language of the statute. Sunoco cannot have it both ways. Ley's model uses

 Sunoco's business records to specifically identify class members, assuring the Court that, even if

 the sophisticated interest owners cannot figure out whether they fall within the class, Ley's

 model can. Moreover, Sunoco's own conduct belies its argument, since, when required to do so,

 Sunoco itself determines whether putative owners should receive interest, and in what amount.




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        Accordingly, Cline has demonstrated that the proposed class definition w ill not present

 an ascertainabili ty problem.

                                        III. CONCLUSION

         Because Cline meets the requi rements for class certificatio n, the Court will grant the

 motion. The Court declines to hold a hearing because it will not aid in the decisional process.

         Let the C lerk send a copy of this Opinion to all counsel of record.


 Date: 3 October 20 19
 Richmond, VA                                                             Isl
                                                         John A. Gibney, Jr.
                                                         United States Dist ct J   ge




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

 PERRY CLINE, on behalf of himself
 and all others similarly situated,
                         Plaintiff,

 V.                                                   Civil Action No. 6: l 7-cv-313-JAG

 SUNOCO, INC. (R&M), and,
 SUNOCO PARTNERS MARKETING
 & TERMINALS, L.P.,
                   Defendants.

                                             ORDER

        This matter comes before the Court on the plaintifrs motion to certify the class (Dk. No.

 91) and the defendants' motion for leave to file a sur-reply (Dk. No. 119). For the reasons stated

 in the accompanying Opinion, the Court GRANTS the motion to certify and CERTIFIES the

 following class:

        All non-excluded persons or entities who: (1) received Untimely Payments from
        Defendants (or Defendants' designees) for oil proceeds from Oklahoma wells on
        or after July 7, 2012, and (2) who have not already been paid statutory interest on
        the Untimely Payments. An "Untimely Payment" for purposes of this class
        definition means payment of proceeds from the sale of oil production from an oil
        and gas well after the statutory periods identified in OKLA. STAT. tit 52,
        §570.I0(B)(l) (i.e., commencing not later than six (6) months after the date of
        first sale, and thereafter not later than the last day of the second succeeding month
        after the end of the month within which such production is sold). Untimely
        Payments do not include: (a) payments of proceeds to an owner under OKLA.
        STAT. tit 52, §570.10(8)(3) (minimum pay); (b) prior period adjustments; or (c)
        pass-through payments.

        The persons or entities excluded from the Class are: (1) agencies, departments, or
        instrumentalities of the United States of America or the State of Oklahoma; (2)
        publicly traded oil and gas companies and their affiliates; (3) persons or entities
        that Plaintifr s counsel may be prohibited from representing under Rule 1. 7 of the
        Oklahoma Rules of Professional Conduct; and (4) officers of the court.




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        Further, the Court GRANTS the defendants' motion to fi le a sur-reply (Dk. No. 119) and

 DIRECTS the Clerk to docket the sur-rep ly (Dk. No. 119-1 ).

        It is so ORDERED.

        Let the Clerk send a copy of this Order to all counsel of record .



                                                                      Isl
                                                     John A. Gibney, Jr.
 Date: 3 October 201 9                               United States Distric Jud e
 Richmond, VA




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF OKLAHOMA

  PERRY CLINE, on behalf of himself
  and all others similarly situated,
                          Plaintiff,

  V.                                                    Civil Action No. 6:17-cv-313-JAG

  SUNOCO, INC. (R&M), and,
  SUNOCO PARTNERS MARKETING
  & TERMINALS, L.P.,
                   Defendants.

                                     MEMORANDUM ORDER

          This matter comes before the Court on the defendants' motion to "clarify" the class

  definition.' (Dk. No. 172.) The Court held a telephone hearing on the motion on November 25,

  2019.

          Sunoco asks the Court to change the composition of the class to exclude recipients of

  payments made to state unclaimed property funds. 2 Sunoco inaccurately calls these payments

  "escheat payments," implying that the state takes title to the money. Under typical unclaimed

  property laws, however, a state simply holds money for owners who, for various reasons, do not

  themselves take possession of the funds. See, e.g., Okla. Stat. tit. 60, §§ 661, 663-64.

          Sunoco wants to cut those people out of the class. This argument ignores the owners'

  right to the funds in question. This right exists, whether the owners take possession of the funds

  themselves or a state holds the money for them. The Court, therefore, denies the motion to

  "clarify" the class definition.



  ' In this Order, the Court will refer to the defendants, Sunoco, Inc. (R&M), and Sunoco Partners
  Marketing & Terminals, L.P., simply as "Sunoco".
  2
    Specifically, Sunoco seeks to exclude "persons [who] did not receive any payments because the
  proceeds potentially owed to them were instead paid to the 50 states in compliance with various
  unclaimed property (escheat) statutes." (Dk. No. 172, at 7.)



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         In the alternative, Sunoco asks the Court to decertify the class. Sunoco has litigated this

  issue vigorously throughout this litigation. In previous unsuccessful efforts to derail the class

  action after certification, SW1oco has not only asked this Court to stay the case but even has tried

  to get the Tenth Circuit Court of Appeals to intervene. A month before the trial, the Court will

  not change the road map for the case.

         For the reasons stated in this Order, the Court DENIES the motion.

                                          I. BACKGROUND

         This case arises under Oklahoma's Production Revenue Standards Act ("PRSA"). Okla.

  Stat. tit. 52, § 570, et seq. The PRSA requires entities that take oil and gas to pay the owners in a

  timely fashion. If the purchaser pays late, interest accrues for the owner.

         According to the plaintiffs, Sunoco frequently makes late payments, but does not pay

  interest until the owner requests it. The plaintiffs say Sunoco does not do this by accident, but

  rather pursuant to a business practice. The plaintiffs' expert says Sunoco has withheld over $70

  million in interest owed to others.

         Sometimes SW1oco cannot find the owner of the oil and gas. In these cases, it makes

  payment for the oil or gas to the unclaimed property agency of the state of the owner's last

  known residence.3 SW1oco does not pay interest on the unclaimed funds when it sends those

  funds to the states. Well over half of SW1oco's late payments go to W1claimed property funds.

  According to the plaintiffs, the interest on these payments would amoW1t to over $40 million-

  more than half the amount claimed by the plaintiffs in this case.



  3 Sunoco identifies unclaimed funds by various methods, "such as checks and other
  correspondence being returned as undeliverable or being in certain specific categories of
  suspense for various reasons for several years without anyone claiming the funds or making an
  inquiry." (Dk. No. 172, at 8.) If Sunoco cannot identify the owner, it pays the funds to Texas,
  Sunoco's home state.
                                                   2

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          On October 3, 2019, the Court certified the following class:

          All non-excluded persons or entities who: ( 1) received Untimely Payments from
          Defendants (or Defendants' designees) for oil proceeds from Oklahoma wells on
          or after July 7, 2012, and (2) who have not already been paid statutory interest on
          the Untimely Payments. An "Untimely Payment" for purposes of this class
          definition means payment of proceeds from the sale of oil production from an oil
          and gas well after the statutory periods identified in OKLA. STAT. tit 52,
          §570.l0(B)(l) (i.e., commencing not later than six (6) months after the date of
          first sale, and thereafter not later than the last day of the second succeeding month
          after the end of the month within which such production is sold). Untimely
          Payments do not include: (a) payments of proceeds to an owner under OKLA.
          STAT. tit 52, §570.IO(B)(3) (minimum pay); (b) prior period adjustments; or (c)
          pass-through payments.

          The persons or entities excluded from the Class are: (1) agencies, departments, or
          instrumentalities of the United States of America or the State of Oklahoma; (2)
          publicly traded oil and gas companies and their affiliates; (3) persons or entities
          that Plaintiff's counsel may be prohibited from representing under Rule 1.7 of the
          Oklahoma Rules of Professional Conduct; and (4) officers of the court.

  (Dk. No. 127, at 1.) Now, less than a month before trial, Sunoco asks the Court to "clarify" the

  class definition. This "clarification" amounts to little more than an attempt to lop over fifty

  percent off Sunoco' s potential liability in this case.4

                                            II. DISCUSSION

          When a court certifies a class action, it "must define the class and the class claims, issues,

  or defenses." Fed. R. Civ. P. 23(c)(l)(B). A court may alter or amend the order granting or

  denying class certification at any time before final judgment. Fed. R. Civ. P. 23(c)(l)(C).

  Courts have broad discretion to modify class definitions, cf Davoll v. Webb, 194 F.3d 1116,

  1146 (10th Cir. 1999), and the class definition "is subject to refinement," Vickers v. Gen. Motors




  4
    Sunoco says the plaintiffs have overstated the amount due. Sunoco claims that the plaintiffs
  can recover only $48 million, of which $30 million arises from payments to unclaimed property
  funds. The Court, of course, cannot compute damages at this time. But under either side's view,
  Sunoco's proposed "clarification" would reduce its exposure by well over half.
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  Corp., 204 F.R.D. 476, 478 (D. Kan. 2001); see also Lavigne v. First Cmty. Bancshares, Inc.,

  No. 1:15-cv-00934-WJ/LF, 2018 WL 2694457, at *9 (D.N.M. June 5, 2018).

         Sunoco offers three reasons for the Court to drop from the class the owners who received

  payments though unclaimed property statutes. First, Sunoco says that these owners have not

  "received" payments, and therefore do not fall under the class definition. As Sunoco explained

  in oral argument, it contends that the states alone have received the money and, essentially, own

  it. This argument ignores how unclaimed property statutes work. Whether those laws define the

  state as a trustee or a custodian of the money, the statutes all say that the state has received the

  assets on behalf of the citizen, and that the owner can get the money at any time. See, e.g., Okla.

  Stat. tit. 60, §§ 661 , 663-64, 674-75; Tex. Prop. Code Ann.§§ 74.304, 74.501. Sunoco admitted

  this during oral argument on this motion. Payment to the state differs little from payment to an

  agent of the owner, or to a trustee on behalf of the owner. Sunoco does not-and cannot-claim

  that an owner claiming through a trustee or agent does not have a right to interest on a late

  payment.    Moreover, Sunoco's argument essentially amounts to a contention that it can

  perpetually keep the interest on these payments, regardless how late they are paid.             This

  contradicts the purpose of the PRSA, which Oklahoma adopted to prevent exactly this kind of

  windfall.

         Second, Sunoco argues that calculating the amount due on payments to unclaimed

  property funds is really hard to do. 5 Sunoco says that under state laws, property becomes

  unclaimed at various times, and that it cannot pay money into the unclaimed property funds until

  the statute has lain unclaimed for a period of time. This, Sunoco says, raises an insuperable



  5This position echoes Sunoco' s argument throughout the case-that it is not easy to calculate
  who should receive interest at all, and therefore that it is acceptable not to pay the interest until
  someone has the gumption to request it.
                                                   4

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  calamity: on the one hand, the PRSA says Sunoco must pay for the oil within a few months of

  taking it, but on the other hand the unclaimed property statutes do not allow Sunoco to make the

  payment for years after the payment becomes due. Nevertheless, at some point the payments

  become ]ate. Deciding when this occurs presents a legal issue the Court will resolve at trial. The

  existence of a contested legal issue, however, does not require the Court to reframe the case on

  the eve of trial.

          Finally, Sunoco says that the issues with unclaimed property make this case inappropriate

  for treatment as a class action. Although "every member of the class need not be in a situation

  identical to that of the named plaintiff," Milonas v. Williams, 691 F.2d 931, 938 (10th Cir. 1982),

  Rule 23's requirements do have their limits. See, e.g., Gen. Tel. Co. ofSw. v. Falcon, 457 U.S.

  147 (1982); Cole v. ASARCO, Inc., 256 F.R.D. 690 (N.D. Okla. 2009); Cherokee Nation of Okla.

  v. United States, 199 F.R.D. 357 (E.D. Ok]a. 2001). In this case, common questions of Jaw and

  fact underlie the payments Sunoco has made directly to interest owners, such as Cline, and

  indirectly to owners through unc1aimed fund statutes. The class encompasses all owners Sunoco

  paid late without including the required interest.

          Including these payments will not cause individua] questions to predominate or create

  any superiority or manageability problems. Sunoco admits that a party to whom money is owed

  can c1aim those funds at any time pursuant to the claim procedure of each state. Moreover, the

  party may make that c1aim regardless of how the state's laws define the relationship between the

  state and the interest owner.6 As noted above, at trial the Court will decide when interest begins

  accruing for unclaimed funds. That decision will not require extensive individual inquiries or

  unmanageable analyses of various state laws.


  6 For example, some states may hold the funds in a trust for the benefit of the interest owner,

  while others consider it a custodial relationship.
                                                       5

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             Simply put, the unclaimed prope1ty payments fall into the category of payees that Cline

  represents, and they do not defeat class ce1t ification.        Thus, the Court will include these

  payments in the class definition. Cf Shook v. Bd. of Cty. Comm 'rs of Cly. of El Paso, 543 F Jd

  597, 603 (10th Cir. 2008) (recognizing that class certification decisions may involve questions

  with "no single right answer ... , but a range of possible outcomes sustainable on the law and

  facts").

                                            III. CONCLUSION

             For the foregoing reasons, the Cowt DENIES the motion and clarifies that it considers

  escheat payments, as defined by Sunoco, as part of the class definition.        The Court declines to

  decertify the class.

             It is so ORDERED.

             Let the Clerk send a copy of this Order to all counsel of record.



  Date: 26 November 2019
  Richmond, VA
                                                             John A. Gibney, Jr.
                                                             United States District J dge




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF OKLAHOMA

 PERRY CLINE, on behalf of himself
 and all others similarly situated,
                         Plaintiff,

 V.                                                   Civil Action No. 6: 17-cv-313-JAG

 SUNOCO, INC. (R&M), and,
 SUNOCO PAR1NERS MARKETING
 & TERMINALS, L.P.,
                   Defendants.

                                             OPINION

        Perry Cline represents class members who own interests in oil wells in Oklahoma. The

 defendants, Sunoco, Inc. (R&M), and Sunoco Partners Marketing & Terminals, L.P. ("Sunoco"),

 purchase and sell oil from the wells. Sunoco pays the class members proceeds when it sells the

 oil. Oklahoma's Production Revenue Standards Act ("PRSA") governs when Sunoco must pay

 those proceeds and imposes statutory interest for paying the proceeds late. See Okla. Stat. tit. 52,

 § 570, et seq. Cline has sued Sunoco for failing to pay the statutory interest on late payments it

 made on oil proceeds.

        Cline has moved for partial summary judgment on two issues: (1) whether Sunoco

 violates the PRSA by not paying statutory interest on late royalty payments until an owner

 demands that interest; and (2) whether the PRSA requires Sunoco to pay the statutory interest at

 the same time it makes the late payments. Because the Court concludes that Sunoco must pay

 the statutory interest without a demand and at the same time it makes the late payment, the Court

 will grant Cline's motion for partial summary judgment.




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                                        I. BACKGROUND

         Sunoco buys oil from numerous wells in Oklahoma and distributes proceeds from the oil

 to well owners. The class members own interests in those wells. The PRSA dictates when

 Sunoco must pay the proceeds, and it requires Sunoco to pay statutory interest to interest owners

 when it pays the proceeds late. 1

         Sunoco often waits until an interest owner requests the statutory interest before it pays

 that interest. When it receives a request, Sunoco investigates the payment and pays the interest if

 it determines that it owes interest under the PRSA. Sunoco, however, says that it sometimes

 pays interest owners the required statutory interest without a request.

         In July, 2017, Cline sued Sunoco in Oklahoma state court. Cline alleges that Sunoco's

 practice of paying interest on late proceed payments violates the PRSA, and that Sunoco has

 committed fraud by hiding the fact that Sunoco owes interest to the class members. Sunoco

 removed the action to this Court in August, 2017.

         Cline moved to certify the class and name him as class representative in June, 2019. In

 his motion, Cline explained that this action raises common questions of law and fact, including:

         (1) whether, under Oklahoma law, Sunoco owed interest to Plaintiff and the Class
         on any and all Untimely Payments;
         (2) whether owners must make a demand prior to being entitled to receive
         statutory interest;
         (3) whether Sunoco's failure to pay interest to Plaintiff and the putative class on
         any Untimely Payments constitutes a violation of the PRSA; and
         (4) whether Sunoco defrauded Plaintiff and the putative class by knowingly
         withholding statutory interest.




 1 Sunoco is considered a "first purchaser or holder of proceeds" under the PRSA.   See Okla. Stat.
 tit. 52, § 570.10.
                                                  2

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 (Dk. No. 91, at 22-23.) On October 3, 2019, the Court certified a class of interest owners to

 whom Sunoco paid proceeds late but did not pay the statutory interest. 2 The Court approved the

 manner and form of class notice in November, 2019. The class opt-out period expired on

 December 9, 2019.

           In October, 2019, Cline moved for partial summary judgment on whether Sunoco violates

 the PRSA by waiting to pay statutory interest until an owner requests it, and whether the PRSA

 requires Sunoco to pay the statutory interest with the late payments. Sunoco moved to strike or

 stay briefing on the motion until after the class notice period expired. The Court denied the

 motion to strike or stay and instructed the parties to brief the motion as ordered by the Court. On

 December 6, 2019, the Court held a hearing on the motion for partial summary judgment.

 Because the opt-out period has expired, the Court finds it appropriate to issue a ruling on the

 merits of this action.


 2
     Specifically, the class includes:

           All non-excluded persons or entities who: (1) received Untimely Payments from
           Defendants (or Defendants' designees) for oil proceeds from Oklahoma wells on
           or after July 7, 2012, and (2) who have not already been paid statutory interest on
           the Untimely Payments. An "Untimely Payment" for purposes of this class
           definition means payment of proceeds from the sale of oil production from an oil
           and gas well after the statutory periods identified in OKLA. STAT. tit 52,
           §570.lO(B)(l) (i.e., commencing not later than six (6) months after the date of
           first sale, and thereafter not later than the last day of the second succeeding month
           after the end of the month within which such production is sold). Untimely
           Payments do not include: (a) payments of proceeds to an owner under OKLA.
           STAT. tit 52, §570.10(8)(3) (minimum pay); (b) prior period adjustments; or
           (c) pass-through payments.

           The persons or entities excluded from the Class are: (1) agencies, departments, or
           instrumentalities of the United States of America or the State of Oklahoma;
           (2) publicly traded oil and gas companies and their affiliates; (3) persons or
           entities that Plaintiffs counsel may be prohibited from representing under Rule
           1.7 of the Oklahoma Rules of Professional Conduct; and (4) officers of the court.

 (Dk. No. 127, at 1.)
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                                          II. DISCUSSION3

                                         A. Disputes of Facts

        To succeed on the motion for partial summary judgment, Cline must first establish that

 Sunoco omits interest on late payments and waits for a demand from an owner before paying that

 interest. The parties disagree about whether Sunoco's actions constitute a uniform "policy" or a

 frequent "practice," and Sunoco insists that it sometimes pays interest with the late payment and

 without the request of the interest owner. Those arguments miss the point. Sunoco cannot

 seriously dispute that it waits to pay statutory interest until it receives a request from the interest

 owner; indeed, it has admitted that it does. (See, e.g., Dk. No. 103-2; Dk. No. 105, at 17-18.)

 The record establishes that Sunoco engages in this conduct. (See Dk. No. 142-1, 7:13-8:19; Dk.

 No. 142-2, 6:6-8:10; Dk. No. 142-3, 7:2-9:10; Dk. No. 142-5, 7:8-15; Dk. No. 160-1, 6:12-7:19.)

 Thus, no genuine dispute of material fact exists about Sunoco's actions with regard to the interest

 payments.

                                         B. Questions of Law

        Cline asks the Court to decide two legal questions that lie at the center of this litigation.4

 First, he asks for a ruling that Sunoco's "uniform policy of not paying statutory interest until an



 3 Rule 56 of the Federal Rules of Civil Procedure directs courts to grant summary judgment "if

 the movant shows that there is no genuine dispute as to any material fact and the movant is
 entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). In deciding a summary judgment
 motion, the court must draw all reasonable inferences in favor of the non-moving party.
 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Nevertheless, if the non-moving
 party fails to sufficiently establish the existence of an essential element to its claim on which it
 bears the ultimate burden of proof, the court should enter summary judgment against that party.
 Celotex Corp. v. Catrett, 477 U.S. 317,322 (1986).
 4 Sunoco argues that Cline's motion requests an impermissible advisory opinion about a

 nonmaterial issue. Of course, the Court may not render advisory opinions, but it can decide
 "concrete legal issues, presented in actual cases." United Pub. Workers of Am. (C.10) v.
 Mitchell, 330 U.S. 75, 89 (194 7). Moreover, "[i]t is emphatically the province and duty of the
 judicial department to say what the law is. Those who apply the rule to particular cases, must of
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 owner makes a demand" violates the PRSA. (Dk. No. 142, at 9.) Second, he asks the Court to

 decide whether the PRSA "expressly require[ s] payment of interest at the time proceeds are paid

 late." (Dk. No. 142, at 11.) Because any demand requirement depends on when Sunoco must

 pay interest, the Court first considers when the PRSA requires Sunoco to pay interest on late

 payments.

                                   1. Timing ofInterest Payments

        In relevant part, § 570.1 0(D) of the PRSA provides:

        1.... [W]here proceeds from the sale of oil or gas production or some portion of
        such proceeds are not paid prior to the end of the applicable time periods provided
        in this section, that portion not timely paid shall earn interest at the rate of twelve
        percent (12%) per annum to be compounded annually, calculated from the end of
        the month in which such production is sold until the day paid.

        2. a. Where such proceeds are not paid because the title thereto is not marketable,
        such proceeds shall earn interest at the rate of (i) six percent (6%) per annum to be
        compounded annually for time periods prior to November 1, 2018, and (ii) the
        prime interest rate as reported in the Wall Street Journal for time periods on or
        after November 1, 2018, calculated from the end of the month in which such
        production was sold until such time as the title to such interest becomes
        marketable or the holder has received an acceptable affidavit of death and heirship
        in conformity with Section 67 of Title 16 of the Oklahoma Statutes, or as set forth
        in subparagraph b of this paragraph.

 § 570.1 0(D). The PRSA also requires that, with some enumerated exceptions,

        a first purchaser or holder of proceeds who fails to remit proceeds from the sale of
        oil or gas production to owners legally entitled thereto within the time limitations
        set forth in [§ 570.1 0(B)] shall be liable to such owners for interest as provided in
        [§ 570.IO(D)] on that portion of the proceeds not timely paid. When two or more


 necessity expound and interpret that rule." Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177
 (1803). The complaint alleges that Sunoco had to pay statutory interest with the late payments
 and failed to do so, thereby violating the PRSA. (See Compl. ,r,r 6-7, 32-38, 41-50). Thus, the
 Court must decide when Sunoco was required to actually pay that interest to the class members,
 so this ruling does not constitute an advisory opinion. To the extent that Sunoco argues that the
 motion is overbroad, the Court has already limited the class definition to payments that fall
 outside the exclusions listed in § 570.10. The Court's ruling, therefore, only applies to those
 payments that fit within the class definition; it offers no opinion on whether Sunoco has violated
 the PRSA with regard to payments outside the class definition.
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         persons fail to remit within such time limitations, liability for such interest shall
         be shared by those persons holding the proceeds in proportion to the time each
         person held such proceeds.

  § 570.l0(E).

         Cline argues that the PRSA requires Sunoco to pay interest at the time it makes the late

  payment based on the language of the statute, the legislative intent of the interest provision, and a

  relevant Oklahoma state court decision.

         Sunoco contends that it is liable for interest when it makes late payments, but that the

  PRSA does not require it to pay that interest at the same time it makes the late payments.

  Sunoco distinguishes § 570.1 0(D) from PRSA provisions that require individuals to "pay" or

  "remit" proceeds to the person entitled to them. 5 See, e.g., § 570.1 0(B)(l )-(3). Sunoco argues

  that § 570.1 0(D) only requires proceeds to "earn interest" and that Sunoco "shall be liable" for

  the interest unless an exception provides otherwise. Because the PRSA does not expressly set

  forth a payment schedule or require "first purchasers or holders of proceeds" to pay interest

  absent a claim for that interest, Sunoco contends that the Court cannot "rewrite" the PRSA to

  require interest payments automatically with the late payment.

         The Court turns to relevant Oklahoma law and principles of statutory interpretation to

  answer this question.

                                       a. The Pummill Decision

         Courts sitting in diversity jurisdiction "apply state law with the objective of obtaining the

  result that would be reached in state court." Butt v. Bank of Am., NA., 477 F.3d 1171, 1179

  (10th Cir. 2007).    A decision by the highest court of the state binds federal courts when


  5
    Sunoco also points to the actions of non-parties to convince the Court that the statute does not
  require Sunoco to pay interest with the late payment. But Sunoco's actions, not the actions of
  others, are the subject of this litigation, and the Court must consider the conduct and legal
  questions currently before it.
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  interpreting state law. West v. Am. Tel. & Tel. Co., 311 U.S. 223, 236 (1940). Similarly, the

  decisions of lower state courts provide persuasive guidance to federal courts in diversity cases.

  Id. at 237-38.

         One Oklahoma state court case directly addressed when a "first purchaser or holder of

  proceeds" must make interest payments under the PRSA. In Pummill. v. Hancock Exploration

  LLC, an Oklahoma trial court considered whether the defendants' "old" policy of waiting to pay

  statutory interest until an owner demanded it and its "new" policy to include the statutory interest

  on late payments when the defendants were at fault for the late payment violated § 570.1 0(D).

  No. CV-2011-82, 2012 WL 13098574, at *l (Okla. Dist. Ct. Grady Cty. July 16, 2012) (Order

  on Issue IV). On summary judgment, the Court held that both policies violated § 570.1 0(D).

  The court reasoned that "[t]he plain language of this statute imposes an obligation to include

  interest on late payments regardless of whether the royalty owners make demand for such

  interest." Id. at *2. "Compliance with the statute is not optional," and the defendants "ha[d] the

  statutory obligation to pay such interest without prior written or oral demand by royalty owners."

  Id. Thus, the court granted summary judgment on the interest payment issue ("Issue IV") in

  favor of the plaintiffs. The court also granted summary judgment on three other issues ("Issues I

  through III") unrelated to the timing of interest payments.

         The defendants appealed the trial court's orders. See Pummill v. Hancock Exp/. LLC, No.

  111,096 (Okla. Civ. App. June 27, 2014). The Oklahoma Court of Civil Appeals affirmed the

  trial court's decision on all four issues, explaining that "the findings of fact and conclusions of

  law of the trial court adequately explain the decision." Id. at 5.

         The Oklahoma Supreme Court vacated the decision of the Civil Court of Appeals.

  Pummill. v. Hancock Exp/. LLC, 341 P.3d 69 (Okla. 2014). The court noted that the interest



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  payment issue "was not contested." Id. at 69. It also concluded that "facts which could affect

  the resolution of the district court Issues I through III need to be addressed before the fact-

  finder." Id. The court, therefore, affirmed in part and reversed in part the trial court's decision

  and remanded the case to decide the specific fact issues. Id. On remand, the courts did not

  make any further rulings on the interest payment issue. See Order Denying Certiorari, Pummill

  v. Hancock Exp!. LLC, No. 114,703 (Okla. May 21, 2018); Pummill, 419 P.3d 1268; Pummill v.

  Hancock Exp!. LLC, No. CV-2011-82 (Okla. Dist. Ct. Grady Cty. Jan. 15, 2016).

         Cline and Sunoco dispute whether the Oklahoma Supreme Court's 2014 Pummill

  decision binds this Court in light of the procedural history of the case and the fact that the parties

  did not contest the interest payment issue. Cline thinks it does, and Sunoco thinks it does not.

  The Court agrees with Cline. The Oklahoma Supreme Court reversed in part and affirmed in

  part the decision of the Court of Civil Appeals and remanded the case to the trial court. Pummill,

  341 P .3d at 69. The court explained that Issues I through III "need[ed] to be addressed before

  the fact-finder." Id. That only left one issue that it could have affirmed-Issue IV. See also

  Pummill v. Hancock Exp!. LLC, 419 P.3d 1268, 1272 (Okla. Civ. App. 2018) ("[The Oklahoma

  Supreme Court] ... vacated [the Court of Civil Appeals'] opinion, affirmed the trial court's

 judgment as to statutory interest, reversed its judgment as to the three other issues, and

  remanded."). Although Sunoco vigorously argues that the parties did not contest Issue IV and

  the Oklahoma Supreme Court did not rule on the trial court's interest payment decision, it has

  not explained what else the Oklahoma Supreme Court could have "affirmed" in its ruling.

         Even if the Court did not agree that the Oklahoma Supreme Court adopted the trial

  court's ruling on Issue IV, the Pummill decision reflects how an Oklahoma state court would




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  view the issue directly before this Court. Pummill also falls in line with the Court's own

  interpretation of§ 570.1 0(D).

                                     b. Plain Language of the PRSA

          "Legislative intent controls statutory interpretation." Krug v. Helmerich & Payne, Inc.,

  362 P.3d 205, 210 (Okla. 2015). Courts ascertain intent "from the whole act based on its general

  purpose and objective."      Id at 210-11.      Courts must consider relevant portions together

  "whenever possible to give full force and effect to each." Id at 211. Courts will look to the

  language of the statute and "presume that the Legislature intends what it expresses." Id It will

  give terms "their plain and ordinary meaning" unless "a contrary intention plainly appears." Id.

          The plain language of§ 570.10 requires Sunoco to pay interest at the same time it makes

  a late payment. In § 570.10, the Oklahoma Legislature ("the Legislature") set forth a deadline

  for Sunoco to pay proceeds to interest owners. Sunoco argues that the statute does not require

  automatic payment of interest with the late payment because the Legislature did not also specify

  a deadline for paying the interest. Sunoco, therefore, believes it can withhold interest until an

  owner either asks for that interest or sues them for it.

          That interpretation runs counter to the PRSA' s plain language. The omission of the terms

  "remit" or "pay" from § 570.1 0(D) does not preclude a requirement that a "first purchaser or

  holder of proceeds" pay interest with the late payments. Indeed, requiring automatic payment of

  statutory interest gives full force and effect to the remaining provisions of § 570.10, which set

  forth a timeframe to pay proceeds and a consequence for paying the proceeds late. See Krug,

  362 P.3d at 211. Moreover, Sunoco's interpretation would require the Court to read into the

  statute a grace period between when it makes a late payment and when it pays the interest. The

  plain language of§ 570.10 does not support such an interpretation.


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            Sunoco, therefore, must pay interest at the same time it makes the late payment. See

  Pummill, 2012 WL 13098574, at *2 ("The plain language of this statute imposes an obligation to

  include interest on late payments.").

                                  c. History and Purpose of the PRSA

            At most, the omission of the terms "remit" or "pay" from § 570.1 0(D) raises an

  ambiguity appropriate for judicial resolution. To resolve a doubt about the meaning of a statute,

  courts should refer to the statute's history. Lekan v. P&L Fire Prof. Co., 609 P.2d 1289, 1292

  (Okla. 1980). "[W]here a statute is ambiguous or its meaning uncertain it is to be given a

  reasonable construction, one that will avoid absurd consequences if this can be done without

  violating legislative intent." TRW/Reda Pump v. Brewington, 829 P.2d 15, 20 (Okla. 1992).

  Courts will not assume the legislature "to have done a vain and useless act in the promulgation of

  a statute, nor will an inept or incorrect choice of words be applied or construed in a manner to

  defeat the real or obvious purpose of a legislative enactment." Id (citation omitted); see also

  Purcell v. Santa Fe Minerals, Inc., 961 P.2d 188, 193 (Okla. 1998).

            Thus, the Court must consider the purpose of § 570.1 0(D). The Legislature enacted the

  statutory interest provision "to ensure that those entitled to royalty payments would receive

  proceeds in a timely fashion." Hull v. Sun Ref & Mktg. Co., 789 P.2d 1272, 1279 (Okla. 1989).

  Indeed,

            [t]he Legislature in clear and unambiguous terms required timely payment when
            revenue was derived from or attributable to any production of natural gas. The
            obvious overriding purpose of the Act is to ensure that royalty owners are timely
            paid their share of the proceeds. The Legislature has followed a path of
            strengthening mineral owners['] rights since the Act's inception. Prejudgment
            interest is accruable in the event such payment is not timely made.

  Krug, 362 P.3d at 214.




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         The 12 percent interest rate imposed by the statute preceding § 570.10 initially acted as a

  penalty, while the 6 percent interest rate compensated the owner for the use of his money until he

  established marketable title. 6 See Fleet v. Sanguine, Ltd, 854 P.2d 892, 899-900 (Okla. 1999),

  superseded by statute as recognized in Purcell., 961 P.2d at 193; In re Tulsa Energy, 111 F.3d

  88, 91 (10th Cir. 1997). The Legislature, however, removed the language describing the 12

  percent interest rate as a "penalty." See Purcell, 961 P.2d at 193. Nevertheless, courts have

  continued to acknowledge that "[t]he 12% prejudgment interest acts to compel compliance with

  the statute's requirement that proceeds be paid to those entitled thereto." Ok/and Oil Co. v.

  Conoco Inc., 144 F.3d 1308, 1320 (10th Cir. 1998).

         Sunoco tries to circumvent an unavoidable (and unfavorable) reading of the PRSA by

  asking this Court to ignore well-founded principles of statutory interpretation and prior relevant

  case law. Indeed, Sunoco's theory runs counter to the statute's overarching legislative intent.

  See Krug, 362 P.3d at 214; Hull, 789 P.2d at 1279.            The Legislature enacted § 570.IO's

  predecessor statute in 1980 because "first purchasers and holders of proceeds" wrongfully

  withheld production proceeds and used those proceeds for their own benefit. Attorney General's

  Opinion No. 2015-6, 2015 WL 5193536, at *l, 4 (Okla. A.G. Sept. 1, 2015). 7 The PRSA meant

  to "strengthen[] mineral owners['] rights" and to ensure that "first purchasers and holders of

  proceeds" paid production proceeds on time. Krug, 362 P.3d at 214.




  6 For time periods on or after November 1, 2018, the PRSA now requires proceeds withheld due

  to unmarketable title to "earn interest at ... 'the prime interest rate as reported in the Wall Street
  Journal."' § 570.1 0(D)(2)(a).
  7
    Oklahoma courts consider Attorney General opinions persuasive authority "when a court is
  determining legislative intent." Quinlan v. Koch Oil Co., 25 F.3d 936, 941 (10th Cir. 1994); see
  also Nat'/ Cowboy Hall of Fame & W. Heritage Ctr. v. State ex rel. Okla. Human Rights
  Comm 'n, 579 P.2d 1276, 1279 (Okla. 1978).
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          Section 570.1 0(D), therefore, provides an important incentive for Sunoco to pay interest

  owners on time. Sunoco does not dispute that it owes interest on late payments, nor could it.

  But Sunoco' s interpretation would allow Sunoco to delay paying the statutory interest

  indefinitely.   Reading the provision to allow Sunoco to withhold the interest from the late

  payment would, therefore, undermine the very purpose of that provision, rendering it

  meaningless. Such an interpretation would also mean that the Legislature undertook "a vain and

  useless act in the promulgation of a statute ... [that would] defeat the real or obvious purpose of

  [the] legislative enactment." TRW/Reda Pump, 829 P.2d at 20. Resolving the ambiguity by

  requiring Sunoco to pay the interest at the same time as the late payment, therefore, avoids

  "absurd consequences ... without violating legislative intent." Id.

                                       2. Demand Requirement

          Cline next asks the Court to decide whether Sunoco may wait until an owner makes a

  demand for statutory interest before paying that interest. 8 The PRSA does not require interest

  owners to demand payment to receive royalty proceeds. See § 570.10; cf Hull, 789 P.2d at

  1279; Quinlan, 25 F.3d at 939-40. Because the Court concludes that § 570.I0(D) requires a

  "first purchaser or holder of proceeds" to pay the interest with the late payment, the interest

  owner need not demand the interest either. See Pummill, 2012 WL 13098574, at *2 ("The plain

  language of this statute imposes an obligation to include interest on late payments regardless of

  whether the royalty owners make demand for such interest." (emphasis added)). Accordingly,

  Sunoco may not require interest owners to demand interest payments before paying that interest.



  8 Cline describes this as a "uniform policy."    (Dk. No. 142, at 9.) Sunoco contends that it
  sometimes pays interest without a demand. The Court considers this distinction immaterial
  because Sunoco has consistently admitted that it often waits until an owner makes a demand for
  interest before paying that interest. Thus, the Court considers whether Sunoco's actions violate
  the PRSA, regardless of whether Sunoco considers it a "policy."
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                                        III. CONCLUSION

         The PRSA requires Sunoco to pay interest on late payments at the same time it makes

  those payments, and Sunoco cannot require an interest owner to make a demand before paying

  that interest. Thus, the Court wi ll grant Cline's motion for partial summary judgment.

         The Court will enter an appropriate Order.

         Let the Clerk send a copy of this Opinion to all counsel of record.


  Date: IO December 2019                                                                    I
  Richmond, VA                                                John A. Gibney, Jr.
                                                              United States Dis • t Judg




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF OKLAHOMA

  PERRY CLINE, on behalf of himself
  and all others similarly situated,
                          Plaintiff,

  v.                                                      Civil Action No. 6:17-cv-313-JAG

  SUNOCO, INC. (R&M), et al.,
                  Defendants.

                                              OPINION

         Sunoco owes millions of dollars in interest on late payments for crude oil. Oklahoma law

  requires a first purchaser of crude oil—such as Sunoco—to pay promptly for the oil. If the

  purchaser pays late, it must pay interest to the owner of the well that produced the oil. This case

  involves Sunoco’s failure to pay that interest.

         Long ago, Sunoco decided not to pay interest on late payments. Recognizing that the law

  mandated interest, Sunoco has adopted a policy only to pay if the well owner requests an interest

  payment. Since most well owners do not know they can get the payment, few request their interest,

  and Sunoco keeps the money. It amounts to millions of dollars each year.

         Sunoco’s indifference to its obligation extends far beyond not paying what it should.

  Sunoco has never even bothered to figure out how much interest it owes to owners. It keeps scant

  records of why it made late payments. Instead, Sunoco simply keeps the money for its own use,

  knowing two things: that most owners will not request interest, and that eventually the owners’

  potential claims will die at the hands of the statute of limitations. And when that happens, Sunoco

  will have irrevocably pocketed the money.

         In this case, a farmer named Perry Cline calls Sunoco to task on this practice.




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                                        I. INTRODUCTION

         Perry Cline, the named plaintiff, represents a class of owners of interests in oil wells in

  Oklahoma.1 The defendants, Sunoco, Inc. (R&M), and Sunoco Partners Marketing & Terminals,

  L.P. (collectively, “Sunoco”), purchase crude oil from those wells, sell the oil, and pay proceeds

  to well owners pursuant to Oklahoma’s Production Revenue Standards Act (“PRSA”). See Okla.

  Stat. tit. 52, § 570, et seq. The PRSA says that, when Sunoco pays well owners late, it must pay

  interest on those late payments.

         Cline has sued Sunoco under the PRSA for failing to pay the statutory interest on late

  payments it made on oil proceeds. He also contends that Sunoco committed fraud by failing to

  disclose that it owed interest on those payments.

         This case requires the Court to resolve several straightforward questions: Under the PRSA,

  when Sunoco pays an interest owner late, must Sunoco automatically pay statutory interest owed

  on the late payment? If Sunoco did not pay interest at the same time it made the late payment,

  does interest continue to accrue? Does Sunoco’s failure to disclose that it did not pay interest on

  a late payment constitute fraud? And how much does Sunoco owe?

         On December 10, 2019, the Court concluded that the PRSA requires Sunoco to make

  statutory interest payments automatically with the late payment. The Court held a bench trial on

  the remaining issues from December 16-19, 2019. The Court heard closing arguments on June 17,

  2020.2 The Court now issues this Opinion to set forth its findings of fact and conclusions of law

  resolving the remaining questions in this case. See Fed. R. Civ. P. 52(a)(1).



         1
          Cline serves as the named representative of a class certified by the Court on October 3,
  2019. The Court uses the terms “the class” and “Cline” interchangeably.
         2
          The Court delayed ruling on the case until the parties received the trial transcript and had
  a chance to brief the case. Unfortunately, by the time the parties filed briefs, Coronavirus 2019
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                                      II. PROCEDURAL HISTORY

         On July 7, 2017, Cline filed this case in Oklahoma state court on behalf of himself and all

  others similarly situated. Cline asserts claims for a violation of the PRSA (Count One) and fraud

  (Count Two). He seeks compensatory and punitive damages, and various forms of equitable relief.

         Almost immediately after Cline filed suit, Sunoco removed the case to the U.S. District

  Court for the Eastern District of Oklahoma (Dk. No. 2) and filed its answer (Dk. No. 23). The

  case moved along slowly, and, finally, on June 14, 2019, Cline moved to certify the class, appoint

  a class representative, and appoint class counsel. (Dk. No. 91.)

         On July 18, 2019, the Court reassigned this case to the undersigned. (Dk. No. 97.) Given

  the length of time the case had gone on, the Court set the case for trial on December 16, 2019, set

  a discovery cutoff of October 18, 2019, and set other pretrial deadlines. (Dk. No. 102.)

         On October 3, 2019, the Court certified the following class:

                 All non-excluded persons or entities who: (1) received Untimely Payments
         from Defendants (or Defendants’ designees) for oil proceeds from Oklahoma wells
         on or after July 7, 2012, and (2) who have not already been paid statutory interest on
         the Untimely Payments. An “Untimely Payment” for purposes of this class
         definition means payment of proceeds from the sale of oil production from an
         oil and gas well after the statutory periods identified in Okla. Stat. tit 52,
         § 570.10(B)(1) (i.e., commencing not later than six (6) months after the date of first
         sale, and thereafter not later than the last day of the second succeeding month after
         the end of the month within which such production is sold). Untimely Payments
         do not include: (a) payments of proceeds to an owner under Okla. Stat. tit 52,
         § 570.10(B)(3) (minimum pay); (b) prior period adjustments; or (c) pass-through
         payments.

                 The persons or entitles excluded from the Class are: (1) agencies,
         departments, or instrumentalities of the United States of America or the State of
         Oklahoma; (2) publicly traded oil and gas companies and their affiliates;
         (3) persons or entities that Plaintiff’s counsel may be prohibited from representing
         under Rule 1.7 of the Oklahoma Rules of Professional Conduct; and (4) officers of
         the court.


  (COVID-19) had struck, and the judge could not immediately return to Oklahoma to hear oral
  argument.
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  (Dk. No. 127, at 1.)

          When it became clear that the case would move forward, Sunoco adopted a number of

  tactics to derail the litigation. First, after the Court set the case for trial, Sunoco moved to dismiss

  it as moot. Sunoco had finagled its mootness argument by sending Cline an unrequested check for

  the amount of interest it owed him, and then, nearly two years later, claimed that the tendered

  check deprived him of standing. This attempt to pick him off as a plaintiff failed. (Dk. Nos. 122-

  23)

          Second, on October 8, 2019, Sunoco moved to stay this case pending its appeal of the

  Court’s class certification decision to the Tenth Circuit Court of Appeals, pursuant to Federal Rule

  of Civil Procedure 23(f). The Court denied the stay. (Dk. Nos. 131, 149-50.) On November 13,

  2019, the Tenth Circuit denied Sunoco’s request to appeal the Court’s class certification ruling.

  (Dk. No. 170.)

          Third, after the Court certified the class (and long after the Court set a trial date and

  discovery cutoff), Sunoco finally began to look through thousands of files for evidence of what it

  might owe. This resulted in a massive production of millions of lines of data to the plaintiff—after

  the plaintiff’s expert report was due, and after the discovery cutoff.3 Sunoco characterizes its

  search for data as heroic; in reality, Sunoco ignored its files for years because it never intended to

  pay much interest, and let this case sit around for three years without getting its evidence together.

  Notwithstanding its untimely production of millions of pieces of evidence, Sunoco scolded Cline’s

  expert for not including it in her calculations. And Sunoco’s own expert, Eric Krause, relied upon

  the compilation of data to file tardy reports of his own—reports that he supplemented and that




          3
           Sunoco produced the same data to its own expert, helping to fatally delay his report, as
  discussed below.
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  continued to evolve to fit the defense’s needs. (See Dk. Nos. 207, 230, 234.) Indeed, he even

  revised his opinion the weekend before the trial in this case.

         Fourth, Sunoco filed a motion to “clarify” the class definition, which merely amounted to

  an argument to cut down the size of the class. (Dk. No. 172.) On November 26, 2019, the Court

  denied this motion. (Dk. No. 186.)

         In December, 2019, the case finally moved toward rulings on the merits. On December

  10, 2019, the Court granted Cline’s motion for partial summary judgment. (Dk. Nos. 231-32.)

  The Court concluded that the PRSA requires Sunoco to pay interest at the same time it makes a

  late payment, and that Sunoco cannot wait for a request from the owner before paying that interest.

  (See Dk. No. 231.) The Court held a bench trial in this case from December 16-19, 2019, and

  heard closing arguments on June 17, 2020.

                                            III. THE PRSA

         Before reciting the facts, the Court begins by setting forth the relevant provisions of the

  PRSA. In this case, Sunoco admits that it frequently makes late payments for oil. The PRSA sets

  forth different interest rates on late payments, depending on the cause of the lateness. A great deal

  of the evidence at trial dealt with the issue of the correct rate of interest. The significance of the

  evidence in the case, therefore, only grows clear when viewed through the prism of the PRSA’s

  requirements.

         As noted above, the PRSA imposes duties on the first purchaser who buys oil or gas from

  an interest owner or the person holding the proceeds from the sale of the oil and gas. Specifically,

  the first purchaser must pay owners their proceeds within six months from the date of first sale and

  within two months after the month of subsequent sales. Okla. Stat. tit. 52, § 570.10(B)(1). This




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  requirement has several exceptions, including one that allows less frequent payments for small

  royalties of less than $100. See, e.g., id. §570.10(B)(3).

         The Oklahoma Legislature adopted the prompt payment rule because of abusive practices

  by the oil industry, which frequently withheld payments from owners for a long time. See Krug v.

  Helmerich & Payne, Inc., 362 P.3d 205, 214 (Okla. 2015). To compensate owners for delayed

  payment, and to provide an incentive to pay properly, the statute requires the oil industry to pay

  interest on late payments. When “proceeds from the sale of oil or gas production . . . are not paid

  prior to the end of the applicable time periods provided in” the PRSA, those proceeds “shall earn

  interest.” Okla. Stat. tit. 52 §570.10(D)(1)-(2). “Except as otherwise provided in paragraph 2 of

  this subsection [regarding late payments due to marketable title],” a 12 percent interest rate applies

  to late payments “until the day paid.” Id. § 570.10(D)(1). When a first purchaser or holder of

  proceeds does not pay proceeds due to an issue with marketable title,4 a 6 percent interest rate

  applies to periods before November 1, 2018, and “the prime interest rate as reported in the Wall

  Street Journal” applies to periods on or after November 1, 2018.5 Id. § 570.10(D)(2)(a). The

  interest compounds annually. One of the big fights in this case revolves around whether Sunoco

  owes 12 percent or 6 percent interest.




         4
           “Marketability of title shall be determined in accordance with the title examination
  standards of the Oklahoma Bar Association.” § 570.10(D)(2)(a). The title examination standards
  define “marketable title” as “one free from apparent defects, grave doubts and litigious uncertainty,
  and consists of both legal and equitable title fairly deducible of record.” (Defs.’ Ex. 26, at 12.)
         5
            The lower interest rate also applies until “the holder has received an acceptable affidavit
  of death and heirship in conformity with Section 67 of Title 16 of the Oklahoma Statutes,” or until
  the proceeds are interpled, as set forth in § 570.10(D)(2)(b). See § 570.10(D)(2)(a). The Court
  will refer to the lower interest rate as the 6 percent interest rate throughout this Opinion. This rate
  only applies until title to the interest becomes marketable. Id.
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         The PRSA also bears on Cline’s argument that Sunoco committed fraud by withholding

  information from well owners. The statute says that, when a first purchaser or holder of proceeds

  makes a payment to an owner, it must provide the owner with the following information:

         1.      Lease or well identification;
         2.      Month and year of sales included in the payment;
         3.      Total barrels or MCF attributed to such payment;
         4.      Price per barrel or MCF, including British Thermal Unit adjustment of gas
                 sold;
         5.      Total amount attributed to such payment of severance and other production
                 taxes, with the exception of windfall profit tax;
         6.      Net value of total sales attributed to such payment after taxes are deducted;
         7.      Owner’s interest, expressed as a decimal, in production from the property;
         8.      Owner’s share of the total value of sales attributed to such payment prior to
                 any deductions;
         9.      Owner’s share of the sales value attributed to such payment less owner’s
                 share of the production and severance taxes; and
         10.     A specific listing of the amount and purpose of any other deductions from
                 the proceeds attributed to such payment due to the owner upon request by
                 the owner.

  Okla. Stat. tit. 52, § 570.12(A).

                                             IV. FACTS

                                           A. The Parties

                                              1. Sunoco

         Sunoco, Inc. (R&M) (now Sunoco (R&M), LLC) is a limited liability company that is a

  wholly owned subsidiary of ETP Holdco Corporation (“ETP”). Sunoco Partners Marketing &

  Terminals, L.P., is a limited partnership with no corporate parents. Sunoco has a net value over

  $30 billion.

         Sunoco buys crude oil from oil producers and sells the oil. (Trial Tr. vol. 1, 168:11-20.)

  Sunoco is a first purchaser under the PRSA. (Id. 77:7-10, 85:21 to 86:8.) As a first purchaser,

  Sunoco is a “holder” of the oil proceeds owed to owners until Sunoco pays the oil proceeds directly




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  to owners or to states as “unclaimed” property on behalf of unlocated owners. (Id. 77:7-13, 86:3-

  8, 131:8-24.)

         Sunoco is not itself an oil and gas producer and does not have leases with individual

  landowners. (Id. 112:18 to 113:1, 177:7-9.) Rather, “operators” typically extract the oil from the

  ground and, pursuant to contracts, convey it to Sunoco.6 Sunoco then pays owners their proceeds

  directly. (Id. 86:3-8, 191:2-14.) Sunoco has paid thousands of owners across the United States.

  (Id. 178:3-5.) In many cases, Sunoco has agreed to pay these owners pursuant to a contract with

  the operator.7 (See, e.g., Defs.’ Ex. 29, at 3 ¶ 6.) Sunoco often relies on information provided by

  a well operator to pay owners their proceeds. (See, e.g., Trial Tr. vol. 1, 178:6 to 181:11.) That

  information is not always correct. (Id. 171:6-14, 178:6 to 181:11.)




         6
            Oil production has a cast of varied characters. When someone (such as Cline) owns land
  that may have oil on it, an exploration and production (“E&P”) company leases the land to drill
  for and extract the oil. (Trial Tr. vol. 1, 174:22 to 175:8.) The E&P company agrees to split the
  proceeds from the sale of that oil with the landowner if the company can extract it. (Id. 175:10-
  13.) Usually, the landowner gets at least a one-eighth royalty and bears no costs or risk associated
  with drilling the well or cleaning and closing a dry hole. (Id. 175:14-20.) The E&P company
  partners with other industry players, known as working interest owners, to drill the well, and they
  split the remaining interest. (Id. 175:21-24.) One of the working interest owners is deemed the
  “operator.” (Id. 175:25 to 176:2.) The operator “frequently ha[s] either a majority interest, or [it
  is] elected because [it is] knowledgeable and the other working interest owners respect [it].” (Id.
  176:3-7.) The working interest owner with the largest share of the interest performs and
  coordinates the work, with the remaining companies sharing in the cost and risk. (Id. 176:8-13.)
  After the working interest owners extract the oil, companies such as Sunoco will enter into
  contracts with the operators to transport and market the oil. (Id. 176:24 to 177:6.) The landowner’s
  interest may fracture over time, such as when a landowner dies or sells the interest to another
  individual or entity. (Id. 177:13 to 178:10.) Thus, it is not unusual for Sunoco to pay anywhere
  from tens to thousands of interest owners for oil produced from a well. (Id. 172:19-25.)
         7
            The contracts sometimes include an indemnity agreement under which the producer or
  operator agrees to indemnify Sunoco for costs associated with late payments to owners. (See Trial
  Tr. vol. 1, 125:22 to 127:4.)
                                                   8

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                                        2. Cline and the Class

         Cline lives in Oklahoma and owns royalty interests in three oil wells. (Dk. No. 175.) He

  works as a farmer and has no training in the oil and gas industry. (Trial Tr. vol. 2, 428:2-16.)

  During the class period, Sunoco paid Cline royalty proceeds on all three wells; on occasion,

  Sunoco paid the royalties late. (Dk. No. 175.) Cline did not ask Sunoco to pay him interest on the

  late payments. (Trial Tr. vol. 1, 257:1-4.) At all relevant times, Sunoco had Cline’s correct contact

  and interest information. (See id. 99:8-15, 103:21 to 110:4; Pl.’s Exs. 459-60, 463.)

         Cline represents a class of individuals and entities who own royalty interests in wells from

  which Sunoco purchased crude oil and paid proceeds late without paying interest on the proceeds.

  (See Dk. No. 127, at 1.)

                                        B. Sunoco’s Conduct

                                           1. Late Payments

         Sunoco generally pays proceeds to owners on time. (Trial Tr. vol. 1, 77:25 to 78:2, 222:8-

  14.) On approximately one percent of its payments, however, Sunoco pays owners the proceeds

  late as defined by the PRSA. (Id. 77:14-24, 78:3-5, 91:12-20, 222:8-14.) Because Sunoco deals

  with thousands of owners, making many payments to each owner, over the years this small

  percentage amounts to millions of late payments.

         The reasons for the late payments vary. Sometimes, the payments are just not on time.

  Other times, Sunoco has an internal reason why they are late. For example, Sunoco may suspend

  payment on an account if the owner has not returned a division order.8 (Id. 103:6-20.) If Sunoco



         8
           Sunoco uses division orders to confirm ownership and ensure accuracy of the payments.
  (Trial Tr. vol. 1, 186:19 to 187:11.) Oklahoma law says that an oil company cannot withhold
  payments because the owner has not signed a division order. Whether Sunoco’s practices with
  regard to division orders violate the PRSA is not before the Court.


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  does not have current or accurate information either from the owner or from the producer to pay

  the owner, sometimes it cannot remit the funds, or it may receive a returned check.9 (Id. 186:21

  to 187:11, 221:1 to 222:1, 281:4-8.) If Sunoco does not know the identity of the interest owner, it

  does not remit payment to anyone and instead pays those proceeds to Texas as unclaimed funds.10

  (Trial Tr. vol. 3, 577:7-24, 578:23 to 580:8.)

         When Sunoco pays owners late, it does not automatically pay statutory interest. (Trial Tr.

  vol. 1, 78:6-13, 116:3-11; Pl.’s Ex. 43.) As noted above, Sunoco only pays statutory interest when

  specifically requested by an owner. (Trial Tr. vol. 1, 78:10-13, 82:20-23; Holland Dep. 55:18 to

  56:16; see, e.g., Pl.’s Ex. 38.) Sunoco does not get many requests for interest each year. (See,

  e.g., Trial Tr. vol. 1, 83:21-24; Holland. Dep. 33:5-15; Pl.’s Ex. 62.)

         Sunoco takes a haphazard approach to its obligations arising from late payments. In fact,

  Sunoco has not even tried to identify every instance of a late payment in Oklahoma. (Trial Tr. vol.

  1, 79:6-7; Holland Dep. 102:5-19.) For its millions of late payments, it says it cannot determine

  the amount of interest due. This inability, however, does not arise from a lack of information.

  Rather, it arises from Sunoco’s unwillingness to make the effort, at the time of the late payment,

  to determine the cause of the lateness and the amount of interest due. On the rare occasions when

  Sunoco receives a request for interest, it usually has the information it needs to calculate the

  amount of interest due on the late payment. (See, e.g., Trial Tr. vol. 1, 99:8-15; Holland Dep. 34:8-

  24.) Sunoco employees simply look at the files for each payment to determine the reason the

  payment was late and whether Sunoco owes that owner 6 percent interest or 12 percent interest.




         9
             When Sunoco gets bad owner information from a producer or operator, it generally does
  not tell the producer or operator. (See Pl.’s Ex. 339.)
         10
              Sunoco calls payments for which it has no owner information “undivided payments.”
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  (Trial. Tr. vol. 1, 94:1 to 95:3, 223:17 to 224:7.) One employee handles calculating interest after

  other employees research the request. (Id. 94:1-21.) Sunoco uses a computer program into which

  a Sunoco employee manually inputs information to calculate the interest. (Id. 94:1 to 95:3;

  Holland Dep. 19:8 to 21:19; see Defs.’ Exs. 261-79.) When Sunoco finally gets around to paying

  interest, it pays the interest due only through the date Sunoco paid the proceeds to the owner.

  (Holland Dep. 123:7 to 124:18.)

         Although Sunoco knows that it owes interest on late payments under the PRSA, it takes

  the position that the statute does not set forth a due date; in other words, the debt never becomes

  due. Sunoco takes this position based on industry practice and the advice of counsel. (See, e.g.,

  Trial Tr. vol. 1, 84:15-24.)

         After Cline filed this lawsuit, Sunoco investigated Cline’s claim for interest. (Id. 98:21 to

  99:17; Pl.’s Ex. 4.) Sunoco had not paid Cline because Cline had not signed a division order and

  had not otherwise responded to Sunoco’s communications with him. (Id. 99:21 to 100:7.) On

  December 19, 2017, Sunoco sent Cline a check for $1,886.54 in unpaid interest. (Dk. No. 175;

  Pl.’s Exs. 4, 24.) Sunoco applied a 12 percent interest rate compounded through the date it had

  paid Cline his late proceeds. (Trial Tr. vol. 1, 99:16-20; Pl.’s Exs. 4, 24.) When Cline did not

  cash the check, Sunoco sent Cline a letter asking Cline to respond and explaining that failure to

  respond would lead Sunoco to deem the funds as unclaimed, which could have resulted in the

  money going to Oklahoma’s unclaimed property agency. (Trial Tr. vol. 1, 110:9 to 111:21; Pl.’s

  Ex. 476.) To date, Cline has not cashed Sunoco’s check. (Trial Tr. vol. 2, 445:10-19.)

         As a result of this litigation, Sunoco has decided to stop paying proceeds and interest in

  Oklahoma. (Trial Tr. vol. 1, 74:10 to 75:19.)




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                                    2. The Amount of Interest Due
                                      Because of Late Payments

         Sunoco owes millions of dollars in interest on late payments. To prove the precise amount

  due, Cline relied on the expert testimony of Barbara Ley, a certified public accountant who has

  extensive experience with accounting in the oil and gas industry. (See, e.g., Trial Tr. vol. 3, 493:4

  to 510:15.) Ley testified credibly, and described a thorough and defensible method of calculating

  the amount due from Sunoco. Ley received information from Sunoco to create a database of

  individual owner information and to determine whether each payment was late based on that data.

  (Id. 510:17 to 588:12.) Sunoco’s data identifies the date proceeds were sold, the date Sunoco paid

  proceeds to an owner, and the amount of the proceeds. (Trial Tr. vol. 1, 89:3-15.) To the extent

  she could, Ley checked the sale date against public records. (Trial Tr. vol. 3, 519:4 to 520:17.)

  She also reviewed depositions and other documents produced in the case, and was present in the

  courtroom during the majority of the trial. (Id. 505:1-24). Sunoco agrees that Ley’s data reliably

  reflects the sale date, payment date, and amount of proceeds. (Id. 90:8-20.)

         Ley removed some late payments from her database because they fell outside the class

  certification definition. She did this based on Sunoco’s accounting data, Sunoco’s suspense

  codes,11 and discussions with class counsel and Sunoco’s experts. (Id. 561:9 to 570:4, 587:14 to

  588:12.) Further, Ley excluded payments made to unclaimed property funds12 when Sunoco

  issued a check to the interest owner on time. (Id. 580:21 to 582:7.) Thus, she did not include

  payments to unclaimed funds if Sunoco previously sent a timely check to the owner that went



         11
            Suspense codes are Sunoco’s administrative notes about delayed payments. In relying
  on Sunoco’s suspense codes, Ley bent over backwards to give Sunoco the benefit of the doubt. As
  discussed below, even Sunoco’s own experts say that the suspense codes do not give reliable
  information about the reasons for late payments.
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              Unclaimed property payments are discussed below.
                                                   12

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  uncashed.     (Id. 580:21 to 582:13.)     She also excluded statutory interest payments Sunoco

  previously made during the class period for the types of payments at issue in this case. (Id. 574:15

  to 575:5.) All told, Ley only considered liability for interest on late payments falling within the

  class definition. (Id. 589:5-17.)

         Ley determined that Sunoco made 1,596,945 late payments to approximately 53,000 class

  members. (Id. 554:8-12, 568:21 to 569:1; Pl.’s Ex. 454.) As of December 16, 2019, Sunoco owed

  $74,763,113.00 in late interest payments, based on a 12 percent interest rate compounded

  annually.13 (Trial Tr. vol. 3, 571:23 to 572:5.)

                              C. Evidence Related to Sunoco’s Defenses

                                      1. Unclaimed Property Funds14

         Sunoco says that it should not have to pay interest on proceeds it pays to unclaimed

  property funds. Each state has created by statute a government agency that collects money held



         13
              Because the actual damages in this case include amounts that will continue to compound
  until the Court enters judgment, the Court must explain its reference point for damages. At trial,
  Cline presented a damages figure of $74,763,113.00 based on Ley’s calculations. (Trial Tr. vol.
  3, 571:23 to 572:5.) That figure represented the statutory interest due on the late payments through
  December 16, 2019, less interest Sunoco already paid and any opt-outs received during the class
  notification process as of the first day of trial. (Id. 572:9 to 576:25.) For ease, the Court will base
  its damages award off the $74,763,113.00 discussed during trial. Thus, the interest owed in this
  case is $74,763,113.00 plus any additional interest due from December 17, 2019, to the date of
  this Opinion. Further, for the reasons set forth below, the Court will apply a 12 percent interest
  rate to all the late payments.
           After trial, however, the class administrator submitted information about additional opt-
  out requests and withdrawals of previously submitted opt-out requests. Although the Court will
  award damages based on the figure presented at trial, the Court will require counsel to submit
  updated calculations before it enters the final judgment order. Nevertheless, the Court believes it
  is appropriate to issue this Opinion and Order because the exclusion requests do not affect the
  merits of this case. Further, Sunoco had adequate notice of the additional exclusion requests well
  before closing arguments in June, 2020. Issuing this decision will stop interest from compounding
  and will enable counsel to provide a final damages calculation.
         14
              The parties sometimes refer to these payments as “escheat” payments.


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  by businesses for people who cannot be found. The agency holds the money on behalf of the true

  owners.

         When Sunoco cannot identify or locate an owner, it eventually sends the owner’s proceeds

  to the unclaimed property fund of the state of the owner’s last known residence. (See, e.g., id.

  131:8 to 132:21.) For example, if someone stops cashing his or her checks and does not respond

  to the notice Sunoco sends, Sunoco sends the proceeds to the unclaimed agency of the owner’s

  state. It makes this payment after it holds the funds for a certain number of years set by state

  unclaimed property law. (Id. 265:10 to 270:2) If Sunoco does not know the address of the owner

  or the payment is an undivided payment, it pays unclaimed proceeds to Texas, Sunoco’s home

  state. (Id. 262:10-20.) When Sunoco sends unclaimed proceeds to a state, it does not send any

  interest owed on those proceeds. (Id. 132:22-25.)

         Sunoco does not conduct an extensive search to locate unidentified or unlocated owners.

  (Id. 137:6 to 138:8; Lanscelin Dep. 67:24 to 69:8, 70:23 to 71:02.) Rather, if Sunoco has an

  address for an owner who has stopped cashing checks, it will send a division order twice to the

  address on file, a stale check notice, a letter notifying the owner that it may send the funds to the

  state as unclaimed, and a due diligence notice. (Trial Tr. vol. 1, 135:16 to 137:5, 156:8-22.)

  Sometimes people will respond to Sunoco’s notices, at which point Sunoco verifies the owner’s

  identity or ownership. (Id. 271:4 to 272:3.)15



         15
             Cline offered evidence designed to show that Sunoco did not make a bona fide effort to
  find people before sending their proceeds to unclaimed property funds. For instance, Sunoco
  claimed not to know where well owner Paul Walker lived, even though he had lived at the same
  place for decades. Fred Buxton, an oil producer, said that his company took many steps more than
  Sunoco does to find correct addresses for owners. And Sunoco threatened to send one of Cline’s
  interest checks to unclaimed property, even though it was in litigation with Cline, knew his address,
  and had frequent contact with his lawyers. While interesting, and indicative of a lackadaisical
  attitude by Sunoco, this evidence does not figure in the Court’s analysis.


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                                         2. Unmarketable Title

         Under the PRSA, a purchaser owes only 6 percent interest if a delay in payment occurs

  because the owner does not have marketable title to the oil sold. Sunoco tried to show that many

  of its late payments could have stemmed from the owner’s unmarketable title.

         To establish unmarketability, Sunoco relied on its “suspense” codes. When Sunoco puts a

  payment in suspense, it does not send the money to the owner. Someone at the company makes a

  file entry reflecting one of fifty codes. The codes are shorthand for reasons to withhold payments.

  As an example, Sunoco might not make a payment if the IRS had asserted a lien over the proceeds;

  an employee at Sunoco would then make an entry for the code relating to IRS liens. The validity

  of suspense codes to establish marketability was a central issue at trial.

         Sunoco called Kraettli Epperson as an expert on marketable title. Epperson testified about

  the title opinion process and opined that the title examination standards do not presume

  marketability, but that “you have to look at the record, you have to determine in essence whether

  it is clear that somebody owns it.” (Trial Tr. vol. 4, 707:9-16.) Thus, a title examiner must review

  a variety of records to determine whether title is marketable. (Id. 708:20 to 710:11.)

         Epperson did not examine any titles, and could not testify that any of the owners did not

  have marketable title. He did talk about the suspense codes, and opined that some of them might

  mean that the owner did not have unmarketable title. Ultimately, however, the suspense codes

  were, at best, “a crude surrogate” for marketability. (Id. 715:5.) They do not give a determination

  that title is marketable or unmarketable. (Id. 718:9-14.) As defense counsel observed at trial,

  Sunoco’s employees prepared the codes to justify failure to make payments. The codes are simply

  an administrative tool, not an indication of marketability. (Id. 629:15-18.)




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          Epperson did not conduct a title search on property of any of the 53,000 owners to whom

  Sunoco made late payments. He offered no opinion on the state of any titles at issue in this case.

                                                  D. Fraud

          Cline offered evidence to support his claim that Sunoco had committed fraud on owners to

  whom it owed interest. Essentially, Cline showed that Sunoco did not tell owners either that it

  owed them interest on late payments, or that it would give them interest payments if they requested

  it.

          Sunoco did, however, provide check stubs with royalty checks. Although they generally

  do not mention interest, Sunoco’s check stubs do contain the information required by § 570.12.

  (See, e.g., Defs.’ Ex. 8; see also Closing Arg. Tr. 195:21 to 196:6.) The check stubs, however, do

  not indicate: (1) that Sunoco owes the owner interest and has withheld that interest; (2) how to

  calculate the interest Sunoco is withholding based on the data provided; or (3) that Sunoco will

  pay the interest if the owner requests it. (Trial Tr. vol. 3, 589:19 to 592:2; Pl.’s Ex. 520.) On the

  occasions when Sunoco pays interest, it notes the payment on the check stub with an “interest

  payment” code. (Trial Tr. vol. 3, 514:16-20; see Pl.’s Ex. 24; Defs.’ Ex. 45.)

                                               E. Eric Krause

          Sunoco called Eric Krause to rebut Ley’s testimony regarding liability and damages. For

  the reasons set forth below, the Court will strike Krause’s testimony.

                                              V. ANALYSIS

                                          A. Preliminary Matters

          Before turning to the merits of the case, the Court must address two preliminary matters

  raised by the parties at trial and in their briefs.




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                                         1. Class Certification

         Sunoco continues to challenge the Court’s decision to certify the class. (See, e.g., Dk. No.

  274, at 58-60; Dk. No. 275, at 155-65.) The Court has had multiple opportunities to consider the

  propriety of class certification. (See Dk. Nos. 126, 149, 186.) For the reasons set forth in its

  October 3, 2019 Opinion (Dk. No. 126), the Court continues to conclude that class certification is

  proper in this case. The evidence and trial testimony do not change the Court’s conclusions.

  Nevertheless, the Court will briefly address some of Sunoco’s arguments.

         First, although this case requires a degree of individualized inquiry, “questions of law or

  fact common to class members predominate over any questions affecting only individual

  members.” Fed. R. Civ. P. 23(b)(3). The Court has resolved most of the issues in this case by

  interpreting provisions of the PRSA and applying that interpretation to the class as a whole. (See,

  e.g., Dk. No. 231.) The trial testimony established that Sunoco followed a practice of not paying

  interest until it received a request from an owner. (See, e.g., Trial Tr. vol. 1, 78:6-13, 82:20-23;

  Holland Dep. 102:5-19.) Ley created a methodology through which she could calculate class-wide

  damages based on that conduct. (Trial Tr. vol. 3, 491:21 to 594:25; Trial Tr. vol. 4, 605:10 to

  683:7.) Further, her computer calculations identify the precise damages for each late payment for

  each owner of each well.

         Moreover, the trial confirmed that “a class action is superior to other available methods for

  fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). For the reasons set

  forth below, Cline will prevail on his breach of statutory interest claim on behalf of the class, which

  comprises approximately 53,000 class members and more than 1.5 million late payments. Cline

  has done this through a trial that lasted approximately one week. That outcome represents a fair

  and efficient way of resolving the claims without requiring individual actions.



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         In essence, Sunoco wants to force all 53,000 victims of its scheme to file independent

  claims, just as it has tried to compel them to make individual requests for interests. No doubt,

  Sunoco hopes that the owners will abandon their claims, most of which are small, rather than incur

  the cost and effort to take on a behemoth. Class actions exist precisely for claims such as those

  presented here.

         Second, to the extent that Sunoco complains that it could not possibly have presented all

  of its defenses at trial, Sunoco had the opportunity to at least try to do so. Instead, Sunoco did not

  object to finishing the trial on December 19, 2019—a day before trial was scheduled to end. (Trial

  Tr. vol. 4, 602:16 to 603:6.) Nor did it request any additional time to try this case. It did not even

  begin to analyze its own data until the eve of trial.

         Sunoco continues to insist that its defenses are too individualized to present in a class

  action. At trial, Sunoco presented a light sampling of these defenses but failed to establish that

  such defenses would have overwhelmed the trial.16 Unsurprisingly, Sunoco conflates doing what

  is impossible with doing what is hard. No doubt, figuring out what Sunoco owes to interest owners

  is difficult when it has failed to comply with the PRSA for years. Had Sunoco done its homework

  in the years before this suit, it would have known how much interest it owes, and could have

  presented a compilation or summary. See Fed. R. Evid. 1006. Sunoco’s own evidence shows that

  it has the ability to determine what Sunoco owes interest owners; it just does not do so until asked.

  Thus, Sunoco’s arguments fall far short.

         The Court declines to decertify the class.




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           Additionally, many of the defenses did not actually rebut Cline’s claims or carry
  Sunoco’s burden.


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                                       2. Motion to Strike Krause

          On December 5, 2019, Cline moved to strike the testimony and opinions of Krause,

  Sunoco’s expert witness on damages. (Dk. No. 207.) Cline argues that Sunoco disclosed Krause’s

  opinions late in violation of the Court’s pretrial order and the Federal Rules of Civil Procedure.

  At trial, the Court took the motion and related objections under advisement. For the following

  reasons, the Court will grant the motion and sustain Cline’s objections.

                                            a. Background17

          The parties began discovery in 2017. Sunoco disclosed Krause as an expert in March,

  2019. Cline contends that Krause asked Sunoco for its suspense history data in 2018. Sunoco

  claims that it did not refuse to produce the historical suspense data. Rather, it asserts “that the data

  did not exist in [usable], accessible form in Sunoco’s accounting system, and it was only through

  a massive effort appropriately undertaken after the Court certified the class on October 3 that

  Sunoco was able to come up with it at all.” (Dk. No. 230, at 6.) It took Sunoco several weeks to

  compile the data in a usable format. This argument ignores the question of why Sunoco waited

  until after class certification to begin to think about its exposure to damages in this case.

          The Court reassigned the case to the undersigned district judge on July 18, 2019. On

  August 5, 2019, the Court set the discovery deadline as October 18, 2019. (Dk. No. 102, at 1.)

  For expert disclosures, the Court set the following deadlines: initial disclosures for the party with

  burden of proof on an issue were due October 25, 2019; the opposing party’s disclosures were due

  on November 1, 2019; and rebuttal expert disclosures were due on November 8, 2019. (Id. at 2.)




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             Because Cline filed this motion before trial, the Court summarizes the relevant facts as
  set forth in the parties’ briefs.
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         Sunoco served Krause’s initial expert report on November 1, 2019. In the report, Krause

  explained that Sunoco provided him with the data he needed to render certain opinions on October

  31, 2019, and reserved the right to supplement his opinions “once [he was] able to complete a

  refined study” of the data. (Dk. No. 207-5 ¶ 49.) Based on his preliminary review of the data,

  however, he could not link millions of dollars of damages in Ley’s model to any suspense codes.

  (Id. ¶ 49 n.38.) He also opined that, even with the data, he could not determine the reason for the

  untimely payments. (Id.)

         On November 8, 2019, Ley served her rebuttal expert report. She objected to Krause’s use

  of the suspense code information but nevertheless asserted that, if Sunoco met its burden of

  showing unmarketable title, she could incorporate those conclusions into her model. (See Dk. No.

  230-7 ¶¶ 5-9.) She also reserved the right to supplement her report because she understood

  Krause’s work to be ongoing. (Id. ¶ 11.)

         Less than three weeks before trial, Krause’s expert report was not done, and his opinions

  were not complete. Two weeks before trial, Krause served a supplemental report “[d]ue to the

  complex nature of the data and because [he] received the data one day prior to [his] report being

  due.” (Dk. No. 207-3 ¶ 5.) He explained that he “did not have sufficient time by November 1 to

  perform a quantification of the effects to any damages resulting from a full analysis and evaluation

  of this data.” (Id.) Nevertheless, “[i]t remain[ed] [his] opinion after a full review of the suspense

  history data” that Ley could not use that information to fully understand the reason for an untimely

  payment and whether a 6 percent or 12 percent interest rate would apply. (Id.) The report also

  responded to the Court’s ruling on the motion to clarify. (Id. ¶ 29.) Krause’s analysis reduced the

  damages amount by approximately $3.5 million. (Id. ¶ 15.) Krause further opined that his




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  damages figures would change based on work performed between completing the report and trial.

  (See id. ¶ 14.)

          On December 3, 2019, Sunoco sent Cline a corrected version of Krause’s supplemental

  report. Sunoco served the materials supporting the report on December 4, 2019. Cline deposed

  Krause on December 5, 2019, and filed the motion to strike later that day. Sunoco contends that

  the “additional work [Krause] intends to do is a summary, for illustrative purposes only, of his

  already-disclosed opinions.” (Dk. No. 230, at 14.)

          At trial, Krause testified about a number of topics, including issues related to unclaimed

  funds and the feasibility of using the suspense codes to determine marketable title. (Trial Tr. vol.

  4, 814:13 to 912:24; Trial Tr. vol. 5, 920:21 to 947:17.) He also considered evidence from the

  Oklahoma Corporation Commission using information he downloaded from the Internet on

  December 15, 2019. (Trial Tr. vol. 4, 854:19 to 858:7.) Further, Krause testified to his own

  calculation of damages—a number significantly lower than Ley’s calculations. (See, e.g., id.

  885:15 to 888:22, 896:17 to 901:3.) Cline objected to much of the testimony, including a

  continuing objection to the admissibility of Krause’s testimony for the reasons set forth in the

  motion to strike. (See id. 822:21 to 823:23, 839:23 to 840:13, 855:23 to 858:7, 870:11 to 872:5,

  872:15 to 873:2, 875:11 to 876:4, 890:2-3, 890:18 to 891:5.)

                                          b. Legal Standard

          When a party discloses the identity of its expert witness, the party must provide a written

  report prepared and signed by the expert that contains “a complete statement of all opinions the

  witness will express and the basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(i). Parties

  must make these disclosures by the dates ordered by the court. See Fed. R. Civ. P. 26(a)(2)(D).




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         A party has a duty to supplement its disclosures “in a timely manner if the party learns that

  in some material respect the disclosure or response is incomplete or incorrect, and if the additional

  or corrective information has not otherwise been made known to the other parties during the

  discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A). For expert reports, the duty to

  supplement applies to information both included in the report and given in a deposition. See Fed.

  R. Civ. P. 26(e)(2). The disclosures, however, “must be [made] by the time the party’s pretrial

  disclosures under Rule 26(a)(3) are due.” Id.

         Expert reports “are necessary to allow the opposing party a reasonable opportunity to

  prepare for effective cross examination and perhaps arrange for expert testimony from other

  witnesses.” Rodgers v. Beechcraft Corp., 759 F. App’x 646, 656 (10th Cir. 2018) (alterations and

  quotations omitted). A party who fails to disclose or supplement information may not use that

  information or witness “to supply evidence” at a trial “unless the failure was substantially justified

  or is harmless.” Fed. R. Civ. P. 37(c)(1).

         “Substantial justification requires justification . . . that could satisfy a reasonable person

  that parties could differ as to whether the party was required to comply with the disclosure request.

  The proponent’s position must have a reasonable basis in law and fact.” Nguyen v. IBP, Inc., 162

  F.R.D. 675, 680 (D. Kan. 1995). A failure to disclose is harmless “when there is no prejudice to

  the party entitled to the disclosure.” Id. The late-disclosing party bears the burden of establishing

  that the failure was substantially justified or harmless. See id.

         A court need not make “explicit findings” about whether the failure was substantially

  justified or harmless. Rodgers, 759 F. App’x at 657. Rather, it must consider the following factors:

  (1) the prejudice or surprise to the party against whom the testimony is offered, (2) the ability of

  the party to cure the prejudice, (3) the extent to which introducing the testimony would disrupt the



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  trial, and (4) the moving party’s bad faith or willfulness. See id. The late-disclosing party’s

  conduct does not need to satisfy all factors to justify exclusion. See, e.g., SFF-TIR, LLC v.

  Stephenson, No. CIV 14-0369, 2020 WL 2922190, at *14 (N.D. Okla. June 3, 2020).

                                             c. Application

         Here, Sunoco’s disclosures were both late and incomplete. Sunoco assumed that Cline had

  the burden of proof regarding marketability of title. For the reasons set forth below, Sunoco bore

  that burden. Thus, Sunoco should have disclosed Krause’s opinions regarding marketable title on

  October 25, 2019. (See Dk. No. 102.) Even if Sunoco did not have the burden of proof, the final

  version of his report was over a month late. In any event, Krause’s disclosures gave Cline at best

  a high-level overview of Krause’s opinions regarding marketable title and the reliability of Ley’s

  methodology, but his opinions were essentially a moving target until trial. Thus, Cline did not

  have “a complete statement of all opinions [Krause] [would] express and the basis and reasons

  for” the opinions until trial. Fed. R. Civ. P. 26(a)(2)(B)(i).

         Moreover, Sunoco had no reasonable justification to delay the production of its historical

  suspense data and the disclosure of Krause’s opinions; it simply hoped that the case would not

  proceed to trial. See Fed. R. Civ. P. 37(c)(1). The Court cannot overstate the prejudice that Cline

  suffered and the incurable nature of that prejudice. See Rodgers, 759 F. App’x at 657. Sunoco

  lauds itself for transforming its suspense code data into a usable format within a few weeks of the

  Court’s class certification decision. But discovery had been going on for nearly two years. To the

  extent that the reassignment of this case to the undersigned district judge changed the trial timeline,

  the parties knew a month and a half before discovery closed that this case would proceed to trial

  in December, 2019. Instead of trying to complete discovery within the required timeline, Sunoco




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  waited to begin these efforts until the Court certified the class and rejected Sunoco’s last-ditch

  effort to pick off the named plaintiff and moot this case.

         When Sunoco finally produced key evidence, it did so after Ley’s first report was due.

  Then, Sunoco blamed Ley for creating an allegedly unreliable model in large part because she tried

  to discern marketable title from Sunoco’s late-produced data. Sunoco, however, created an

  untenable situation for Cline—either scramble through “a big new slug of data” produced after

  discovery closed or risk failing to meet his burden regarding liability at trial. (Trial Tr. vol. 4,

  622:4-5.) Cline, of course, chose the former option. Ultimately, Ley created a well-reasoned and

  thorough model that she testified about at trial.

         Krause continued to work with the data well past the discovery and expert deadlines,

  leaving Cline to guess about Krause’s opinions—the exact scenario that Rule 26 and the Court’s

  pretrial order meant to avoid. Krause’s late disclosures significantly limited the amount of time

  Cline’s attorneys had to prepare for Krause’s cross-examination and required Cline to take a

  deposition on the eve of trial. Any argument that Cline knew the contours of Krause’s opinions

  ignores the fact that Sunoco’s conduct still limited class counsel’s ability to fully prepare for trial

  and required them to expend resources completing depositions well past the discovery deadline.

  Much of this case now centers on the damages Sunoco owes. Any change to the damages

  calculations bears on central questions in this case. Regardless of whether Sunoco acted willfully

  or in bad faith, Sunoco’s conduct justifies exclusion of Krause’s testimony and opinions.

         On a final note, even if the Court denied the motion, Krause’s opinions would not tip this

  case in Sunoco’s favor. Most of the evidence presented through Krause’s testimony rests on faulty

  assumptions—that Cline bore the burden to prove marketable title and that Ley created an

  unreliable model. For the reasons set forth below, Sunoco, not Cline, bears the burden of proving



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  unmarketable title, and Ley created a reliable model that satisfies Cline’s burden. Moreover,

  Krause’s testimony mostly echoes what Sunoco’s other witnesses have said all along—that

  Sunoco’s suspense codes are not reliable, and that it is too unfair to hold Sunoco liable for violating

  the PRSA because it would be really hard for Sunoco to straighten it all out now. These defenses

  do not carry the day.

          For the foregoing reasons, the Court will grant the motion to strike and will sustain Cline’s

  objections to Krause’s testimony.

                   B. Count One: Breach of Statutory Obligation to Pay Interest

                                               1. Liability

          Cline has met his burden of proving liability by a preponderance of the evidence for the

  entire class.

          For the reasons set forth in the Court’s December 10, 2019 Opinion, “[t]he PRSA requires

  Sunoco to pay interest on late payments at the same time it makes those payments, and Sunoco

  cannot require an interest owner to make a demand for payment before paying that interest.” (Dk.

  No. 231, at 13.) Sunoco’s representative at trial, Eric Koelling, acknowledged that Sunoco

  sometimes pays proceeds late and does not automatically remit interest with the late proceeds.

  (Trial Tr. vol. 1, 77:19 to 78:9.) Koelling also acknowledged that Sunoco generally only pays

  interest when owners ask for it. (Id. 78:10-13.) Koelling further agreed that Sunoco had already

  sent every class member a check for proceeds and that “there is no issue about whether those

  people have a right to be paid their principal proceeds.” (Id. 159:3-12.)

          Ignoring the evidence at trial, Sunoco says that the Court must consider the file of every

  single class member—that it must conduct thousands of mini-trials. As the Court described above,

  however, Ley conducted a thorough and individual assessment of more than 1.5 million late



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  payments. (See Trial Tr. vol. 3, 510:17 to 588:12; Pl.’s Ex. 454.) She determined the date payment

  was due, and the date it was made. She calculated interest. She identified payments that fell

  outside of the class and excluded those payments from her calculations. (Trial Tr. vol. 3, 561:9 to

  570:4, 580:21 to 582:13, 587:14 to 588:12.) This methodology proves liability by a preponderance

  of the evidence.

         Nevertheless, Sunoco attacks Ley’s method as unreliable, mainly arguing that she cannot

  accurately determine marketable title issues. As discussed below, Sunoco, not Cline, bears the

  burden of proving that it withheld payments due to title issues. Thus, Sunoco’s argument that its

  data is unreliable merely faults Ley for being unable to meet Sunoco’s burden regarding the

  applicable interest rate. (See, e.g., Trial Tr. vol. 4, 618:8 to 634:11, 710:12 to 744:22.)18

         Sunoco also says that Ley cannot identify payments that fall outside the class definition.

  Again, Sunoco fails to sufficiently challenge Ley’s methodology. Sunoco primarily relies on

  Krause to establish that Ley’s conclusions are unreliable or incorrect. Because the Court has struck

  his testimony, Sunoco cannot rely on his opinions. Even so, Krause did not identify any payments

  Ley categorized as late because they were paid outside of the six-month and two-month time

  frames. (Trial Tr. vol. 5, 937:3 to 938:8, 943:3-10.) Krause did find a few small errors in Ley’s




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             Sunoco’s focus on this point also underscores a separate flaw in its argument. The PRSA
  requires that interest accrue at 6 percent “until such time as the title to such interest becomes
  marketable.” § 570.10(D)(2)(a). When title is not marketable, Sunoco “is not [ ] required to pay
  until the other party has cleared up his title.” In re Tulsa Energy, Inc., 111 F.3d 88, 90 (10th Cir.
  1997). Interest, however, still accrues, albeit at 6 percent. At most, the defendant’s argument
  would reduce the amount of interest it owes, a defense on which it has the burden of proof. This
  litigation only focuses on interest owed on payments Sunoco already made. Thus, when Sunoco
  paid an owner the proceeds, Sunoco essentially determined that it was liable for that payment in
  some capacity.
           To the extent that Sunoco argues that it sometimes paid owners as a “business decision,” it
  has provided little concrete evidence to rebut Ley’s methodology and conclusions regarding class-
  wide liability. (Trial Tr. vol. 1, 158:3-14.)
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  methodology, and relied on them to conclude that the entire model was unreliable. (See Trial Tr.

  vol. 3, 565:20 to 566:21; Trial Tr. vol. 4, 860:13 to 861:24; Trial Tr. vol. 5, 945:8-20.) The Court

  cannot resolve this case based on a hypothetical challenge. Thus, even if the Court considered

  Krause’s opinions, a few examples of small errors in a document spanning millions of lines of data

  does not undermine the credibility of Ley’s testimony or methodology.

         Next, relying on Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), Sunoco tries to

  characterize this litigation as a “trial by spreadsheet.” In Dukes, the Supreme Court determined

  that a class certified under Rule 23(b)(2) could not seek individualized money damages for

  violations of Title VII of the Civil Rights Act of 1964. The Supreme Court distinguished the class

  certified under Rule 23(b)(2) from one certified under Rule 23(b)(3), which “allows class

  certification in a much wider set of circumstances but with greater procedural protections.” Id. at

  362. The Court disagreed with the approach to determining liability, in which “[a] sample set of

  the class members would be selected, as to whom liability for sex discrimination and the backpay

  owing as a result would be determined in depositions supervised by a [special] master.” Id. at 367.

  Under this approach, the special master would determine “[t]he percentage of claims . . . to be

  valid . . . and then . . . appl[y] [that percentage] to the entire remaining class.” Id. Each class

  member would receive an average back pay award.

         Here, the Court certified this class under Rule 23(b)(3), thereby affording the class greater

  protections than enjoyed by the class in Dukes. Further, the class members will not receive an

  average damages award based on representative claims. As explained above, Ley has examined

  each payment and determined liability for each class member.           Essentially, Sunoco saw a

  spreadsheet and cried foul. But for the above reasons, Sunoco has not endured a “trial by

  spreadsheet.”



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         Finally, Sunoco argues that Cline failed to prove that Sunoco alone caused the harm. Under

  the PRSA, “[w]here royalty proceeds are paid incorrectly as a result of an error or omission, the

  party whose error or omission caused the incorrect royalty payments shall be liable for the

  additional royalty proceeds on such production and all resulting costs or damages incurred by the

  party making the incorrect payment.”19 § 570.10(C)(4) (emphasis added). Under that provision’s

  plain language, the party causing the error or omission must pay Sunoco for costs associated with

  the incorrect payment. That provision, however, does not change Sunoco’s obligations to pay

  owners on time when it undertakes the responsibility to do so. (See Trial Tr. vol. 1, 85:21 to

  86:8.)20

         Here, Sunoco was a first purchaser that paid owners late during the class period. Thus,

  Sunoco owes interest on those late payments. Accordingly, Cline has established liability under

  Count One.

                                       2. Default Interest Rate

         Next, the parties dispute whether the 12 percent interest rate or the 6 percent interest rate

  applies by default, and which party bears the burden of proving that the non-default rate applies.

         “Legislative intent controls statutory interpretation.” Krug, 362 P.3d at 210. “The obvious

  overriding purpose of the [PRSA] is to ensure that royalty owners are timely paid their share of

  the proceeds. The [Oklahoma] Legislature has followed a path of strengthening mineral owners[’]




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           The Court assumes for the purposes of this argument that the PRSA considers a late
  payment an “incorrect payment.”
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              For the same reasons, the Court rejects Sunoco’s arguments regarding liability issues
  related to indemnity agreements. Whether Sunoco can later recover from another party for its
  liability in this lawsuit is not before the Court.


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  rights since the [PRSA’s] inception.” Id. at 214. Against that background, the Court reaches the

  unremarkable conclusion that the PRSA sets forth a 12 percent default interest rate.

         Under the PRSA,

         [e]xcept as otherwise provided in paragraph 2 of this subsection, where proceeds
         from the sale of oil or gas production or some portion of such proceeds are not paid
         prior to the end of the applicable time periods provided in this section, that portion
         not timely paid shall earn interest at the rate of twelve percent (12%) per annum
         to be compounded annually"

  § 570.10(D)(1) (emphasis added). The “paragraph 2” referred to in that provision describes when

  a 6 percent interest rate applies for unmarketable title. Thus, the statute defines the 6 percent

  interest rate as an exception, not a rule. See Roberts Ranch Co. v. Exxon Corp., 43 F. Supp. 2d

  1252, 1275 (W.D. Okla. 1997) (“[T]he only exception to the twelve percent interest provision is

  where the proceeds are not paid because the title to the royalties is not marketable, in which case

  the unpaid royalties bear interest at the annual rate of six percent (6%).”) The only question that

  remains, therefore, is who bears the burden of proving which interest rate applies in this case?

         Sunoco argues that Tulsa Energy should inform the Court’s analysis. 111 F.3d 88. In

  Tulsa Energy, the Tenth Circuit considered whether the parties could waive the interest provision

  in a division order. In its analysis, the Tenth Circuit explained that “[i]t is the interest owner’s

  responsibility to establish marketable title so that he can receive proceeds.” Id. at 90. The court

  then concluded that parties may waive the 6 percent interest rate because that rate “merely

  compensates the party entitled to payment for the use of his money until he can establish

  marketable title.” Id. at 91 (quotations omitted).

         Here, the Court has limited the class definition to those whom Sunoco has paid proceeds

  but failed to pay interest. (See Dk. No. 127, at 1.) Thus, whether the class members bore the




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  burden of proving marketable title to receive the proceeds in the first place makes no difference.

  Sunoco has already remitted payments to the class in some fashion. Now, it must pay the interest.

         Instead, the Court considers Quinlan v. Koch Oil Co., 25 F.3d 936 (10th Cir. 1994),

  instructive. In Quinlan, the Tenth Circuit rejected the argument that the plaintiff “was not entitled

  to twelve percent interest because he was not legally entitled to the proceeds as he failed to show

  either marketable title or sign a division order.” Id. at 939 (quotations omitted). Because no

  question as to marketability of title existed with regard to the plaintiff’s oil interest, the Tenth

  Circuit explained that the PRSA “did not require [the plaintiff] to make an affirmative showing of

  marketable title at that time in order to be deemed ‘legally entitled to the proceeds.’” Id. at 939-

  40. Further, the Tenth Circuit declined to impose a burden on the interest owner to prove

  marketable title for every royalty payment.

         Unmarketability is, in essence, an affirmative defense. In making its argument, Sunoco

  agrees it owes some interest under the statute, but says that those payments falls into an exception

  to the general rule. The burden of proving an affirmative defense rests with the defendant.

  Meacham v. Knolls Atomic Power Lab., 554 U.S. 84, 92 (2008); NLRB v. Transp. Mgmt. Corp.,

  462 U.S. 393, 400 (1983); Roberts v. Barreras, 484 F.3d 1236, 1241 (10th Cir. 2007) (“[T]he

  burden of proving all affirmative defenses rests on the defendant.”). The burden is not only to put

  the defense in issue, but also to ultimately prove it. See Roberts, 484 F.3d at 1241.

         Sunoco’s entire argument rests on its suspense codes. But its own witness called them a

  “crude surrogate” for issues of marketability. (See Trial Tr. vol. 4, 715:5.) Sunoco did not identify

  a single case in which an owner did not have marketable title. In fact, Sunoco has already paid

  owners their proceeds and has not raised any legitimate questions about marketability. Thus,




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  applying Quinlan’s holding more broadly, the Court concludes that the PRSA imposes the burden

  on Sunoco—not Cline—to prove that it withheld the payments at issue due to unmarketable title.21

          In sum, the PRSA requires first purchasers and holders of proceeds, such as Sunoco, to pay

  12 percent interest on late payments by default. The first purchaser and holder of proceeds bears

  the burden of proving that it withheld payment due to unmarketable title such that it only owes 6

  percent interest on the late payment. Accordingly, Sunoco bore the burden of establishing that a

  6 percent interest rate applied to any of the late payments at issue in this case.

                                             3. Unclaimed Funds

          The parties dispute whether (and when) Sunoco is liable for interest on unclaimed funds.

  Sunoco contends that it does not owe interest on these funds when it pays the funds to the state.

  (See, e.g., Trial Tr. vol. 1, 139:9-15.)

                                                a. Standing

          The class members entitled to unclaimed funds have standing to seek damages. To have

  standing, a plaintiff must prove (1) that he suffered an injury in fact that is “concrete and

  particularized and . . . actual or imminent, not conjectural or hypothetical;” (2) that the injury is

  “fairly traceable to the challenged action of the defendant;” and (3) that it is “likely, as opposed to

  merely speculative, that the injury will be redressed by the relief requested.” Tandy v. City of

  Wichita, 380 F.3d 1277, 1283 (10th Cir. 2004); see Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-

  61 (1992).



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            Sunoco has vigorously argued that its own records are too unreliable to explain why it
  made a late payment. If the Court interpreted the PRSA to impose on the owners the burden to
  prove why Sunoco withheld payment, the Court would effectively allow Sunoco to hide behind a
  mess of its own making, claiming innocence. Moreover, Sunoco, not the owner, is in the best
  position to know the reasons Sunoco made a late payment. Thus, placing the burden on the owner
  to prove why Sunoco made a late payment would undermine the purpose of the PRSA.


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           Cline has proven that all class members suffered an injury, including those entitled to

  unclaimed funds. For most payments to unclaimed property funds, Sunoco knew the identity of

  the owner. Even where Cline has not provided the precise identities for some class members,

  Ley’s methodology identified late payments—payments Sunoco determined it owed to someone—

  on which Sunoco did not pay interest. Moreover, Sunoco admitted that it does not pay interest

  when it sends proceeds to a state. (Trial Tr. vol. 1, 132:22-25.) As the Court explained on

  November 26, 2019, “the owners’ right to the funds in question . . . exists, whether the owners take

  possession of the funds themselves or a state holds the money for them.” (Dk. No. 186, at 1.)

  Once the state receives the money on behalf of the individual, the owner can claim the money.

  See, e.g., Okla. Stat. tit. 60, §§ 661, 663-64, 674-75; Tex. Prop. Code Ann. §§ 74.304, 74.501.

  Paying the state amounts to paying the owner or an agent or trustee on behalf of the owner. Thus,

  each class member has suffered an injury because Sunoco has withheld interest it owes to the

  owner.

           Sunoco creatively argues that those entitled to unclaimed funds do not have a concrete

  injury because the owners have not asked for the proceeds, and therefore, are not aggrieved by a

  lack of interest. (See Dk. No. 274, at 22.) This argument implies that an owner suffers no injury

  if the owner never realizes that Sunoco owes the owner proceeds. No matter how one looks at it,

  Sunoco has kept someone else’s money, a classic example of a concrete injury. The failure to pay

  interest on late proceed payments—regardless of whether Sunoco has identified or located the

  owner—“affect[s] the [owner] in a personal and individual way,” creating an injury that “actually

  exist[s].” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016), as revised (May 24, 2016).

           Essentially, the owners of unclaimed funds suffer an injury at the moment Sunoco fails to

  pay interest on the late payment. Requesting the proceeds or interest, therefore, cannot be a



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  precondition to suffering an injury for Sunoco’s violation of the PRSA for failing to pay interest

  on late payments without a request.

          Next, Sunoco argues that it has not caused the unidentified class members’ injuries because

  those class members have not claimed their proceeds. (Dk. No. 274, at 23.) This argument is a

  thinly veiled effort to shift the blame to those who had a right to the money in the first place. The

  PRSA requires Sunoco to pay interest on proceeds, which Sunoco did not pay. Thus, Sunoco

  caused the class members’ injuries. See Nova Health Sys. v. Gandy, 416 F.3d 1149, 1156 (10th

  Cir. 2005) (“Article III . . . require[s] proof of a substantial likelihood that the defendant’s conduct

  caused plaintiff’s injury in fact.”).

          Finally, Sunoco argues that Cline has not established redressability because “a judgment

  awarding interest to the owners of unclaimed proceeds likely would be of no practical benefit to

  them.” (Dk. No. 274, at 23.) As with the injury analysis, Sunoco asks the Court to relieve it of its

  legal obligations because a royalty interest owner has not yet claimed the funds. This argument

  “misconstrue[s] the nature of [the] redressability inquiry.” Sprint Commc’ns Co., L.P. v. APCC

  Servs., Inc., 554 U.S. 269, 286 (2008). The Court must consider “whether the injury that a plaintiff

  alleges is likely to be redressed through the litigation.” Id. at 287. The Court’s judgment must

  “redress[ ] the plaintiff’s injury . . . directly or indirectly.” Nova Health Sys., 416 F.3d at 1159.

  “[T]he requirement of redressability ensures that the injury can likely be ameliorated by a favorable

  decision.” S. Utah Wilderness All. v. Office of Surface Mining Reclamation & Enf’t, 620 F.3d

  1227, 1233 (10th Cir. 2010).

          Here, the class members’ injuries occurred when Sunoco made a late payment without the

  required interest. An award of damages will compensate the unidentified or unlocated owners for

  the interest owed on those late payments. Once the relevant state receives the damages award on



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  behalf of the owner, the owner may claim that interest at any time. At a minimum, this provides

  indirect relief for the injury. See Nova Health Sys., 416 F.3d at 1159. Thus, a damages award will

  redress the injury that each class member suffered as a result of Sunoco’s violations of the PRSA,

  regardless of whether the owner is identified.22 Accordingly, owners entitled to unclaimed funds

  have standing.

                                           b. PRSA Language

           The Court has already concluded that paying the state unclaimed property fund amounts to

  paying the owner or a trustee on behalf of the owner. (Dk. No. 186.) If Sunoco could hold

  proceeds without interest until it sends the proceeds to unclaimed funds, that would “contradict[ ]

  the purpose of the PRSA, which Oklahoma adopted to prevent exactly this kind of windfall.” (Id.

  at 4.)

           Indeed, the Court’s analysis regarding the interest owed on unclaimed funds begins and

  ends with the language of the PRSA. Section 570.10 provides,

           Except as otherwise provided in this section:

           1. Proceeds from the sale of oil or gas production from an oil or gas well shall be
           paid to persons legally entitled thereto:

           a. commencing not later than six (6) months after the date of first sale, and

           b. thereafter not later than the last day of the second succeeding month after the end
           of the month within which such production is sold.

  § 570.10(B)(1) (emphasis added). The PRSA, therefore, sets forth the precise timeframes by

  which Sunoco must pay proceeds. The PRSA further excepts certain payments from its timing




           22
            Because the injuries to the unidentified or unlocated owners of unclaimed funds have
  already occurred, their claims are ripe for adjudication. See Texas v. United States, 523 U.S. 296,
  300 (1998) (“A claim is not ripe for adjudication if it rests upon contingent future events that may
  not occur as anticipated, or indeed may not occur at all.” (quotations omitted)).
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  requirements. See, e.g., § 570.10(B)(3). Those exceptions do not include unclaimed funds. See

  World Pub’g Co. v. Miller, 32 P.3d 829, 833 (Okla. 2001) (“Th[e] [Oklahoma Supreme] Court

  does not read exceptions into a statute not made by the Legislature.”). The PRSA’s timing

  requirements, therefore, apply to unclaimed funds.

          Moreover, because interest accrues “until the date paid,” interest accrues until the

  proceeds—including interest on late payments—are paid to the relevant state.23 See, e.g., Okla.

  Stat. tit. 60, §§ 661, 663-64, 674-75; Tex. Prop. Code Ann. §§ 74.304, 74.501; see also Cockerell

  Oil Props., Ltd v. Unit Petroleum Co., No. CIV-16-135, 2020 WL 2110904, at *2 (E.D. Okla. May

  4, 2020) (“The term as used in the PRSA is, therefore, found to be unambiguous and providing for

  the annual accrual of interest on the accumulated interest on any unpaid proceeds not paid timely

  under the provisions of that statute.”).

          Accordingly, Sunoco must pay interest on unclaimed funds from the date the interest

  payment is late under the PRSA through the date it remits those funds as unclaimed property to

  the relevant state.24



          23
            Sunoco lodges a bevy of challenges related to unclaimed funds, including that unclaimed
  funds involve numerous individual questions and that the unclaimed funds statutes of each state
  conflict with the PRSA and implicate constitutional concerns. The Court rejects those arguments.
  Sunoco has previously sent payments to unclaimed funds, so it can identify the state to which the
  payment is due. (See, e.g., 131:8 to 139:25.) Sunoco has also summarized the period of time that
  must elapse before a state considers property abandoned. (Dk. No. 275, at 98-99.) Further, the
  PRSA requires Sunoco to pay proceeds on time and creates a consequence for not doing so; the
  unclaimed funds statutes set timelines for remitting the funds only if Sunoco’s efforts to locate
  owners do not work. Thus, despite the deadline in the unclaimed funds statutes, Sunoco remains
  free to try to locate and identify the owners. Sunoco, therefore, has failed to show that
  (1) individual questions predominate in this regard; (2) the various states’ unclaimed funds statutes
  conflict with the PRSA’s interest payment requirements or otherwise control in this case; or (3) any
  purported conflicts between the PRSA timing requirements and the unclaimed funds statutes raise
  due process concerns.

          The Court rejects Sunoco’s argument that it should be excused from complying with the
          24

  PRSA because it relied on industry custom and could not possibly determine the applicable interest
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                                        4. Compound Interest

         Sunoco argues that once it makes the late payment to the interest owner, statutory interest

  stops accruing. Cline contends that Sunoco owes compound interest until Sunoco pays the

  statutory interest. Sunoco refers to this as “interest on interest,” in an attempt to make it sound

  like something exotic or unusual. In fact, compound interest is a common feature in investments

  and means simply that interest becomes part of the principal and therefore earns interest. See Kate

  Ashford,    What    is   Compound      Interest?,     Forbes   (Aug.    12,   2020,    1:18      p.m.),

  https://www.forbes.com/advisor/investing/compound-interest/.

         Under the PRSA,

         where proceeds from the sale of oil or gas production or some portion of such
         proceeds are not paid prior to the end of the applicable time periods provided in this
         section, that portion not timely paid shall earn interest at the rate of twelve percent
         (12%) per annum to be compounded annually, calculated from the end of the month
         in which such production is sold until the day paid.

  § 570.10(D)(1). Essentially, Sunoco interprets “until the day paid” to mean “until the day Sunoco

  paid the proceeds.” Thus, Sunoco argues that it does not owe compound interest.




  rate at the same time it makes a late payment. Moreover, Sunoco’s repeated proclamations that it
  simply misinterpreted the law falls short. If Sunoco could escape liability because it misinterpreted
  the statute or because it believed its actions were legal because everyone else was doing it, that
  would undermine the remedy enacted by the Oklahoma Legislature to address the precise conduct
  that Sunoco has engaged in. Cf. Creekmore v. Pomeroy IT Sols., Inc., No. 10-cv-0091, 2010 WL
  3702543, at *2 (N.D. Okla. Sept. 16, 2010) (“Permitting a defendant to plead ignorance of the
  requirements of the Testing Act would have virtually eliminated the civil remedy created by the
  Testing Act, and would have reserved a civil remedy only for the most extreme violations.”
  (quotations omitted)). Further, Sunoco presented testimony that shows that compliance may have
  been difficult, but it failed to establish that compliance was impossible. Indeed, Sunoco could
  calculate interest when someone requested interest. (See, e.g., Trial Tr. vol. 1, 90:8-20, 99:8-15;
  Holland Dep. 34:8-24.) To the extent that Sunoco argues that the PRSA is void for vagueness, the
  fact that Sunoco misunderstood the PRSA’s requirements does not make the PRSA “so vague and
  indefinite as really to be no rule or standard at all.” A.B. Small Co. v. Am. Sugar Ref. Co., 267
  U.S. 233, 239 (1925).


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          The Court recently resolved this question in a different case, concluding that the plain

  language of the PRSA “provides for compounding of interest until the full amount—the proceeds

  due and the accrued interest—are paid in accordance with the terms of the statute,” Cockerell Oil

  Props., 2020 WL 2110904, at *1-2 (emphasis added). The Court finds Cockerell Oil persuasive

  and adopts the reasoning set forth therein. Id. Further, Ley’s model adequately compounds interest

  on the payments at issue in this case. (See, e.g., Trial Tr. vol. 3, 526:23 to 527:25.) Accordingly,

  the PRSA requires Sunoco to pay interest on interest, and Ley’s model adequately calculates

  compound interest for the payments at issue in this case.

                                         C. Count Two: Fraud

          Cline has not proven fraud.       Oklahoma recognizes two types of fraud—actual and

  constructive. “To be actionable, both actual fraud and constructive fraud require detrimental

  reliance by the person complaining.” Howell v. Texaco Inc., 112 P.3d 1154, 1161 (Okla. 2004).

  “Fraud is never presumed, but must be proven by clear and convincing evidence.” 25 Tice v. Tice,

  672 P.2d 1168, 1171 (Okla. 1983).

          As explained above, the PRSA sets forth the information Sunoco must include when it

  remits payment. See § 570.12. “The PRSA . . . give[s] the royalty owners a right to be accurately

  informed of the facts and place[s] a legal duty on the [first purchasers and holders of proceeds] to

  accurately inform the plaintiffs of the facts on which the royalty payments are based.” Howell,

  112 P.3d at 1161. The plain language of the PRSA creates a legal duty for Sunoco to provide the

  information set forth in § 570.12. See id.




          25
            “[C]lear and convincing evidence is the measure or degree of proof which will produce
  in the mind of the trier of fact a firm belief or conviction as to the truth of the allegation sought to
  be established.” In re C.D.P.F., 243 P.3d 21, 23 (Okla. 2010).
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         Cline does not argue that Sunoco failed to comply with the PRSA’s explicit requirements

  under § 570.12. (Closing Arg. Tr. 196:2-6); cf. Howell, 112 P.3d at 1161 (“The respondents failed

  to include any statements or evidentiary materials in their motions for partial summary judgment

  showing that they complied with the PRSA.”). Compare § 570.12, with (Pl.’s Ex. 520). Rather,

  Cline contends the class relied on Sunoco’s “material misrepresentations and omissions to their

  detriment” because “[t]hey cashed the checks they received from Sunoco believing that Sunoco

  paid them all the monies they were owed.” (Dk. No. 272, at 43.)

         The Court doubts that an additional duty exists for Sunoco to inform interest owners that

  it withheld interest from a late payment. See Wylie v. Chesser, 173 P.3d 64, 71 (Okla. 2007) (“If

  a statute is plain and unambiguous and its meaning clear and no occasion exists for the application

  of rules of construction a statute will be accorded the meaning expressed by the language used.”).

  In any event, Cline has failed to establish class-wide detrimental reliance based on Sunoco’s check

  stubs. For instance, owners entitled to interest on unclaimed funds did not cash—and likely, did

  not see—the checks. Thus, Cline has not shown that those class members have relied on the

  information contained on the check stubs. See Buford White Lumber Co. Profit Sharing & Sav.

  Plan & Tr. v. Octagon Props., Ltd., 740 F. Supp. 1553, 1570 (W.D. Okla. 1989) (“The alleged

  misrepresentations need not be the sole inducement which causes a party to take action, but they

  must be that without which the party would not have acted.” (emphasis added)). Moreover, the

  information on the check stubs allowed an owner to determine whether she had received interest

  and, if so, in what amount. Accordingly, Cline has not proven class-wide detrimental reliance by

  clear and convincing evidence sufficient to prove fraud.




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                                              D. Relief26

                                         1. Actual Damages27

                                          a. Damages Award

         For the reasons set forth above, Cline has established class-wide liability, and Sunoco must

  pay compound interest. Further, the Court has concluded that the PRSA applies a 12 percent

  interest rate to unpaid proceeds by default, and that Sunoco bears the burden of proving when a 6

  percent interest rate applies. Unfortunately for Sunoco, it has failed to meet its burden of proving

  that 6 percent interest applies to any of the late payments.

         Sunoco repeatedly emphasized that its own data cannot reliably establish why a payment

  was late. (See, e.g., Trial Tr. vol. 1, 222:2-7, 223:17-25.) Epperson opined that the codes were

  “simply a crude surrogate” for identifying payments made due to unmarketable title. (Trial Tr.

  vol. 4, 715:5.) He also agreed that none “of [Sunoco’s] codes provide a definitively accurate

  determination of marketability or unmarketability without doing a more elaborate search of

  Sunoco’s records and potentially even public records.” (Id. 718:9-14.) Further, at trial, Koelling

  explained that the ability to locate an interest owner does not mean that the owner has marketable

  title. (Trial Tr. vol 1, 133:23-25.) Under that reasoning, the inverse is also true—being unable to



         26
              Based on the post-trial briefs and closing arguments, Cline no longer seeks equitable
  relief if the Court awards actual and punitive damages. (See, e.g., Dk. No. 272, at 53.) Because
  the Court will award those damages, it will not award an accounting, disgorgement, or an
  injunction.
         27
            Sunoco argues that “Cline . . . concedes that the actual class damages claimed at trial
  ($74,763,113) should be reduced by $8,033,00.60 for the ‘undivided’ category of unclaimed funds
  paid to the states and by $5,790,028 based on the Krause identification of payments associated
  with Epperson’s ‘unmarketable’ suspense codes.” (Dk. No. 279, at 28.) Cline, however, only
  agrees to reduce the damages award by those amounts if the Court concludes that Sunoco met its
  burden of proving unmarketable title at trial. (See Closing Arg. Tr. 16:23 to 17:2; see also Dk.
  No. 272, at 20.) Accordingly, the Court will consider whether Sunoco has met its burden of
  proving marketable title as to those two figures.
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  locate an interest owner does not mean that that owner has unmarketable title. Indeed, Sunoco has

  not proffered—nor could the Court find—any authority holding that a company’s inability to

  locate or identify an owner makes the title to that owner’s interest unmarketable per se.

          In sum, Sunoco has failed to establish by a preponderance of the evidence that Sunoco

  withheld any of the late payments at issue due to unmarketable title. Accordingly, 12 percent

  interest applies to all late payments in this case.28

                                            b. Fluid Damages

          Relying primarily on Eisen v. Carlisle & Jacquelin,29 Sunoco contends that the presence

  of unidentified class members deprives Sunoco of its due process rights, making a damages award

  unconstitutional. (Dk. No. 274, at 49-50.) As noted above, Cline has offered evidence that

  questions whether many of these individuals truly cannot be located. In any event, Sunoco has

  misplaced its reliance on Eisen.




          28
             The Court construes Sunoco’s argument that the class did not mitigate its damages
  because owners failed to provide Sunoco with updated contact information as a challenge to the
  Court’s class certification decision. To the extent that Sunoco also raises this argument as a
  challenge to liability and damages, that argument ignores that the PRSA requires Sunoco to pay
  interest regardless of the reason for the late payment. See § 570.10(D). For that same reason, the
  argument that a class member has waived interest by preventing payment also fails. Further, the
  Court rejects Sunoco’s argument that some class members may have waived interest by contract.
  First, Sunoco did not prove by a preponderance of the evidence that the class members were parties
  to contracts waiving the interest requirement. Second, as explained above, the Court concludes
  that a 12 percent interest rate applies to all late payments in this case. In Tulsa Energy, the Tenth
  Circuit held that parties cannot waive the 12 percent interest rate for public policy reasons. 111
  F.3d at 90. Although Sunoco argues that the Oklahoma Supreme Court later concluded that PRSA
  claims are contractual, see Purcell v. Santa Fe Minerals, 961 P.2d 188, 193 (Okla. 1998)—
  implying that a party can now waive that interest—neither the Oklahoma Supreme Court nor the
  Tenth Circuit have cast doubt on the holding in Tulsa Energy. Thus, pursuant to Tulsa Energy,
  the parties cannot waive the 12 percent interest rate requirement.
          29
               479 F.2d 1005 (2d Cir. 1973), vacated on other grounds, 417 U.S. 156 (1974).
                                                     40

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         Eisen involved a six-million-member class of individuals throughout the world who bought

  or sold odd lots on the New York Stock Exchange from 1962 through 1966. Millions of

  unidentified class members would receive notice by publication through extensive efforts. After

  several appeals, the district judge substituted individual claimants for “the class as a whole.” Eisen,

  479 F.2d at 1010. Under the district court’s plan, after the defendants distributed the damages

  award to the court, counsel would continue to publish notices soliciting claims. Importantly, the

  U.S. Court of Appeals for the Second Circuit suspected that few individuals would ever be

  identified or file claims, and the court could not discern how the district court expected to disburse

  the remainder of the “huge residue.” Id. at 1010-11. The Court further noted that “the expenses

  of giving the notices required by . . . Rule 23 and the general costs of administration of the action

  would exceed the amount due to the few members of the class who filed claims and the individual

  members of the class would get nothing.” Id. at 1018.

         This case does not present the same manageability problems at issue in Eisen. The Court

  has not substituted individual claimants with the class as a whole. Nor has Ley’s methodology

  simply aggregated damages into one lump payment without considering Sunoco’s liability to every

  class member. Rather, Ley has calculated individual damages through a standard methodology,

  and Sunoco has had the opportunity to rebut those calculations. See McLaughlin v. Am. Tobacco

  Co., 522 F.3d 215, 232 (2d Cir. 2008), abrogated on other grounds by Bridge v. Phx. Bond &

  Indem. Co., 553 U.S. 639 (2008) (explaining the right to raise individual defenses against the class

  members “does not mean that defendants are constitutionally entitled to compel a parade of

  individual plaintiffs to establish damages” (quotations omitted)). Moreover, this action is far from

  “hopelessly unmanageable” due to the unidentified class members. Eisen, 479 F.2d at 1010. To




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  the extent that Cline cannot identify the owner owed the funds, Cline need only send that member’s

  portion of the damages to the same place Sunoco remitted the underlying unclaimed funds.

         Accordingly, recovery in this case does not “mask the prevalence of individual issues [such

  that] it is an impermissible affront to defendants’ due process rights.” McLaughlin, 522 F.3d at

  232.

                                       2. Punitive Damages30

         Cline must clear two hurdles to receive punitive damages: first, Cline must show that

  Sunoco’s conduct meets the standard set forth in the Energy Litigation Reform Act (“ELRA”),

  Okla. Stat. tit. 52, § 903; and second, Cline must show that Sunoco’s conduct meets the

  requirements set forth in Oklahoma’s punitive damages statute, Okla. Stat. tit. 23, § 9.1.

                                               a. ELRA

         Under the ELRA, the PRSA “provide[s] the exclusive remedy to a person entitled to

  proceeds from production for failure of a holder to pay the proceeds within the time periods

  required for payment.” § 903. A plaintiff may recover punitive damages, however, if the Court

  determines

         upon clear and convincing evidence that the holder who failed to pay such proceeds
         did so with the actual, knowing[,] and willful intent: (a) to deceive the person to
         whom the proceeds were due, or (b) to deprive proceeds from the person the holder
         knows, or is aware, is legally entitled thereto.

  Id. Cline, therefore, must first show that Sunoco’s conduct overcomes the ELRA’s bar to punitive

  damages.




         30
            In its motion to dismiss, Sunoco argued that Cline waived his claim to punitive damages
  by failing to include those damages in his initial disclosures. (Dk. No. 117, at 3, 11-12.) Sunoco
  never moved to strike that request.


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          As an initial matter, Sunoco argues that the ELRA only applies to claims for “proceeds,”

  not “interest.” But “it is the failure to timely pay ‘proceeds’ that leads to the recovery of ‘interest.’”

  Cockerell Oil Props., Ltd v. Unit Petroleum Co., No. CIV-16-135, 2020 WL 974875, at *6 (E.D.

  Okla. Feb. 28, 2020), modified on other grounds on reconsideration, 2020 WL 2110904. Thus,

  the ELRA does not bar Cline’s claim in that respect.

          Next, the Court concludes that Sunoco acted with “the actual, knowing[,] and willful

  intent: . . . to deprive proceeds from the person the holder knows, or is aware, is legally entitled

  thereto.” § 903. Sunoco says that it had a good faith belief that it did not have to pay interest

  automatically based in large part on industry practice. (See Dk. No. 274, at 46.)

          As thousands of mothers have told their children, the fact that everyone does something

  does not make it right. Here, an industry (apparently supported by its lawyers) decided that it owes

  interest that it never has to pay. This myopic group-think does not excuse keeping millions of

  dollars of other people’s money.

          At trial, Koelling confirmed that Sunoco knew that it owed interest to royalty owners for

  the late payments. (Trial Tr. vol. 1, 82:20 to 85:19.) Sunoco also admitted that it generally waited

  for owners to ask for that interest rather than pay the interest automatically. (Id. 78:6-9, 82:20 to

  83:23.) Further, Cline introduced other evidence, such as emails, that established that Sunoco is

  aware of its legal obligation to pay interest and its intent to keep the interest absent a request,

  thereby depriving owners of the interest Sunoco owed them. (See, e.g., Pl.’s Ex. 38.)

          Thus, Cline proved by clear and convincing evidence that Sunoco knew it owed interest

  payments and intentionally withheld that interest until—and unless—the owner finally asked for

  the interest. Accordingly, the ELRA allows punitive damages in this case.




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                              b. Oklahoma’s Punitive Damages Statute31

         Cline seeks an award of punitive damages equal to twice the class’ actual damages, or in

  the alternative, to the amount of the class’ actual damages.

         When the factfinder finds by clear and convincing evidence that the defendant acted with

  reckless disregard for the rights of others, the Court may award punitive damages equal to the

  amount of actual damages awarded. Okla. Stat. tit. 23, § 9.1(B). Reckless disregard requires the

  plaintiff to prove that the defendant “was either aware, or did not care, that there was a substantial

  and unnecessary risk that [its] conduct would cause serious injury to others.” Beavers v. Victorian,

  38 F. Supp. 3d 1260, 1273-74 (W.D. Okla. 2014) (quoting Okla. Unif. Civil Jury Instr. 5.6).

         When the factfinder finds by clear and convincing evidence that the defendant acted

  intentionally with malice towards others, the Court may award twice the amount of actual

  damages. Id. § 9.1(C). Malice “requires that the action complained of be actuated by ill will or

  hatred and may be inferred from a willful action in reckless or wanton disregard for the rights of

  another.” Chavez v. Sears, Roebuck & Co., 525 F.2d 827, 830 (10th Cir. 1975).32



         31
            Sunoco argues that Cline cannot recover for punitive damages pursuant to Oklahoma’s
  punitive damages statute because the punitive damages statute only applies to actions “for the
  breach of an obligation not arising from contract.” § 9.1(A). Sunoco says that PRSA claims are
  contractual in nature. The cases Sunoco relies on considered PRSA claims as contractual for the
  purposes of determining (1) the statute of limitations, Purcell, 961 P.2d at 193, and (2) whether a
  party owed owners interest on a settlement payment, see Krug, 362 P.3d at 210-13 (concluding
  that the PRSA was inapplicable to that case). Neither case considered whether punitive damages
  are available for the type of claim at issue here, and the ELRA specifically contemplates an award
  of punitive damages if the defendant’s conduct meets its threshold requirements. See § 903.
  “Clearly, an exception exists under the [ELRA] for the availability of a punitive damage claim,
  should [the plaintiff] make the appropriate showing,” Cockerell Oil Props., 2020 WL 974875, at
  *6. Accordingly, § 9.1 does not bar recovery for punitive damages.
         32
            See Hamilton v. Amwar Petroleum Co., 769 P.2d 146, 149 (Okla. 1989) (“Showings
  necessary for a punitive damage award require a higher standard of culpability, i.e., fraud[,]
  oppression[,] or malice which is accompanied with some evil intent or recklessly wanton conduct
  as is deemed its equivalent in the law.”).
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         To determine the amount of punitive damages to award, the Court must consider:

         1. The seriousness of the hazard to the public arising from the defendant’s
         misconduct;
         2. The profitability of the misconduct to the defendant;
         3. The duration of the misconduct and any concealment of it;
         4. The degree of the defendant’s awareness of the hazard and of its excessiveness;
         5. The attitude and conduct of the defendant upon discovery of the misconduct or
         hazard;
         6. In the case of a defendant which is a corporation or other entity, the number and
         level of employees involved in causing or concealing the misconduct; and
         7. The financial condition of the defendant.

  § 9.1(A).

         Seriousness and profitability of the misconduct. The public has suffered an enormous

  loss in this case. Sunoco urges the Court to consider that it pays almost all proceeds either early

  or on time. But as of December 16, 2019, Sunoco had withheld more than $74 million on more

  than 1.5 million late payments. (Trial Tr. vol. 3, 554:2-12, 572:5; Pl.’s Ex. 454.) Moreover,

  Sunoco withheld payments from over 50,000 class members. (Trial Tr. vol. 3, 568:21 to 569:1.)

  Despite that large number of class members and late payments, Sunoco does not get many requests

  for interest each year. (See, e.g., Trial Tr. vol. 1, 83:21-24; Holland. Dep. 33:5-15; Pl.’s Ex. 62.)

  Thus, Sunoco has enjoyed an enormous benefit by paying owners late and then withholding

  interest on those late payments—particularly significant in light of the purpose of § 570.10(D).

  See Krug, 362 P.3d at 214.

         Duration of the misconduct, concealment, and awareness. Sunoco has withheld interest

  until an owner asks for it for the entire class period. (See, e.g., Trial Tr. vol. 1, 78:10-13, 82:20-

  23; Pl.’s Ex. 43.) For the reasons set forth above, the Court concludes that Sunoco did not actively

  conceal that it failed to pay interest to interest owners. But Sunoco knew that it owed interest on

  late proceeds and failed to make any effort to identify the late payments and pay the interest owed.




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  (Trial Tr. vol. 1, 79:4-20.) Instead, Sunoco generally waited for a demand for payment before

  paying interest. (Trial Tr. vol. 1, 84:15 to 85:19, 116:3-6; Pl.’s Ex. 339.)

         Attitude and conduct of Sunoco after discovery. Outside of litigation, Sunoco still has not

  tried to calculate the interest it owes on late payments or identify every late payment it has made

  in Oklahoma. (Trial Tr. vol. 1, 79:4-20.) Further, when this Court ruled that interest was due at

  the same time as the late payment, Sunoco decided to “get out of the business” of paying royalty

  proceeds altogether. (Id. 74:10-17.)

         Number and level of employees involved. Sunoco did not formally train its employees on

  the PRSA requirements; they all received on-the-job training. (Id. 97:19 to 98:12; Holland Dep.

  67:1-11.) Company-wide, Sunoco generally does not pay interest unless someone asks for it.

  (Trial Tr. vol. 1, 82:20-23.) In limited or “unusual” circumstances, Sunoco will pay interest

  without a request. (Id. 83:8-11.)

         Financial Condition. Sunoco’s parent company is worth approximately $30 billion.33

  (Pl.’s Ex. 440, at 169.) In Sunoco’s view, the unpaid interest “was never a significant dollar

  amount to [Sunoco]. It was never something where [Sunoco was] going to make a fortune not

  paying the interest.” (Trial Tr. vol. 1, 121:9-11.)

         Sunoco’s conduct probably reflects malice required for a punitive damages award of

  double the amount of compensatory damages under § 9.1(C). Malice here is demonstrated by a

  willful action in reckless and wanton disregard of the rights of others—specifically keeping other

  people’s money. Nevertheless, the Court is reluctant to impose $150 million dollars in punitive

  damages. Generally, Sunoco does a good job of paying proceeds to owners on time, at a better




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           During discovery, Sunoco told Cline to look at the net worth of ETP to determine
  Sunoco’s net worth. (Trial Tr. vol. 5, 948:25 to 951:6.)
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  rate than the petroleum industry as a whole. While it bungled its system for paying interest on late

  payments, an award of double the amount of compensatory damages goes a bit too far.

           Sunoco’s conduct, however, certainly amounts to a reckless disregard of the class

  members’ rights. See § 9.1(B). Sunoco knew that it owed interest on late payments, but it made

  no effort to identify those payments to determine the interest it owed—much less pay that interest.

  (Trial Tr. vol. 1, 79:4-20.) Absent this litigation, Sunoco would have deprived the class members

  of millions of dollars of interest indefinitely. Thus, Sunoco acted with a reckless disregard to a

  risk of serious harm to the class that supports an award of punitive damages. See § 9.1(B).

           Furthermore, this award advances “the primary purpose of punitive damages”—punishing

  the wrongdoer and deterring similar conduct in the future. Thiry v. Armstrong World Indus., 661

  P.2d 515, 517 (Okla. 1983). Sunoco has had these business practices in place for decades yet is

  only being held accountable for late payments made on or after July 7, 2012. Nevertheless,

  although Sunoco may have assumed that “people didn’t care that much about” more than seventy

  million dollars in withheld interest payments (Trial Tr. vol. 1, 93:14-19), this punitive damages

  award will adequately punish Sunoco for failing to comply with § 570.10(D) during the class

  period. Further, such an award will deter Sunoco—and companies like it—from adopting

  “[p]erverse and absurd statutory interpretations . . . in the name of literalism” that perpetuate the

  abuse that the PRSA was designed to correct. Twisdale v. Snow, 325 F. 3d 950, 953 (7th Cir.

  2003).

           Thus, pursuant to § 9.1(B), the Court will award punitive damages of $75 million dollars,

  an amount approximately equal to the class’ actual damages.34



           34
           At this time, the plaintiff has proved damages of just under $75 million. With interest
  added until the date of this Opinion, the Court expects the actual damages amount will exceed $75
  million.
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                                          VI. CONCLUSION

          For the foregoing reasons, the Court will grant the motion to strike Krause as an expert and

  wi ll sustain Cline' s objections to Krause' s testimony at trial. The Comt will enter judgment against

  Sunoco as to Count One and will award the class: (1) actual damages in the amount of the interest

  owed on the late payments identified by Ley, amounting to $74,763,1 13.00 as of December 16,

  20 19, plus any additional interest that has accrued on each payment at a rate of 12 percent,

  compounding annually, from December 17, 20 19, to the date of this Opinion and Order, subject to

  modification based on the updated exclusion requests35; and (2) punitive damages in the amount

  of $75,000,000. The Court will not enter j udgment against Sunoco as to Count Two and will not

  award any equitable relief. The Court will overrule the remaining objections to the exhibits,

  witnesses, depositions, and other evidence.

          The Court wi ll issue an appropriate Order.

          Let the Clerk send a copy of this Opinion to all counsel of record.



  Date: /")  ~ 2020                                                        Isl
                                                          John A. Gibney, Jr.
  Richmond, V
                                                          United States District




          35 As explained earlier, the Court wi ll withhold entering judgment pursuant to Federal Rule

  of Civil Procedure 58 until counsel provides the updated damages calculations to the Court. This
  Opinion and Order, however, will serve as the judgment for the purposes of calculating the final
  interest due.
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF OKLAHOMA

   PERRY CLINE, on behalf of himself
   and all others similarly situated,
                           Plaintiff,

   v.                                                     Civil Action No. 6: 17-cv-313-JAG

   SUNOCO, INC. (R&M), et al.,
                   Defendants.

                                                 OPINION

            Oklahoma's Production Revenue Standards Act ("PRSA") requires a first purchaser of

   crude oil-such as Sunoco, Inc. (R&M), and Sunoco Partners Marketing & Terminals, L.P.

   (collectively, "Sunoco")-to pay promptly for the oil. 1 See Okla. Stat. tit. 52, §§ 570.1-.15. If the

   purchaser pays late, it must pay interest to the owner of the well that produced the oil. This case

   involves Sunoco's failure to pay that interest to Perry Cline and the class he represents. 2

            In August 2020, the Court found for Cline and awarded him damages. Sunoco, however,

   does not concede. In September 2020, Sunoco moved for a new trial and to alter the judgment.

   For the reasons stated below, the Court will deny both motions.

                                            I. BACKGROUND3

            Perry Cline represents a class of owners of interests in oil wells in Oklahoma. Cline sued

   Sunoco under the PRSA for failing to pay the statutory interest on late payments it made on oil




            1
                Oklahoma law calls these payments "proceeds." Okla. Stat. tit. 52, § 570.2(8).
            2
           Cline serves as the named representative of a class certified by the Court on October 3,
   2019. (ECF Nos. 126, 127.) The Court uses the terms "the class" and "Cline" interchangeably.
            3
           The Court detailed the background and procedural history of this case in its August 17,
   2020 Opinion. (See ECF No. 298, at 2-5.)




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   proceeds.

            On December 10, 2019, the Court concluded that the PRSA requires Sunoco to make

   statutory interest payments automatically with late payments. (ECF Nos. 231, 232.) The Court

   held a bench trial on the remaining issues from December 16-19, 2019, and heard closing

   arguments on June 17, 2020.

            On August 17, 2020, the Court announced that Sunoco breached its obligation under the

   PRSA to pay statutory interest on late payments it made on oil proceeds. (ECF No. 298.)

   Accordingly, the Court entered judgment against the company, (ECF Nos. 299), and, on August

   27, 2020, awarded the plaintiffs "damages in the amount of$80,691,486.00 in actual damages and

   $75,000,000.00 in punitive damages," (ECF No. 308).

            On September 24, 2020, Sunoco filed two motions: one for a new trial and one to alter the

   judgment. (ECF Nos. 322, 323.) The Court addresses each motion in tum.

                                  II. MOTION FOR A NEW TRIAL

            Sunoco argues that it "did not have a fair trial" and, therefore, the "Court should order a

   new" one "to prevent an injustice" and avoid violating its Due Process rights. (ECF No. 322, at 4,

   15.) Sunoco makes this argument in two ways. First, Sunoco says that the Court unfairly

   announced its legal conclusion regarding which party bore the burden of proving marketable-title

   issues after trial. (Id. at 9-11, 15-16.) Second, Sunoco claims that when the Court allocated the

   burden of proving marketable-title issues to Sunoco, it "erred as a matter oflaw." (Id. at 16-19.)

   Both arguments fail for the reasons detailed below.




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                           A. Post-Trial Announcement of Legal Conclusion

          According to Sunoco, "the trial was not fair, and a new trial is required to prevent injustice,

   because the Court held-for the first time post-trial-that Sunoco, at trial, bore the burden of proof

   to show which class members had unmarketable title." (Id. at 4-5.) The Court did, indeed, hold

   "for the first time post-trial" that the burden of proof on marketable-title issues fell to Sunoco.

   (See ECF No. 298, at 30-31.) But this post-trial announcement of its "conclusion of law" keeps

   with Federal Rule of Civil Procedure 52(a). (See id. at 2.)

            Rule 52(a)(l) provides that "[i]n an action tried on the facts without a jury," courts must

   state "[t]he findings [of fact] and conclusions [of law] ... on the record after the close of the

   evidence or . . . in an opinion or a memorandum of decision filed by the court." In this case, as

   Rule 52(a)(l) permits, the Court announced its conclusion as to which party bore the burden of

   proof on marketable-title issues in its August 27, 2020 Opinion. (ECF No. 298, at 2, 30-31.)

            Sunoco claims that the Court's conclusion of law on the marketable-title issue surprised

   them. (ECF No. 322, at 15 ("Sunoco had no realistic notice that it would bear the burden of proof

   on the marketable-title issue at trial .... ").) But Sunoco knew that the question of which party

   bore the burden of proof regarding marketable-title issues remained in dispute during the trial. In

   fact, both Sunoco and Cline wrote pretrial briefs on the issue. 4 (ECF Nos. 208, 213.) And the

   Court's reference to its initial thoughts on the issue during the December 11, 2019 pretrial

   conference provided further notice to Sunoco that the issue remained undecided. (See ECF No.

   333, at 12.) The Court, therefore, finds Sunoco's surprise insincere.




            4
             The Court permitted both parties to file "pretrial bench briefs on material issues expected
   to arise at trial." (ECF No. 102113.)
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            The Court also rejects the defendant's claim that the Court deprived it of the opportunity

   to present evidence about marketable-title issues. (ECF No. 322, at 11.) Not only did Sunoco

   never ask for a continuance, but it also did not object to finishing trial a day early. (ECF 298, at

   18; ECF No. 333, at 10.) Sunoco claims that the Court "cut off'' its presentation of evidence when

   it "attempted, at trial, to adduce evidence to demonstrate that individualized evidence was

   necessary to prove why particular payments for particular class members were late" and

   "precluded Sunoco from presenting any 'more [examples] like this."' (ECF No. 322, at 11

   (alteration in original) (quoting Trial Tr. vol. 1, 279:21-280:1).)

            In making this argument, Sunoco boldly mischaracterizes the record. During the incident

   Sunoco cites, the company's lawyers questioned Eric Koelling, Sunoco's representative at trial,

   about the "circumstances" of "three royalty owners" that Sunoco planned to call as witnesses.

   (Trial Tr. vol. 1, 254:19-23). By showing the "circumstances" of these royalty owners, Sunoco

   intended "to show examples of late payments and what it took to figure out" the reason for the late

   payment and how much, if anything, Sunoco owed the royalty owner. (Id at 279:18-19.) Sunoco

   proceeded to ask Koelling questions about the three royalty owners, discussing the difficulties

   Sunoco had determining what it owed each royalty owner. By the time Sunoco reached its

   questions about the third royalty owner, the Court had a firm grasp on the difficulty Sunoco has

   determining how much money the company owes and to whom they owe it. Accordingly, the

   Court characterized further testimony about the third royalty owner's circumstances as "fairly

   cumulative." (Id. at 279:25.)

            Pointing to this exchange for support, Sunoco suggests that the Court would not have

   permitted its presentation of individualized proof of marketable title for each class member. (ECF

   No. 322, at 11.) Considering the context surrounding this exchange and the limited purpose for



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   which Sunoco elicited this testimony, Sunoco's claim rings hollow. The emptiness of Sunoco's

   claim becomes even clearer upon its confession that it could not have presented individualized

   proof of marketable title for the class members even if it had tried.

            In sum, the Court's post-trial announcement of which party bore the burden on marketable-

   title issues complied with Federal Rule of Civil Procedure 52, and, therefore, the Court will deny

   Sunoco's claim that it "did not have a fair trial." (ECF No. 322, at 4.) The Court also rejects

   Sunoco's claim that this post-trial announcement violated its due process rights because it did not

   have "an opportunity to present every available defense"-here, the unmarketability of class

   members' title. (ECF No. 322, at 16 (quoting Lindsey v. Normet, 405 U.S. 56, 66 (1972)). The

   Court did not deny Sunoco the opportunity; Sunoco's records-or lack thereof-denied it the

   opportunity. Accordingly, the Court finds Sunoco' s due process rights remain intact.

                    B. Sunoco Bore tl,e Burden of Proof 011 Marketable-Title Issues

            Sunoco claims that "a new trial is required because the Court erred as a matter of law by

   allocating the burden of proof to Sunoco on the marketable-title issue." (ECF No. 322, at 16.)

   Sunoco says that In re Tulsa Energy, Inc., 111 F.3d 88 (10th Cir. 1997), compels this conclusion.

   For the same reasons discussed in its August 17 Opinion, the Court disagrees. In In re Tulsa

   Energy, Inc., the Tenth Circuit explained that "[i]t is the interest owner's responsibility to establish

   marketable title so that he can receive proceeds." Id. at 90 (emphasis added). Here, Sunoco has

   already paid the class members "proceeds." Sunoco disputes the rate at which it must pay the class

   members interest on those proceeds. In re Tulsa Energy, Inc., therefore, does not compel the

   conclusion Sunoco says it does.

            Sunoco also says the Court erred by allocating "the burden of proof to Sunoco based on

   [its] analysis of Subsection 'D' of the PRSA." (ECF No. 322, at 18.) Instead, Sunoco points the



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   Court towards Subsection "E," the provision under which the plaintiffs sued and which Sunoco
                                                                                           5
   claims "imposes on Plaintiffs the burden of proof' as to which rate of interest applies. (Id. at 19.)

   Again, the Court disagrees and maintains-for all the same reasons announced in its August 17

   Opinion-that the first purchasers or holders of proceeds referred to in § 570.1 0(E)(l) bear of the
                                                                                                 6
   burden of proving that the 12 percent default interest rate set by the PRSA does not apply.

                           C. Tl,e Punitive Damages Award is Constitutional

            Sunoco argues that the $75,000,000 punitive damages award in this case "is excessive"
                                                                                                       7
   under the due process clauses of the Fifth and Fourteenth Amendments to U.S. Constitution.

   (ECF No. 322, at 20.) In support of this position, Sunoco says that its "conduct was not

   reprehensible under the Supreme Court's standards"; that "[t]he ratio of compensatory to punitive

   damages is unconstitutionally high"; and that "[t]he damages award exceeds any civil or criminal

   penalties for comparable misconduct." (ECF No. 322, at 23, 25 (emphasis omitted).) For the




            5
              The Court refers to Subsection "D" not because the Court does not understand which
   provision creates the right the class members enforced in this suit, but because Subsection "E"
   directs its readers to Subsection "D."
            6
             Although the Court recognizes the general rule that "plaintiffs bear the risk of failing to
   prove their claims," Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 56 (2005), the Court declines
   to place the burden of proving marketable title on royalty owners whose marketable title "[is] not
   legitimately in question," Quinlan v. Koch Oil Co., 25 F.3d 936, 940 (10th Cir. 1994), and who
   have gone without interest payments that Sunoco rightfully owes them, § 570.1 0(E)(l ). Doing so
   would undermine the purpose of the PRSA-"to ensure that those entitled to royalty payments
   would receive proceeds in a timely fashion." Hull v. Sun Refin. & Mktg. Co., 789 P.2d 1272, 1279
   (Okla. 1989); see HB. Krug v. Helmerich & Payne, Inc., 362 P.3d 205, 210 (Okla. 2015)
   ("Legislative intent controls statutory interpretation.").
            7
            Although Sunoco also claims that the punitive damages award in this case violates the
   Eighth Amendment's Excessive Fines Clause, the "Excessive Fines Clause does not apply to
   awards of punitive damages in cases between private parties." Browning-Ferris Indus. of Vt., Inc.
   v. Kelco Disposal, Inc., 492 U.S. 257,260 (1989).
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   following reasons, this Court finds the punitive damages award in this case comports with due

   process.

                                      1. Degree ofReprehensibility

            Regarding the "degree of reprehensibility of the defendant's conduct"-"[p]erhaps the

   most important indicium" for determining the constitutionality of a punitive damages award-the

   Court agrees with Sunoco that it caused economic, not physical, harm. BMW of N Am., Inc. v.

   Gore, 517 U.S. 559,575 (1996). But Sunoco's practice of"paying statutory interest" only after

   the royalty owner demanded it amounted to an enormous loss for the public. (ECF No. 322, at

   22.) Although Sunoco may have "acted on the advice of counsel," and although Sunoco's practice

   "was consistent with the industry practices," its conduct clearly violated the PRSA and kept

   millions of dollars that belonged to others. (Id.) Essentially, Sunoco took the position that it could

   keep other people's money indefinitely. Its position was reprehensible. The Court did not err in

   issuing the punitive damages award.

                         2. Ratio between Compensatory and Punitive Damages

            As for the ratio between the punitive damages and "the actual harm inflicted on the

   plaintiff," Gore, 517 U.S. at 580, Sunoco suggests that the Court awarded punitive damages

   twenty-four times greater than "the amount that would fully compensate the plaintiffs for their

   loss." (ECF No. 322, at 24.) Sunoco reached this conclusion first, by claiming that a market

   interest rate of 1 percent would "fully compensate the class." (Id.)      Consequently, the Court's

   actual damage figure-calculated based on the 12 percent interest rate provided by the PRSA-

   "is 12 times higher" than the amount "that would fully compensate the class for its actual losses

   for not receiving interest at the time the proceeds were paid." (Id. (emphasis omitted).) Next,

   Sunoco combines this 12 percent interest with the Court's $75,000,000 punitive damages award,



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   and concludes that "this damage award . . . is 24 times larger than the amount that would fully

   compensate the plaintiffs for their loss." (Id. (emphasis omitted).)

            Sunoco appears to misunderstand the nature of "compensatory damages," which Black's

   Law Dictionary defines as "sufficient in amount to indemnify the injured person for the loss

   suffered." Damages, Black's Law Dictionary (11th ed. 2019). Here, Sunoco owes the class

   members interest on untimely statutory payments. The PRSA sets the rate of interest on these

   payments at 12 percent, unless the first purchaser or holder of proceeds can prove that it paid the

   proceeds late because of unmarketable title, in which case a 6 percent rate applies. Sunoco may

   object to the PRSA and the interest rates it sets, but the law applies ''to all owners," and its rates

   define the amount ofloss suffered by the class members. Okla. Stat. tit. 52, § 570.3. Consequently,

   the Court's award of$80,691,486 merely indemnifies the class members for the amount of interest

   Sunoco owes them under the PRSA.

            Sunoco also seems to confuse the ratio courts consider when assessing whether a punitive

   damages award satisfies due process. Courts do not combine the punitive and compensatory

   damages awards and compare that sum with what the defendant thinks "would fully compensate

   the class," as Sunoco suggests. (ECF No. 322, at 24.) Indeed, if courts did as Sunoco suggests,

   they would often compare damages awards against the defendant's desired award of $0. Such a

   comparison would render every damages award unconstitutional. This the law does not support.

            Instead, courts consider ''the ratio between punitive and compensatory damages." Exxon

   Shipping Co. v. Baker, 554 U.S. 471, 507 (2008). Here, that ratio is less than 1:1, falling well

   within the bounds of constitutional permissibility. See Lompe v. Sunridge Partners, LLC, 818 F.3d




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   1041, 1068 (10th Cir. 2016) (quoting State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,

   425 (2003)). 8

                                  3. Penalties for Comparable Misconduct

            Finally, Sunoco claims that "[t]he damages award exceeds any civil or criminal penalties

   for comparable misconduct." (ECF No. 322, at 25.) In support of this, Sunoco cites Oklahoma's

   6 percent default legal interest rate. Okla. Stat. tit. 15, § 266. The Court calculated both the

   compensatory and punitive damages awards pursuant to Oklahoma law. Sunoco's gripe about the

   PRSA's 12 percent default interest rate, therefore, lies with the Oklahoma legislature, not with this

   Court.

                        C. TJ,e Energy Litigation Reform Act Allows Cline's Recovery

            In its reply brief, Sunoco raised again its argument that the Energy Litigation Reform Act

   ("ELRA"), Okla. Stat. tit. 52, § 903, only applies to claims for "proceeds," not "interest," and,

   therefore, Cline may not recover punitive damages. (ECF No. 338, at 6-8.) For all the reasons

   stated in its August 17 Opinion, the Court disagrees. (ECF No. 298, at 42-43.)

            Sunoco also says that Cline failed to prove, by clear and convincing evidence, that "Sunoco

   willfully deprived Plaintiffs of proceeds knowing that Plaintiffs were legally entitled thereto-i. e.,

   knowing Plaintiffs had marketable title." (ECF No. 338, at 7 (emphases omitted).) Sunoco

   mischaracterizes Cline's burden under§ 903.




                    8
                      '[S]ingle-digit multipliers are more likely to comport with due process,
            while still achieving the State's goals of deterrence and retribution.' This suggests
            that up to a 9: 1 ratio of punitive damages to compensatory damages is likely
            acceptable in some cases, and that a 10: 1 ratio might be permissible because it does
            not exceed 9: 1 to a significant degree.

            Id (quoting Campbell, 538 U.S. at 425).
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            In order to recover punitive damages under§ 903, Cline needed to prove that Sunoco failed

   to pay interest "with the actual, knowing[,] and willful intent ... to deprive" the interest from

   Cline, who Sunoco "knows, or is aware, is legally entitled thereto." For all the reasons stated in

   its August 17 Opinion, the Court finds that Cline satisfied this burden. (ECF No. 298, at 42-43.)

   Sunoco attempts to heap onto Cline the additional burden of proving marketable title, contending

   that the class could not prove their legal entitlement to the interest otherwise. But Sunoco knew it

   owed interest to royalty owners for late payments. (Trial Tr. vol. 1, 82:20-85:19.) And Cline

   introduced other evidence, such as emails, that established Sunoco' s awareness of its legal

   obligation to pay interest and its intent to keep the interest absent a demand, thereby depriving

   owners of the interest owed them. (See, e.g., Pl.'s Ex. 38.) Consequently, the Court again finds

   that Cline satisfied his burden under § 903 and, therefore, the ELRA permits punitive damages in

   this case.

                     III. MOTION TO ALTER OR AMEND THE JUDGMENT

            Sunoco asks the Court to eliminate, or at least reduce, the damages awards in this case.

   First, Sunoco argues that the punitive damages award exceeds what the Constitution permits. The

   Court disagrees for the same reasons discussed above. Second, Sunoco contends that "[b]ased on

   all the arguments Sunoco has made to date-including ... that plaintiffs failed to prove liability

   on a class-wide basis-the Court should alter or amend the judgment" pursuant to Federal Rule of

   Civil Procedure 59(e). (ECF No. 323, at 9.) Finding that Cline did prove class-wide liability for

   the reasons outlined below, the Court will decline to alter or amend the judgment.

                           A. The Punitive Damages Award is Constitutional

            Sunoco raises arguments identical to those in its briefing in support of its motion for a new

   trial regarding the punitive damages award. (Id. at 4-9; ECF No. 322, at 20-25). For all the



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   reasons set forth in Section 11.C, the Court finds that the punitive damages award in this case

   comports with due process.

                                B. TJ,e Class Proved Class-Wide Liability

            Sunoco says that "[b]ased on all the arguments Sunoco has made to date," the Court should

   alter the judgment by lowering the damages awards. (ECF No. 323, at 9.) But Sunoco specifically

   identifies one argument for the Court to consider: Cline's alleged failure to prove liability on a

   class-wide basis. (Id) Sunoco argues that Cline failed to prove that all the members of the class

   "are the true owners 'legally entitled' to interest." (Id.)

            The Court disagrees, and again finds that Cline met his burden of proving, by a

   preponderance of the evidence, class-wide liability. The certified class in this case includes only

   those who "received Untimely Payments from Defendants ... for oil proceeds" after a certain date,

   and "who have not already been paid statutory interest on the Untimely Payments." (ECF No.

   127.) These limitations-narrowing the class to those who have already received9 untimely

   payments for oil proceeds but have not received the statutory interest payments-ensure the legal

   entitlement of each member of the class to interest payments under the PRSA. (See Trial Tr. vol.

   1, 159:03-159:12.) Sunoco's contention that its payment of proceeds does not demonstrate legal

   entitlement defies logic. The Court finds implausible that Sunoco paid people money that it did

   not owe them, especially considering the company's policy of withholding interest payments from

   their rightful owners in contravention of clear Oklahoma law. The Court, therefore, finds again,

   by a preponderance of the evidence, that Cline demonstrated Sunoco' s liability to the entire class.




            9
            Although Sunoco directed the proceeds it owed to some class members to an unclaimed
   property fund, that does not negate the right of those unidentified or unlocated class members to
   the proceeds-a right that they could vindicate at any time by collecting the proceeds from their
   respective state. (ECF No. 298, at 33--43.)
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            Sunoco also contends that because it will remit a portion of the judgment to state unclaimed

   property funds due to the number of unidentified or unlocated class members, "the judgment will

   order a 'fluid' recovery that violates Due Process." (ECF No. 323, at 10.) For all the reasons

   discussed in its August 17 Opinion, the Court disagrees. (ECF No. 298, at 40-42.) Because Cline

   has demonstrated Sunoco' s liability to each member of the class and because Sunoco had the

   opportunity to rebut Cline's assertions, recovery in this case does not "mask the prevalence of

   individual issues [such that] it is an impermissible affront to defendants' due process rights."

   McLaughlin v. Am. Tobacco Co., 522 F.3d 215,232 (2d Cir. 2008), abrogated on other grounds

   by Bridge v. Phx. Bond & lndem. Co., 553 U.S. 639 (2008).

            The Court also rejects Sunoco's claims that it "would be compelled to pay damages to class

   members that lack standing to sue, ... and [that] Sunoco may be improperly bound by a judgment

   to thousands of unknown persons." (ECF No. 323, at 10.) First, for the same reasons detailed in

   its August 17 Opinion, the Court finds that the class members-including those who remain

   unlocated and unidentified-had standing to seek damages in this case. (ECF No. 298, at 31-34.)

   Second, the Court's judgment does not bind Sunoco to unknown persons as Sunoco alleges. The

   company anticipates difficulty determining "who is a party to the judgment, and against whom it

   could assert estoppel or res judicata if future lawsuits against Sunoco for PRSA interest are filed."

   (ECF No. 321, at 20.) Although the judgment binds Sunoco to unidentified and unlocated persons,

   a class member's status as unlocated or unidentified does not render them unknown to Sunoco.·

   The Court, therefore, finds that the judgment does not bind Sunoco to unknown persons, and it

   does not place Sunoco at risk for subsequent, duplicative claims. Indeed, Sunoco itself paid these

   unidentified or unlocated class members by remitting payment to the relevant state unclaimed

   property fund.



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            Finally, Sunoco "renews ... its prior arguments ... that Sunoco is not liable for, and class

   members cannot recover for, alleged untimely payments of proceeds to states under their

   unclaimed property statutes." (ECF No. 323, at 11.) As the Court confirmed above, owners

   entitled to unclaimed funds had standing to seek damages in this case. (See also ECF No. 298, at

   31-34.) In addition, the PRSA compels the conclusion that Sunoco must timely pay proceeds to

   "persons legally entitled thereto" unless one of the exceptions provided in§ 570.10(B)(3) applies.

   Because the statute does not list unclaimed funds among its exceptions, the Court finds that the

   PRSA's timing requirements do, in fact, apply to unclaimed funds. (See ECF No. 298, at 34-35.)

   Accordingly, Sunoco "is ... liable for, and class members can[] recover for, ... untimely payments

   of proceeds" to state unclaimed property funds. (ECF No. 323, at 11.)

                                           IV. CONCLUSION

            For the foregoing reasons, the Court will deny Sunoco's motion for a new trial and its

   motion to alter or amend the judgment. 10 (ECF Nos. 322, 323.)

            The Court will issue an appropriate Order.




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              On November 25, 2020, Sunoco renewed its motion for a new trial and its motion to alter
   the judgment. (ECF Nos. 347, 348.) Challenging the Plan of Allocation, Sunoco argues that
   because the Court should either order a new trial or alter the judgment, the Court should also vacate
   or amend the Plan of Allocation. Sunoco also reasserts that the Plan of Allocation "does not
   adequately ( 1) address the method for distributing funds that go unclaimed by class members ...
   or (2) allocate, to identified class members, the 10% of the damages awarded to class members
   whose interests were combined with Sunoco's 'undivided' account." (ECF No. 347, at 3; ECF
   No. 348, at 3.)
           The Court dismisses both arguments. Sunoco's first argument fails because the Court will
   deny Sunoco' s motion for a new trial and its motion to alter the judgment. The Court also finds
   the Plan of Allocation adequate as it provides for the distribution of funds to state unclaimed
   property funds if the class member does not claim their funds or remains unidentified or unlocated.
   Accordingly, the Court will deny Sunoco' s renewed motion for a new trial and its motion to alter
   the judgment. (ECF Nos. 347, 348.)
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            Let the Clerk send a copy of this Order to all counsel of record.

                                                                                      ('
   Date:q ~ 2020                                                                /s/        1
   Richmond, VA                                               John A. Gibney, Jr.
                                                              United States District




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

  PERRY CLINE, on behalf of                              )
  himself and all others                                 )
  similarly situated,                                    )
                                                         )
                         Plaintiff,                      )
                                                         )
         v.                                              )       Case No. 6:17-cv-313-JAG
                                                         )
  SUNOCO, INC. (R&M)                                     )
  and SUNOCO PARTNERS                                    )
  MARKETING & TERMINALS, L.P.,                           )
                                                         )
                         Defendants.                     )

                          AMENDED PLAN OF ALLOCATION ORDER

         This matter comes before the Court following the Order and Judgment by the Tenth Circuit

  in Case No. 22-7018, which remanded this matter for further proceedings consistent with its

  opinion of August 3, 2023. The Court, being fully advised on the issues before it, hereby ORDERS

  as follows:

     A. Definitions

         For purposes of this Order:

         The term "Judgment Fund" means the sum of all actual and punitive damages awarded in

  this matter and allowed after any appeal (or after the expiration of time allowed for filing an appeal,

  if no appeal is filed within that time), inclusive of any attorneys' fees, expenses, costs, and pre-

  and post-judgment interest as have been or may be awarded to Class Representative and the Class,

  and inclusive of any interest earned through such investments as the Court may direct following

  Defendants' payment of the judgment.




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         The term "Judgment Administrator" means the officer appointed by the Court pursuant to

  this Order to execute the Plan for Distribution and to perform such incidental and additional duties

  as are set forth in this Order or as the Court may subsequently direct.

         The term "Net Class Award" means the Judgment Fund, less any: (i) case contribution

  award to Class Representative; (ii) attorneys' fees, expenses, and costs awarded from the Judgment

  Fund to counsel for Class Representative and the Class; (iii) compensation and expenses paid or

  reimbursed to the Judgment Administrator; and (iv) any additional administrative expenses that

  may be charged against the Judgment Fund at the Court's direction.

         The term "Residual Unclaimed Funds" means the amount of the Net Class Award

  remaining as a result of uncashed distribution checks, inability to locate Class Members, and/or

  other such reasons after the Judgment Administrator distributes the Net Class Award to all Class

  Members using commercially reasonable efforts according to the Final Distribution Order.

     B. The Formula That Will Determine the Division of Damages

         The Tenth Circuit recognized that the original plan of allocation adopted a formula for

  dividing damages that was intended to assign each class member a ten-digit BA number taken

  from Sunoco' s records. Order and Judgment at 11. Under this formula, the judgment administrator

  would calculate each class member's damages by multiplying their predetermined percentage of

  the total judgment by the total judgment itself. Id. at 11-12.

         There is no dispute that this formula will produce individual damage figures for most class

  members because most of the BA numbers correspond to an individual class member. Id. at 12.

  But two of the BA numbers do not represent individual accounts held by a single class member,

  but instead, represent two undivided accounts that Sunoco deposited proceeds into whenever it did

  not know a mineral-interest owner's name or address. Order at 12.




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         Finding that these undivided accounts prevented the original plan of allocation from

  achieving finality, the Tenth Circuit remanded and instructed this Court to include instructions for

  how the judgment administrator is to divide damages among the class members associated with

  those two BA numbers (0009134057 & 0007005424 ).

         This Amended Plan of Allocation cures the Tenth Circuit's concern, see Order at 13 n.6,

  by now including instructions for the two undivided accounts.

         1.      Division of Damages for BA Numbers that Correspond to Individual Class
                 Members

         The formula that will determine the division of damages for BA numbers that correspond

  to individual class members is the same formula set forth in the Oklahoma Production Revenue

  Standards Act ("PRSA") for calculating 12% compound interest as applied by Barbara Ley at trial

  to calculate the damages for Class Members. That information is contained in PX454. That formula

  has been applied and set forth on a percentage basis in Exhibit 1 to the Declaration of Barbara Ley

  (Class Representative's damages expert) [Dkt. No. 317-1].

         The methodology Ms. Ley used to prepare the proposed allocation was derived from, and

  consistent with, the methodology that this Court previously approved in support of Plaintiffs

  Motion to Certify Class [Dkt. No. 91] and admitted into evidence at the trial in this matter in order

  to determine the total amount of actual damages. 1



  1 Ms. Ley's methodology here is also consistent with the methodology that has been approved by

  this Court in the following cases: Reirdon v. XTO Energy, Final Plan of Allocation Order, Dkt.
  No. 141 (E.D. Okla. June 12, 2018); Reirdon v. Cimarex, Final Plan of Allocation Order, Dkt. No.
  114 (E.D. Okla. April 25, 2019); Chieftain v. Marathon Oil Co., Final Plan of Allocation Order,
  Dkt. No. 127 (E.D. Okla.. June 11, 2019); Chieftain v. Newfield Exploration Mid-Continent Inc.,
  Final Plan of Allocation Order, Dkt. No. 75 (June 4, 2020); DASA Investments, Inc. v. Ener Vest
  Operating, et al., Final Plan of Allocation Order, Dkt. No. 124 (E.D. Okla. June 25, 2020); and
  McClintock v. Continuum Producer Services, LLC, Case No. 6: 17-CV-259-JAG, Initial Plan of
  Allocation Order, Dkt. No. 64 (E.D. Okla. June 4, 2020).


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         Ms. Ley calculated the amount of damages owed to each individual Class Member, and

  then summed those figures to determine the amount of damages owed to the Class. Ms. Ley then

  updated those amounts, at the Court's direction, to reflect the time that had elapsed and the interest

  that had accrued since her original calculation. Ms. Ley then divided the updated damage figure

  for each Class Member by the total amount of damages awarded to the Class, and thereby

  determined each Class Member's proportional share of the Judgment. The result of this formulaic

  approach is a list containing Class Members' fractional share of the total amount of damages.

         For Class Members other than those in the undivided accounts, the Judgment Administrator

  is directed to multiply the fractional share for each Class Member expressed in Ms. Ley' s

  Declaration by the Net Class Award in order to arrive at the exact dollar amount that each Class

  Member shall be paid.

         2.      Division of Damages for The Two Undivided Accounts with BA Numbers
                 0009134057 & 0007005424

         For the undivided accounts, PX454 contains the information related to each separate late

  principal payment made to a Class Member and labeled as "undivided," along with the formula

  and amount to calculate the damages owed for each payment. The Judgment Administrator is

  directed to calculate the fractional share for each such payment based on Ms. Ley' s calculations

  and formula using the information in PX454, then apply the resulting percentage to the Net Class

  Award to arrive at the exact dollar amount owed for each payment and assign that amount to the

  Class Member, if possible. If the Judgment Administrator is unable to obtain further ownership

  information related to any particular payment, then the Judgment Administrator shall pay the same

  amount to the appropriate unclaimed property fund with a schedule identifying all information

  related to the original payment from PX454 so that the unclaimed property fund can correlate the

  damages to the original late principal payment. That schedule is attached hereto as Exhibit 1.



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     C. Procedures for Distribution

         The Court already appointed JND Legal Administration to serve as Judgment

  Administrator in this matter. At such time as the Court directs, the Judgment Administrator, in

  consultation with Class Counsel, shall be responsible for applying the mathematical principles

  established in the Plan for Distribution to ascertain the precise amounts of the Net Class Award

  allocable to each Class Member and each separate late payment included in the undivided

  accounts. The result of the Judgment Administrator's calculations shall be submitted to the Court

  for approval as the Final Plan for Distribution.

         Upon approval, the Court will enter a Final Distribution Order establishing the allocation

  for purposes of disbursements to Class Members.

         The Judgment Administrator will also be responsible for distributing the Net Class Award

  pursuant to such further orders as the Court shall issue.

         The Judgment Administrator shall report to the Court from time to time to advise the Court

  of its progress in discharging its responsibilities under this Order, on such occasions and at such

  intervals as the Judgment Administrator may deem appropriate or as the Court may direct. The

  Judgment Administrator is authorized to make reasonable expenditures to secure the resources and

  assistance reasonably necessary to the performance of its duties, including obtaining support from

  experts such as Barbara Ley and landmen. Such expenses, and the compensation of the Judgment

  Administrator at its usual and customary hourly rates, will be paid and reimbursed from the

  Judgment Fund periodically, as incurred.

         The Judgment Administrator shall not commence the performance of its duties under this

  Order until such time as the case is remanded to this Court from any appeal (or until after the

  expiration of the time allowed for filing such appeal, if no appeal is filed within that time).




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     D. Procedures and Principles for the Distribution of any Unclaimed Funds

         J\ny Residual Unclaimed funds wil l be sent to the appropriate state accounts for unclaimed

  property. After the Judgment Administrator has used commercially reasonable efforts to complete

  the distribution process outlined in the Fi nal Distribution Order, Class Counsel shall file a motion

  stating the amount of any Residual Unc laimed Funds. The Couit will then order the Residual

  Unclaimed Funds to be remitted to the unclaimed property funds as indicated.

         It is so ORDERED.

         Let the Clerk send a copy of this Order to all counsel of record.


   Date: / ;     t ) ~ UZ7
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Appellate Case: 23-7090 Document: 010111016067 Date Filed: 03/14/2024 Page: 176

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

  PERRY CLINE, on behalf of                     )
  himself and all others                        )
  similarly situated,                           )
                                                )
                        Plaintiff,              )
                                                )
                                v.              )      Case No. 6:17-cv-313-JAG
                                                )
  SUNOCO, INC. (R&M)                            )
  and SUNOCO PARTNERS                           )
  MARKETING & TERMINALS, L.P.,                  )
                                                )
                        Defendants.             )

                         AMENDED A WARD OF ACTUAL DAMAGES

         This matter comes before the Court following a bench trial and numerous appeals that

  resulted in a determination that the judgment was not yet final. The Court held a trial in this case

  on December 16-19, 2019, and heard closing arguments on June 17, 2020. On August 17, 2020,

  the Court entered its Opinion and Order in this matter. (ECF Nos. 298-299.) The Court entered a

  Judgment Order on August 27, 2020, to update the actual damages based on the interest statute,

  awarding damages in the amount of $80,691,486.00 in actual damages and $75,000,000.00 in

  punitive damages. (ECF No. 308.)

         On August 3, 2023, the Tenth Circuit Court of Appeals ruled that the judgment in this case

  is not yet final and remanded the case for further proceedings. In accordance with its reasoning

  for the August 27, 2020 order and its October 17, 2023 order (ECF No. 642), the Court now updates

  the actual damages based on the interest statute and awards an additional $23,181,516.50 in actual

  damages for interest that accrued after the Court's August 27, 2020 order, for a total of

  $103,873,002.50 in actual damages.




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        It is so ORDERED.

        Let the Clerk send a copy of this Order to all counsel of record.

                                                                               /s/
                                                               John A. Gibney, Jr.
  Date: IC(,   () ~          UJ2)                              Senior United State
  Richmond, VA                                                John A. Gibney, Jr.
                                                              United States D istrict Judge




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Appellate Case: 23-7090 Document: 010111016067 Date Filed: 03/14/2024 Page: 178

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

  PEIUlY CLINE, on behalf of                   )
  himself and all others                       )
  similarly situated,                          )
                                               )
                        Plaintiff,             )
                                               )
                               v.              )          Case No. 6:17-cv-313-JAG
                                               )
  SUNOCO, INC. (R&M)                           )
  and SUNOCO PARTNERS                          )
  MARKETING & TERMINALS, L.P.,                 )
                                               )
                        Defundanh.             )

                                 RULE 58 JUDGMENT ORDER

         Under Rule 58, the Court hereby ENTERS JUDGMENT against the Defendants in

  accordance with the reasoning stated in the Court' s August 17, 2020 opinion, (ECF No. 298), and

  its prior Order (ECF No. 299.) In addition to the actual damages of $80,691,486.00 calculated as

  of the prior Judgment Order on August 27, 2020 (ECF No. 308), the Court awards an additional

  $23,18 1,516.50 in actual damages in accordance with its October 17, 2023 order (ECF No. 642.)

         The total amount awarded to Plaintiffs from Defendants, therefore, is$ 103,873,002.50 in

  actual damages and $75,000,000.00 in punitive damages.

         The Comt attaches hereto as Exhibit A an Amended Plan of A llocation Order.

         It is so ORDERED.

         Let the Clerk send a copy of this Order to all counsel of record.

                                                                                  Isl
                                                                  John A. Gibney, Jr.
  Date: /1   t)~           2.c>2-}
  Riclm1ond, VA                                                 John A. Gibney, Jr.
                                                                United States District Judge




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Appellate Case: 23-7090 Document: 010111016067 Date Filed: 03/14/2024 Page: 179


                         IN THE UNlTED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT Of OKLAHOMA

  PERRY CLINE, on behalf of himself
  and all others similarly situated,
                          Plaintiff,

  V.                                                   Civi l Action No. 6: l 7cv313-JAG

  SUNOCO, INC. (R&M), and,
  SUNOCO PARTNERS MARKETING
  & TERMINALS, L.P. ,
                    Defendants.

                                               ORDER

         This matter comes before the Court on a motion for a new trial and a motion to alter or

  amend the judgment filed by the defendants, Sunoco, Inc. (R&M), and Sunoco Partners Marketing

  & Terminals, L.P. (collectively, " Sunoco").     (ECF Nos. 651 , 652.)        Sunoco raises no new

  arguments in its motions. Instead, it rehashes a litany of arguments that this Court carefully

  considered and rejected throughout the past six years of proceedings. Indeed, Sunoco reiterated

  many of these arguments in previous post-trial motions, which this Court denied. (ECF No. 349.)

  Accordingly, and upon due consideration, the Court DENIES the motions. (ECf Nos. 65 1, 652.)

         It is so ORDERED.

         Let the Clerk send a copy of thi s Order to all counsel of record.


  Date: 2o November 2023                                                  /s/
  Richmond, VA                                           John A. Gibney, Jr.
                                                         Senior United States




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